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   1    THE HAKALA LAW GROUP, P.C.
        Brad A. Hakala, CA Bar No. 236709
   2    Ryan N. Ostrowski, CA Bar No. 305293
        One World Trade Center, Suite 1870
   3    Long Beach, California 90831
        Telephone: 562.432.5023
   4    Facsimile: 562.786.8606
        Email:      bhakala@hakala-law.com
   5                rostrowski@hakala-law.com
   6
        Attorneys for Plaintiff – DHS VERDE, LLC,
   7    a California Limited Liability Company
   8
                             UNITED STATES DISTRICT COURT
   9
            CENTRAL DISTRICT OF CALIFORNIA - EASTERN DIVISION
  10

  11
        DHS VERDE, LLC, a California                  Case No.: 5:22-cv-943
  12    Limited Liability Company;
                                                      COMPLAINT FOR DAMAGES:
  13                     Plaintiff,
                                                      1. BREACH OF CONTRACT
  14          v.
                                                      2. BREACH OF CC&RS
  15
        COACHILLIN HOLDINGS, LLC, a                   3. BREACH OF FIDUCIARY DUTY
  16    California      Limited     Liability
        Company; COACHILLIN ENERGY                    4. BREACH OF FIDUCIARY DUTY
  17    COMPANY, LLC, a California
        Limited       Liability    Company;           5. FRAUD - INTENTIONAL
  18    ECOMASTER CORPORATION, a                      MISREPRESENTATION
        California Corporation; INDIAN
  19    CANYON & 18th PROPERTY                        6. NEGLIGENT
        OWNERS         ASSOCIATION,         a         MISREPRESENTATION
  20    California nonprofit mutual benefit
        corporation;             KENNETH              7. FRAUD – CONCEALMENT
  21    DICKERSON,           an   Individual;
        WILLIAM         MORELAND,         an          8. VIOLATION OF
  22    Individual;             KATHERINE             RACKETEERING INFLUENCED
        BENETEAU (a/k/a KATHERINE                     AND CORRUPTION
  23    DICKERSON),          an   Individual;         ORGANIZATION ACT (“RICO”) [18
        MICHAEL         DICKERSON,        an          U.S.C. §1961 et seq.]
  24    Individual; KIRSTEN DICKERSON,
        an Individual; and DOES 1 through             9. CONSPIRACY TO VIOLATE
  25    50, inclusive.                                RICO

  26                     Defendants.                  10. REAL ESTATE SELLER’S
                                                      NONDISCLOSURE OF MATERIAL
  27                                                  FACTS

  28


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                                                      11. INTENTIONAL
   1                                                  INTERFERENCE WITH
                                                      CONTRACTUAL RELATIONS
   2
                                                      12. DECLARATORY RELIEF
   3
                                                      13. VIOLATION OF BUS. & PROF.
   4                                                  CODE §17200 (UNFAIR
                                                      COMPETITION)
   5

   6                                                  DEMAND FOR JURY TRIAL
   7
                                                      DEMAND FOR INJUNCTIVE
   8                                                  RELIEF
   9

  10         TO THIS HONORABLE COURT, ALL PARTIES, AND THEIR
  11   ATTORNEYS OF RECORD HEREIN:
  12         Plaintiff, DHS VERDE, LLC (hereinafter referred to as "DHS VERDE,"
  13   “PLAINTIFF,” and/or “Plaintiff”), a California Limited Liability Company,
  14   complains against the above named Defendants: COACHILLIN HOLDINGS,
  15   LLC, a California Limited Liability Company (hereinafter referred to as
  16   “COACHILLIN”), COACHILLIN ENERGY COMPANY, LLC, a California
  17   Limited Liability Company (hereinafter referred to as “ENERGY”), ECOMASTER
  18   CORPORATION, a California Corporation (hereinafter referred to as
  19   “ECOMASTER”), INDIAN CANYON & 18th PROPERTY OWNERS
  20   ASSOCIATION, a California nonprofit mutual benefit corporation (hereinafter
  21   referred to as the “POA”), KENNETH DICKERSON, an Individual (hereinafter
  22   referred to as “KENNETH”), WILLIAM MORELAND, an Individual (hereinafter
  23   referred to as “WILLIAM”), KATHERINE BENETEAU (a/k/a KATHERINE
  24   DICKERSON), an Individual (hereinafter referred to as “KATHERINE”),
  25   MICHAEL DICKERSON, an Individual (hereinafter referred to as “MICHAEL”),
  26   and KIRSTEN DICKERSON, an Individual (hereinafter referred to as
  27   “KIRSTEN”), (COACHILLIN, ENERGY, ECOMASTER, POA, KENNETH,
  28   WILLIAM, KATHERINE, MICHAEL, and KIRSTEN, shall also each be referred

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   1   to herein individually as “DEFENDANT” and/or collectively                          as   the
   2   “DEFENDANTS”), and all named Defendants for general, compensatory, punitive,
   3   and exemplary damages, attorneys’ fees, and costs, and injunctive relief, resulting
   4   from DEFENDANTS’ unlawful and tortious conduct, and as grounds therefore
   5   alleges:
   6

   7                             JURISDICTION AND VENUE
   8          1.    This Court has jurisdiction over this matter under 28 U.S.C. § 1331
   9   because this case arises under the laws of the United States, including without
  10   limitation, under the Racketeering Influenced and Corruption Organization Act, 18
  11   U.S.C. §1961, et seq. (“RICO”). This Court also has pendent jurisdiction over the
  12   related California state law claims pursuant to 28 U.S.C. §1367, as such claims are
  13   derived from a common nucleus of operative facts as those claims that arise under
  14   the laws of the United States.
  15          2.    Venue is proper in this judicial district under 28 U.S.C. § 1391(b)(1),
  16   (b)(2), (c), and (d) because a substantial number of the Defendants reside in this
  17   judicial district and a substantial part of the events or omissions giving rise to this
  18   Complaint occurred in this judicial district. PLAINTIFF DHS VERDE maintains
  19   its business operations in Riverside County, California. Moreover, this is the
  20   judicial district in which the DEFENDANTS, and each of them, both maintain their
  21   business operations and reside, and a substantial part of the events giving rise to
  22   PLAINTIFF’S claims have occurred and are continuing to occur within this judicial
  23   district.
  24   ///
  25   ///
  26   ///
  27   ///
  28   ///

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   1                                          PARTIES
   2         3.     PLAINTIFF DHS VERDE, LLC, is and at all times mentioned herein
   3   was, a limited liability company duly organized and existing under the laws of the
   4   State of California, with the capacity to sue and to be sued in California, and doing
   5   business in California, Riverside County, with a principal place of business located
   6   at 18462 Skywalker Court, Desert Hot Springs, California 92240.
   7         4.     PLAINTIFF is informed and believes and thereon alleges that
   8   DEFENDANT COACHILLIN HOLDINGS, LLC is, and at all times mentioned
   9   herein was, a limited liability company duly organized and existing under the laws
  10   of the State of California, with the capacity to sue and to be sued in California, and
  11   doing business in California, Riverside County, with a principal place of business
  12   located at 71713 Highway 111, Suite 100, Rancho Mirage, California 92270.
  13   PLAINTIFF is informed and believes and thereon alleges that Defendant
  14   COACHILLIN is, and at all relevant times has participated in the theft of monies
  15   from PLAINTIFF, and in the management and operation of the RICO enterprise
  16   alleged herein.
  17         5.     PLAINTIFF is informed and believes and thereon alleges that
  18   DEFENDANT COACHILLIN is, and at all times herein mentioned was, wholly
  19   owned by DEFENDANTS KENNETH, WILLIAM, and additional family
  20   members of WILLIAM.
  21         6.     PLAINTIFF is informed and believes and thereon alleges that
  22   DEFENDANT COACHILLIN ENERGY COMPANY, LLC is, and at all times
  23   mentioned herein was, a limited liability company duly organized and existing
  24   under the laws of the State of California, with the capacity to sue and to be sued in
  25   California, and doing business in California, Riverside County, with a principal
  26   place of business located at 71713 Highway 111, Suite 100, Rancho Mirage,
  27   California 92270. PLAINTIFF is informed and believes and thereon alleges that
  28   Defendant ENERGY is, and at all relevant times has participated in the theft of

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   1   monies from PLAINTIFF, and in the management and operation of the RICO
   2   enterprise alleged herein.
   3         7.     PLAINTIFF is informed and believes and thereon alleges that
   4   DEFENDANT ENERGY is, and at all times herein mentioned was, wholly owned
   5   by DEFENDANTS KENNETH, WILLIAM, and additional family members of
   6   WILLIAM.
   7         8.     PLAINTIFF is informed and believes and thereon alleges that
   8   DEFENDANT ECOMASTER CORPORATION is, and at all times mentioned
   9   herein was, a corporation duly organized and existing under the laws of the State
  10   of California, with the capacity to sue and to be sued in California, and doing
  11   business in California, Riverside County, with a principal place of business located
  12   at 71713 Highway 111, Suite 103, Rancho Mirage, California 92270. PLAINTIFF
  13   is informed and believes and thereon alleges that Defendant ECOMASTER is, and
  14   at all relevant times has participated in the theft of monies from PLAINTIFF, and
  15   in the management and operation of the RICO enterprise alleged herein.
  16         9.     PLAINTIFF is informed and believes and thereon alleges that
  17   DEFENDANT ECOMASTER is, and at all times herein mentioned was, wholly
  18   owned by DEFENDANT KENNETH.
  19         10.    PLAINTIFF is informed and believes and thereon alleges that
  20   DEFENDANT          INDIAN        CANYON         &    18th     PROPERTY          OWNERS
  21   ASSOCIATION is, and at all times mentioned herein was, a nonprofit mutual
  22   benefit corporation duly organized and existing under the laws of the State of
  23   California, with the capacity to sue and to be sued in California, and doing business
  24   in California, Riverside County, with a principal place of business located at 71713
  25   Highway 111, Suite 104, Rancho Mirage, California 92270.                  PLAINTIFF is
  26   informed and believes and thereon alleges that Defendant POA, by and through the
  27   unlawful conduct of the other individually named DEFENDANTS, as alleged
  28   herein, is, and at all relevant times has participated in the theft of monies from

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   1   PLAINTIFF, and in the management and operation of the RICO enterprise alleged
   2   herein.
   3         11.    PLAINTIFF is informed and believes and thereon alleges that
   4   DEFENDANT KENNETH DICKERSON is, and at all times mentioned herein
   5   was, an individual with the capacity to sue and to be sued in California, and doing
   6   business in California, Riverside County, with his principal address located at
   7   78895 Zenith Way, La Quinta, California 92253. PLAINTIFF is informed and
   8   believes and thereon alleges that Defendant KENNETH is, and at all relevant times
   9   has participated in the theft of monies from PLAINTIFF, and in the management
  10   and operation of the RICO enterprise alleged herein.
  11         12.    PLAINTIFF is informed and believes and thereon alleges that
  12   DEFENDANT WILLIAM MORELAND is, and at all times mentioned herein was,
  13   an individual with the capacity to sue and to be sued in California, and doing
  14   business in California, Riverside County, with his principal place of business
  15   located at 71713 Highway 111, Suite 100, Rancho Mirage, California 92270.
  16   PLAINTIFF is informed and believes and thereon alleges that Defendant
  17   WILLIAM is, and at all relevant times has participated in the theft of monies from
  18   PLAINTIFF, and in the management and operation of the RICO enterprise alleged
  19   herein.
  20         13.    PLAINTIFF is informed and believes and thereon alleges that
  21   DEFENDANT KATHERINE BENETEAU, (a/k/a KATHERINE DICKERSON)
  22   is, and at all times mentioned herein was, an individual with the capacity to sue and
  23   to be sued in California, and doing business in California, Riverside County, with
  24   her principal place of business located at 71713 Highway 111, Suite 100, Rancho
  25   Mirage, California 92270. PLAINTIFF is informed and believes and thereon
  26   alleges that Defendant KATHERINE is, and at all relevant times has participated
  27   in the theft of monies from PLAINTIFF, and in the management and operation of
  28   the RICO enterprise alleged herein.

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   1         14.    PLAINTIFF is informed and believes and thereon alleges that
   2   DEFENDANT MICHAEL DICKERSON is, and at all times mentioned herein was,
   3   an individual with the capacity to sue and to be sued in California, and doing
   4   business in California, Riverside County, with his principal place of business
   5   located at 71713 Highway 111, Suite 100, Rancho Mirage, California 92270.
   6   PLAINTIFF is informed and believes and thereon alleges that Defendant
   7   MICHAEL is, and at all relevant times has participated in the theft of monies from
   8   PLAINTIFF, and in the management and operation of the RICO enterprise alleged
   9   herein.
  10         15.    PLAINTIFF is informed and believes and thereon alleges that
  11   DEFENDANT KIRSTEN DICKERSON is, and at all times mentioned herein was,
  12   an individual with the capacity to sue and to be sued in California, and doing
  13   business in California, Riverside County, with her principal place of business
  14   located at 71713 Highway 111, Suite 100, Rancho Mirage, California 92270.
  15   PLAINTIFF is informed and believes and thereon alleges that Defendant
  16   KIRSTEN is, and at all relevant times has participated in the theft of monies from
  17   PLAINTIFF, and in the management and operation of the RICO enterprise alleged
  18   herein.
  19         16.    PLAINTIFF is currently unaware of the true names and capacities,
  20   whether corporate, associate, individual, or otherwise, of Defendants sued herein
  21   as DOES 1 through 50, Inclusive, and therefore sues said DEFENDANTS, and each
  22   of them, by such fictitious names. PLAINTIFF will seek leave of Court to amend
  23   this Complaint to assert the true names and capacities of the fictitiously named
  24   DEFENDANTS when the same have been ascertained. PLAINTIFF is informed
  25   and believes, and thereon alleges, that each Defendant designated as a “DOE”
  26   herein is legally responsible for the events, happenings, acts, occurrences,
  27   indebtedness, damages, and liabilities hereinafter alleged and caused injuries and
  28   damages proximately caused thereby to the PLAINTIFF, as hereinafter alleged.

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   1         17.    PLAINTIFF is informed and believes and thereon alleges, that at all
   2   times relevant herein, DEFENDANTS, and each of them, including DOES 1
   3   through 50, inclusive, were an owner, co-owner, agent, representative, partner, joint
   4   venture, director, manager, officer, controller, and/or alter ego of its co-defendants,
   5   or otherwise acting on behalf of each and every remaining DEFENDANT and, in
   6   doing the things hereinafter alleged, were acting within the course and scope of
   7   their authorities as an owner, a co-owner, an agent, representative, partner, joint
   8   venture, director, manager, officer, controller, and/or alter ego of its co-defendants,
   9   and at all times herein mentioned, working in concert with his, her, and/or its co-
  10   defendants and was acting with the advance knowledge, permission, consent of,
  11   acquiescence, and ratification, in concert with, and in conspiracy with, each and
  12   every one of the remaining DEFENDANTS.
  13         18.    PLAINTIFF is informed and believes and thereon alleges that at all
  14   relevant times herein, DEFENDANTS were agents of the remaining
  15   DEFENDANTS, and in doing the acts and/or failing to act, as alleged herein, the
  16   DEFENDANTS were acting within the course and scope of such agency.
  17   DEFENDANTS ratified and/or authorized the wrongful acts of each of the other
  18   DEFENDANTS. DEFENDANTS, and each of them, are individually sued, in part,
  19   as participants and as aiders and abettors in the improper acts, plans, schemes, and
  20   transactions that are the subject of this Complaint.
  21         19.    PLAINTIFF is informed and believes and thereon alleges that at all
  22   relevant times herein, DEFENDANTS, and each of them, pursued a conspiracy,
  23   common enterprise, and common course of conduct to accomplish the wrongs
  24   complained of herein.       The purpose and effect of the conspiracy, common
  25   enterprise, and common course of conduct complained of within this Complaint
  26   was, inter alia, to the benefit of the DEFENDANTS personally and their respective
  27   family members and all to the significant detriment of the PLAINTIFF by engaging
  28   in illegal, fraudulent, and wrongful activities. The DEFENDANTS, and each of

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   1   them, are a direct, necessary, and substantial participant in the conspiracy, common
   2   enterprise, and common course of conduct complained of herein, and each
   3   DEFENDANT was aware, at all relevant times herein, that his/her/its overall
   4   contribution to, and furtherance of, the conspiracy, common enterprise, and
   5   common course of conduct. The DEFENDANTS, and each of their acts of
   6   conspiracy include, inter alia, all of the acts that DEFENDANTS are alleged to
   7   have committed in furtherance of the wrongful and unlawful conduct complained
   8   of herein.
   9         20.    PLAINTIFF is informed and believes and thereon alleges that
  10   DEFENDANTS KIRSTEN, KATHERINE, and MICHAEL are related to
  11   DEFENDANT KENNETH, and that KIRSTEN, KATHERINE, and MICHAEL
  12   are substantially involved with the day to day management, supervision, and
  13   administration of DEFENDANTS COACHILLIN, ENERGY, ECOMASTER, and
  14   the POA, and that DEFENDANTS KIRSTEN, KATHERINE, and MICHAEL
  15   have themselves, and in association with DEFENDANT KENNETH, engaged in
  16   self-dealing, conflicts of interest, thefts of monies, and agreed upon, acquiesced in,
  17   and   permitted     DEFENDANTS           KENNETH,         WILLIAM,        COACHILLIN,
  18   ENERGY, ECOMASTER, and the POA to engage in the unlawful and egregious
  19   conduct and criminal enterprise alleged herein unchecked and with rampant abuse.
  20   Moreover,     DEFENDANTS           KENNETH,         KIRSTEN,        KATHERINE,         and
  21   MICHAEL have perpetrated this unlawful behavior, in part, by sending threatening
  22   and harassing demands, as well as invoices and requests for impermissible
  23   payments to PLAINTIFF, that are unlawful, fraudulent, improper, unwarranted,
  24   threatening, and harassing.
  25         21.    PLAINTIFF is informed and believes, and thereon alleges that
  26   KENNETH, WILLIAM and their respective family members, including KIRSTEN,
  27   KATHERINE, and MICHAEL, as well as similarly situated persons and their
  28   respective families fully operate, manage, dominate, and/or control COACHILLIN

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    1   and ENERGY, and their respective affairs, control their respective decisions, and
    2   receive monies collected by COACHILLIN and ENERGY through their unlawful
    3   and improper assessment of fees, charges, and costs, as is set forth and delineated
    4   within this Complaint.       DEFENDANTS KENNETH, WILLIAM, KIRSTEN,
    5   KATHERINE, MICHAEL, and each of them, treat COACHILLIN and ENERGY
    6   as their own, and completely control and dominate each and every act, omission,
    7   and all conduct of both COACHILLIN and ENERGY. KENNETH, WILLIAM,
    8   KIRSTEN, KATHERINE, and MICHAEL’S control and actions dictating the
    9   conduct of both COACHILLIN and ENERGY, is in direct contravention of
   10   California law and the various agreements and documents identified herein. Due to
   11   KENNETH, WILLIAM, KIRSTEN, KATHERINE, and MICHAEL’S conduct,
   12   both COACHILLIN and ENERGY have each ceased being a separate entity and are
   13   each under the exclusive control and guidance of KENNETH, WILLIAM,
   14   KIRSTEN, KATHERINE, and MICHAEL, and both COACHILLIN and ENERGY
   15   are being used by such DEFENDANTS as their own bank and means to pay off
   16   debts, obligations, and liabilities owed by such DEFENDANTS. PLAINTIFF is
   17   informed and believes, and thereon alleges that such individual DEFENDANTS
   18   knowingly, voluntarily, and willingly, yet unlawfully, exchanged monies between
   19   DEFENDANTS COACHILLIN, ENERGY, ECOMASTER, and the POA, all for
   20   their personal benefit and to the detriment of the PLAINTIFF.
   21         22.    PLAINTIFF is informed and believes, and thereon alleges that
   22   KENNETH        and    his   respective    family     members,     including     KIRSTEN,
   23   KATHERINE, and MICHAEL, as well as similarly situated persons and their
   24   respective families fully operate, manage, dominate, and/or control ECOMASTER
   25   and its respective affairs, control its respective decisions, and receive monies
   26   collected by ECOMASTER through its unlawful and improper assessment of fees,
   27   charges, and costs, as is set forth and delineated within this Complaint.
   28   DEFENDANTS KENNETH, KIRSTEN, KATHERINE, MICHAEL, and each of

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    1   them, treat ECOMASTER as their own and completely control and dominate each
    2   and every act, omission, and all conduct of ECOMASTER. KENNETH, KIRSTEN,
    3   KATHERINE, and MICHAEL’S control and actions dictating the conduct of
    4   ECOMASTER is in direct contravention of California law and the various
    5   agreements and documents identified herein. Due to KENNETH, KIRSTEN,
    6   KATHERINE, and MICHAEL’S conduct, ECOMASTER has ceased being a
    7   separate entity and is under the exclusive control and guidance of KENNETH,
    8   KIRSTEN, KATHERINE, and MICHAEL, and ECOMASTER is being used by
    9   such DEFENDANTS as their own bank and means to pay off debts, obligations, and
   10   liabilities owed by such DEFENDANTS. PLAINTIFF is informed and believes,
   11   and thereon alleges that such individual DEFENDANTS knowingly, voluntarily,
   12   and willingly, yet unlawfully, exchanged monies between DEFENDANTS
   13   COACHILLIN, ENERGY, ECOMASTER, and the POA, all for their personal
   14   benefit and to the detriment of the PLAINTIFF.
   15         23.    PLAINTIFF is informed and believes, and thereon alleges that
   16   KENNETH, WILLIAM and their respective family members, including KIRSTEN,
   17   KATHERINE, and MICHAEL, as well as similarly situated persons and their
   18   respective families fully operate, manage, dominate, and/or control the POA and its
   19   respective affairs, control its respective decisions, make unilateral decisions in
   20   contravention of the POA’s Covenants, Conditions and Restrictions without
   21   requisite approval by the Board of Directors, and receive monies collected by the
   22   POA through their unlawful and improper unilateral assessment of fees, charges,
   23   and costs, as is set forth and delineated within this Complaint. DEFENDANTS
   24   KENNETH, WILLIAM, KIRSTEN, KATHERINE, MICHAEL, and each of them,
   25   treat the POA as their own and often attempt to completely and arbitrarily control
   26   and dominate each and every act, omission, and all conduct of the POA, all without
   27   requisite Board involvement and/or approval. KENNETH, WILLIAM, KIRSTEN,
   28   KATHERINE, and MICHAEL’S control and actions dictating the conduct of the

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    1   POA is in direct contravention of California law and the various agreements and
    2   documents identified herein. KENNETH, WILLIAM, KIRSTEN, KATHERINE,
    3   and MICHAEL, by and through their conduct, as alleged within this Complaint,
    4   have unilaterally attempted to cause the POA to cease being a separate entity, and
    5   is ostensibly under the exclusive control and guidance of KENNETH, WILLIAM,
    6   KIRSTEN, KATHERINE, and MICHAEL as the POA is being used by such
    7   DEFENDANTS not only as their own bank and means to pay off debts, obligations,
    8   and liabilities owed by such DEFENDANTS, but is being used by KENNETH,
    9   WILLIAM, KIRSTEN, KATHERINE, and MICHAEL as a weapon against the
   10   PLAINTIFF to achieve and further the unlawful common enterprise between such
   11   DEFENDANTS and their respective entities, as is set forth herein.
   12         24.    PLAINTIFF is informed and believes, and thereon alleges that
   13   DEFENDANTS KIRSTEN and KATHERINE are related to KENNETH, that
   14   KIRSTEN and KATHERINE are involved with the day to day management,
   15   supervision, and administration of the POA acting in the positions of Executive
   16   Director and Secretary of the POA, respectively, that KIRSTEN and KATHERINE
   17   are involved with the day to day management, supervision, and administration of
   18   ECOMASTER, another entity owned by KENNETH, and that KIRSTEN and
   19   KATHERINE have engaged in self-dealing, conflicts of interest, and agreed upon,
   20   acquiesced in, and permitted KENNETH, COACHILLIN, ECOMASTER, and
   21   ENERGY to engage in the conduct alleged herein unchecked and with rampant
   22   abuse. Further, KIRSTEN and KATHERINE have perpetuated this fraudulent,
   23   unlawful, and improper behavior by sending invoices, demands, and requests for
   24   payment to PLAINTIFF that are unlawful, fraudulent, improper, harassing, and
   25   unwarranted. In furtherance of and in conjunction with the aforementioned acts,
   26   DEFENDANT KENNETH also used such unlawful, fraudulent, improper,
   27   harassing, and unwarranted demands and requests for payments to threaten
   28   PLAINTIFF with foreclosure for non-payment.                Additionally, KIRSTEN and

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    1   KATHERINE have permitted COACHILLIN, ENERGY, ECOMASTER and
    2   KENNETH to engage in this conduct and have shirked their duties and obligations
    3   owed to the POA and its members, including PLAINTIFF, all to its detriment.
    4         25.    PLAINTIFF is informed and believes, and thereupon alleges, that
    5   PLAINTIFF’S damages are actually and proximately caused by the
    6   DEFENDANTS, and each of them, jointly and severally.
    7         26.    Wherever appearing in this Complaint, each and every reference to
    8   defendant, DEFENDANT, Defendants, DEFENDANTS and any of them, is
    9   intended to be and shall be a reference to all DEFENDANTS hereto, and to each of
   10   them, named and unnamed, including all fictitiously named DEFENDANTS,
   11   unless said reference is otherwise specifically qualified.
   12         27.    Whenever and wherever reference is made in this Complaint to any
   13   act by a Defendant or Defendants, such allegations and reference shall also be
   14   deemed to mean the acts and failures to act of each DEFENDANT acting
   15   individually, jointly, and severally.
   16

   17                             ALTER EGO ALLEGATIONS
   18         28.    PLAINTIFF is informed and believes Defendants KENNETH,
   19   WILLIAM, KATHERINE, KIRSTEN, and MICHAEL, and Defendant DOES 1
   20   through 50, inclusive, (hereinafter collectively referred to as “Defendant
   21   Members”) are, and at all times herein mentioned were, members and/or holders of
   22   ownership units or shares of stock of various business entities, including without
   23   limitation, COACHILLIN, ECOMASTER, and ENERGY (hereinafter referred to
   24   as “Defendant Companies”) and/or promoters of Defendant Companies, and/or
   25   subscribers to units and/or shares therein. Such Defendant Companies were and
   26   are mere sham and shell entities incorporated, organized, and operated as the
   27   complete and total alter ego of the Defendant Members, for their personal benefit
   28   and advantage in that the Defendant Members have, at all times herein mentioned,

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    1   exercised total dominion and control over the Defendant Companies. There exists,
    2   and at all times herein mentioned existed, a unity of interest between Defendant
    3   Members and Defendant Companies such that any individuality and separateness
    4   between Defendant Members and Defendant Companies either never existed or has
    5   ceased, and the Defendant Companies are the alter ego of one another as well as
    6   the Defendant Members as follows:
    7         (a) PLAINTIFF is informed and believes and thereon alleges that Defendant
    8             Companies are, and at all times herein mentioned were, a mere shell and
    9             sham without sufficient capital, assets, shares, shareholders, units,
   10             members, and/or unitholders.            Said Defendant Companies were
   11             conceived, intended, and used by Defendant Members as a device to
   12             avoid individual liability and for the purpose of substituting financially
   13             insolvent business entities in the place of the Defendant Members.
   14             PLAINTIFF is informed and believes and thereon alleges that at no time
   15             after the Defendant Companies became incorporated and/or organized
   16             were any shares of stock and/or ownership units authorized to be issued
   17             or issued nor has any permit for issuance of any shares of stock and/or
   18             ownership units been applied for with any appropriate governmental
   19             agencies.
   20         (b) PLAINTIFF is informed and believes and thereon alleges that Defendant
   21             Companies are, and at all times herein mentioned were, so inadequately
   22             capitalized that, compared with the business to be done by any of the
   23             Defendant Companies and the risks of loss attendant thereto, the
   24             Defendant Companies’ capitalization was illusory or trifling.
   25         (c) PLAINTIFF is informed and believes and thereon alleges that Defendant
   26             Companies are, and at all times herein mentioned were, the alter ego of
   27             each other as well as the Defendant Members and the POA and there
   28             exists, and at all times herein mentioned existed, a unity of ownership

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    1             between DEFENDANTS such that any separateness has ceased to exist
    2             in that the Defendant Members and the POA has used assets of the
    3             Defendant Companies and the POA for their personal use, caused assets
    4             of the Defendant Companies and the POA to be transferred to each other
    5             as well as themselves without adequate consideration, and withdrew
    6             funds from the Defendant Companies’ and the POA’s bank accounts for
    7             their personal use.
    8         (d) PLAINTIFF is informed and believes and thereon alleges that the
    9             Defendant Companies are, and at all times mentioned herein were a mere
   10             shell, instrumentality, and conduit through which the Defendant Members
   11             carried on their business in the name of the Defendant Companies as they
   12             conducted it previous to the incorporation and/or organization of the
   13             Defendant Companies, exercising complete control and dominance of
   14             such entities to such an extent that any individuality or separateness of
   15             the Defendant Companies and the Defendant Members does not now, and
   16             at any time herein mentioned did not, exist.
   17         (e) PLAINTIFF is informed and believes and thereon alleges that the
   18             Defendant Companies are, and at all times herein mentioned were
   19             managed, controlled, dominated, and operated by the Defendant
   20             Members as their individual businesses and alter ego, in that the activities
   21             and business of the Defendant Companies were carried out without the
   22             holding of any Board, Shareholder, Manager, or Member meetings, no
   23             records or minutes of any company proceedings were maintained, and the
   24             Defendant Members entered into personal transactions with the
   25             Defendant Companies and the POA without the approval of other Board
   26             Members, Shareholders, Managers, Members, or Unitholders.
   27         (f) PLAINTIFF is informed and believes and thereon alleges that adherence
   28             to the fiction of separate existence of the Defendant Companies as an

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    1               entity or entities distinct from the Defendant Members would permit
    2               abuse of the business entity privilege and would sanction fraud and
    3               promote injustice in that the Defendant Members caused funds to be
    4               withdrawn from the Defendant Companies and/or the POA, and
    5               distributed said funds without any consideration to the Defendant
    6               Companies and/or the POA all for their personal benefit as well as the
    7               purpose of avoiding and preventing attachment and execution by
    8               creditors, including the PLAINTIFF, thereby rendering the Defendant
    9               Companies insolvent and unable to adequately meet its obligations.
   10         (g) PLAINTIFF is informed and believes and thereon alleges that, at all times
   11               relevant hereto, the Defendant Members, the Defendant Companies, and
   12               the POA, by and through the individual DEFENDANTS, improperly
   13               acted for each other, in place of each other, and in connection with the
   14               conduct hereinafter alleged, and that each of them performed the acts
   15               complained of herein or breached the duties herein complained of as
   16               agents of each other and each is therefore fully liable for the acts of the
   17               others.
   18         29.      As a result, PLAINTIFF is further informed and believes and thereon
   19   alleges that the Defendant Companies and the POA were, are, and continue to be
   20   the alter ego of the Defendant Members and that an injustice will result if the sham
   21   entities of the Defendant Companies and the POA are not disregarded, and the
   22   Defendant Members held personally liable for the indebtedness and obligations of
   23   the Defendant Companies.
   24   ///
   25   ///
   26   ///
   27   ///
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    1                               GENERAL ALLEGATIONS
    2         30.    PLAINTIFF realleges and incorporates by reference each and every
    3   allegation contained within paragraphs 1 through 29, inclusive, as if the same were
    4   fully set forth herein.
    5         31.    PLAINTIFF is informed and believes and thereon alleges that in or
    6   about 2004, KENNETH formed Palm Desert Masterbuilders, Inc., a California
    7   Corporation, whose name, on or about May 18, 2012, was later amended by
    8   KENNETH and KIRSTEN with the California Secretary of State to be Ecomaster
    9   Corporation, a DEFENDANT in this present matter.                 As is set forth above,
   10   PLAINTIFF is informed and believes and thereon alleges that ECOMASTER was
   11   formed by KENNETH, and at all times relevant herein operated by KENNETH and
   12   his respective family members, including without limitation, his wife KIRSTEN,
   13   and his children, KATHERINE and MICHAEL, all for their personal benefit.
   14   According to ECOMASTER’S website, KENNETH is “the Class A General
   15   Engineering Contractor License Responsible Managing Officer (RMO)” of
   16   ECOMASTER.
   17         32.    PLAINTIFF is informed and believes and thereon alleges that in or
   18   about February 2016, KENNETH and WILLIAM discovered approximately 153
   19   acres of vacant land located at East N. Indian Canyon, in the City of Desert Hot
   20   Springs, Riverside County, California, that would eventually become the Coachillin
   21   Industrial & Canna-Business Park Development (the “Development”).
   22         33.    PLAINTIFF is informed and believes and thereon alleges that in or
   23   about March 2016, KENNETH and WILLIAM attempted to purchase the land to
   24   use for the Development, all while initially using ECOMASTER as the Purchaser
   25   to facilitate such transaction. PLAINTIFF is informed and believes and thereon
   26   alleges that this purchase of land for the Development was consummated by the
   27   DEFENDANTS shortly thereafter.
   28   ///

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    1         34.    PLAINTIFF is informed and believes and thereon alleges that on or
    2   about April 4, 2016, DEFENDANTS KENNETH, WILLIAM, and other members
    3   of WILLIAM’s family organized DEFENDANT COACHILLIN for the purpose of
    4   closing on the purchase of the above-referenced land for the Development, and to
    5   also act as the master developer of the Development. It is believed by the
    6   PLAINTIFF that promptly following the organization of COACHILLIN,
    7   ECOMASTER assigned to COACHILLIN, without consideration, its rights and
    8   interests in the land to be used for the Development.
    9         35.    PLAINTIFF is informed and believes and thereon alleges that in or
   10   about April 2016, DEFENDANTS KENNETH, WILLIAM, and COACHILLIN
   11   entered into an agreement to retain Ms. Paula Turner, a local real estate agent in the
   12   Coachella Valley, and her real estate agency, Desert Pacific Properties, to act as its
   13   exclusive listing real estate agent, whereby Ms. Turner and/or Desert Pacific
   14   Properties was the only real estate agency authorized to represent KENNETH,
   15   WILLIAM, and COACHILLIN for the sale of individual parcels of land within the
   16   Development. Ms. Turner and Desert Pacific Properties represents on their website
   17   (https://www.desertpacificproperties.com/team/), that “Since 2015 Desert Pacific
   18   Properties, under Paula’s leadership, has become a leading source of cannabis real
   19   estate with a current inventory of approximately $150 million…”
   20         36.    In or about the end of 2017, the PLAINTIFF first learned of the
   21   Development, which was being planned, developed, and marketed by the
   22   DEFENDANTS through their alter ego business entity, COACHILLIN.
   23         37.    PLAINTIFF is informed and believes and thereon alleges that the
   24   Development was approved by the City of Desert Hot Springs (the “City”) in or
   25   about November 2017, as an approximately 153-acre master plan industrial and
   26   business park dedicated to the operation of legalized cannabis business.
   27         38.    According to COACHILLIN’S own website, www.coachillin.com (the
   28   “Website”), the Development at full buildout was supposed to include “[M]ore than

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    1   3,000,000 sq. ft. of sustainable cannabis cultivation, manufacturing, processing,
    2   laboratory testing, and tours/education facilities.” The Website further stated that
    3   the Development was supposed to be “designed to be a center of excellence &
    4   innovation, setting a new standard of sustainability for California’s budding
    5   cannabis industry.”       It was often touted by the DEFENDANTS that the
    6   Development was planned to have a restaurant, brewery, dispensary, hotel, private
    7   club, bank and cash vault, amphitheater, laboratory, educational center, and on-site
    8   cannabis wastewater remediation facility (collectively referred to herein as the
    9   “Amenities”), of which were material inducements for the PLAINTIFF in its
   10   decision to purchase its parcel of land within the Development, as is set forth herein.
   11   According to COACHILLIN’s own Website, and the materials, representations, and
   12   other information contained therein, such Amenities were supposed to have already
   13   been constructed, completed, and opened prior to the initiation of this instant action.
   14   Despite the foregoing, as of the date of the filing of this Complaint, the Development
   15   is still under construction and not even close to completion, despite a number of
   16   promises to the contrary prior to the PLAINTIFF ever purchasing its property within
   17   the Development, including repeated representations by the DEFENDANTS that
   18   the Development, the respective Amenities, and the entire infrastructure of the
   19   Development (e.g. electricity, sewage, and water) would have been long since
   20   completed by now.
   21         39.    In her efforts to sell lots at the Development, brochures on Ms. Turner’s
   22   website related to COACHILLIN represented to potential clients important
   23   information such as: (i) “Get Your Regulatory Permit by Dec. 2017;” (ii)
   24   “Substantially improved parcels include paved roads, electricity, domestic water,
   25   cultivation water well, natural gas and sewer facilities;” (iii) “Coachillin Brewery
   26   Tap Room Opening Dec. 2019;” (iv) “Specific Plan eliminates the need for
   27   individual Conditional Use Permits (CUP’S);” (v) assertions within a parcel map
   28   that Lot 43 within the Development is to be used for an “Interim Waste Facility;”

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    1   and, (vi) that “Purchase Price includes all utilities to the site…” (Emphasis added).
    2   Despite all such material representations previously made and still presently being
    3   made upon Ms. Turner’s website, Ms. Turner has known and continues to be
    4   informed by and though having acted in concert with the DEFENDANTS
    5   COACHILLIN, KENNETH, and WILLIAM, that such material representations are
    6   false and misleading.
    7         40.      PLAINTIFF is informed and believes and thereon alleges that the
    8   overall buildout and management of the Development as well as the
    9   DEFENDANTS’ ability and/or right to do so was and continues to be expressly
   10   conditioned upon and subject to various agreements, designs, conditions, orders,
   11   and/or plans entered into by the DEFENDANTS and approved and/or adopted by
   12   the City as well as other governmental agencies. Specifically, without limitation,
   13   PLAINTIFF is informed and believes and thereon alleges that the following
   14   agreements, designs, conditions, orders, and/or plans govern the Development and
   15   the DEFENDANTS’ conduct thereto:
   16         - Conditional Use Permit 17-17, Tentative Parcel Map 37158, including the
   17               Conditions of Approval for the Coachillin’ Industrial Cultivation &
   18               Ancillary Canna-Business Park, prepared by the City of Desert Hot
   19               Springs on or about October 17, 2017 (the “Conditions of Approval”);
   20         - DHS Project Specific Plan #01-17, Approved by City of Desert Hot
   21               Springs through Ordinance No. 642 on or about November 7, 2017, and
   22               thereafter adopted by the City Council of Desert Hot Springs on November
   23               21, 2017, subject to the DEFENDANTS’ written acceptance, which was
   24               executed and acknowledged by KENNETH on November 22, 2017, and
   25               thereby added as Chapter 17.200 to Title 17 “Zoning” of the City of Desert
   26               Hot Springs Municipal Code (the “Specific Plan”);
   27   ///
   28   ///

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    1         - Final Parcel Map of the Development, Parcel Map No. 37158, recorded
    2               with the Riverside County Recorder on December 22, 2017 as Document
    3               No. 2017-0537543 (the “Final Parcel Map”);
    4         - The Subdivision Improvement Agreement for Parcel Map No. 37158,
    5               recorded with the County of Riverside on January 18, 2018, Document
    6               No. 2018-0020292 (the “Development Agreement”);
    7         - The Amended and Restated Declaration of Covenants, Conditions and
    8               Restrictions – Indian Canyon & 18th Property Owners Association, which
    9               was made effective as of July 8, 2019 by COACHILLIN, who referred to
   10               itself within said Covenants, Conditions and Restrictions as the
   11               “Declarant,” and such Covenants, Conditions and Restrictions was
   12               recorded with the Riverside County Recorder on December 17, 2019 as
   13               Document No. 2019-0520996 (the “CC&R’s”);
   14         - The Design Requirements and Guidelines, which the “Amended” version
   15               was approved by Desert Hot Springs’ City Council on July 14, 2020 (the
   16               “Design Plan”); and
   17         - California Regional Water Quality Control Board (“CRWQCB”) Order
   18               R7-2020-0029, dated November 12, 2020 (the “CRWQCB Permit”).
   19         41.      PLAINTIFF is informed and believes and thereon alleges that for the
   20   purposes of this Complaint, relevant portions of the Conditions of Approval include,
   21   without limitation, the following requirements and obligations imposed upon the
   22   DEFENDANTS:
   23         - Paragraph No. 31 on Page 7 specifically states that the DEFENDANTS
   24               “SHALL maintain the Project Site after the start of construction and until
   25               the Project is completed, free of weeds, debris, trash or any other
   26               offensive, unhealthy and dangerous material.” (Emphasis Added).
   27         - Paragraph No. 84 on Page 16 specifically states that the DEFENDANTS
   28               “SHALL annex to Community Facilities District No. 2010-1 for the

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    1             maintenance of: (a) Landscape/Hardscape; (b) Streetlights; (c) Drainage
    2             Basins / Storm Drainage Facilities...” (Emphasis Added).
    3         - Paragraph No. 93 on Page 17 specifically states that “AT NO TIME, shall
    4             any adjacent streets for the project be allowed to be used for construction
    5             staging, storage, or other such construction related activities. Access by
    6             heavy equipment shall be limited to the minimum number of trips essential
    7             to completing the construction.” (Emphasis Added).
    8         - Paragraph No. 95 on Page 18 specifically states that the DEFENDANTS
    9             “SHALL comply with the National Pollution Discharge Elimination
   10             System (NPDES) requirements per the California Regional Water Quality
   11             Board...” (Emphasis Added).
   12         - Paragraph No. 98 on Page 18 specifically states that the DEFENDANTS
   13             are “REQUIRED to construct all transition and missing links between
   14             existing and proposed improvements” (Emphasis Added).
   15         - Paragraph No. 107 on Page 20 specifically states that “No nuisance water
   16             shall escape the site onto public streets”
   17         - Paragraph No. 115 on Page 21 specifically states that the DEFENDANTS
   18             “SHALL enter into water and sanitary sewer service agreements with the
   19             Mission Springs Water District for domestic water and sanitary sewer
   20             service.” (Emphasis Added).
   21         - Paragraph No. 137 on Page 24 specifically states that the DEFENDANTS
   22             “SHALL provide and install adequate water supply, sanitary sewer,
   23             natural gas, electric, telephone, and cable television lines to serve each
   24             separate lot.” (Emphasis Added).
   25         - Paragraph No. 142 on Page 24-25 specifically states that the
   26             DEFENDANTS “SHALL submit an owner-and contractor-signed PM10
   27             Dust Control Implementation Plan in accordance with the standards and
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    1               codes of the City and the South Coast Air Quality Management District
    2               (SCAQMD)…” (Emphasis Added).
    3         - On Page 34, under title of “Septic System” it specifically states that
    4               “Sewer service is currently unavailable in this area. Dry sewers will be
    5               required offsite and onsite.”
    6         - Paragraph No. 214 on Page 34 specifically states that “MSWD requires
    7               submittal of proposed plumbing plan showing all connections to the septic
    8               system(s) and the size and location of the proposed disposal system(s) for
    9               the project.” (Emphasis Added).
   10         - Paragraph No. 215 on Page 34 specifically states “All onsite, temporary
   11               septic systems shall be designed to be easily abated and connected to the
   12               dry sewer once the sewer is placed in service. The developer shall be
   13               responsible for all abatement and connection costs.” (Emphasis Added).
   14         - Paragraph No. 217 on Page 35 specifically states that “Dry sewers will be
   15               required to be installed within the project site to serve all lots within the
   16               subdivision, conforming to Mission Springs Water District Standards.”
   17         - Paragraph No. 222 on Page 35 specifically states that the DEFENDANTS
   18               “SHALL complete an application for sewer service with payment of all
   19               applicable fees, charges and deposits at the time of application (i.e., multi-
   20               family, residential, commercial sewer connection fees per current MSWD
   21               fee schedules).” (Emphasis Added).
   22         - Paragraph No. 225 on Page 35 specifically states that the DEFENDANTS
   23               “Will be required to bond all infrastructure and be required to supply a
   24               warranty bond for the infrastructure. This warranty bond will be released
   25               1 year from the District’s acceptance of the infrastructure.” (Emphasis
   26               Added).
   27         42.      PLAINTIFF is informed and believes and thereon alleges that for the
   28   purposes of this Complaint, relevant portions of the Specific Plan include, without

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    1   limitation, the following requirements and obligations imposed upon the
    2   DEFENDANTS:
    3         - Section No. 2 on Page 7 of 131, entitled “Domestic Water and Sewer,”
    4             which not only sets forth a comprehensive set of requisite developmental
    5             standards which needed to be adhered to through the course of
    6             constructing the Development but which various permits of the
    7             Development are based upon, specifically states, in pertinent part,
    8             “Interim sewer handling will be provided by an engineered septic system
    9             approved by the Regional Water Quality Control Board (RWQCB) until
   10             MSWD [Mission Springs Water District] builds their new Sewer Plant
   11             0.25 mile east of the proposed project.” (sic)
   12         - On Page 43 of 131, in the Section entitled “Sewer,” such Section
   13             specifically states, in pertinent part that, “The applicant intends to handle
   14             all waste created on site with a temporary onsite wastewater septic system
   15             located in the Southern portion of the project. The septic system will be
   16             an “interim use” until such time a MSWD plant is constructed the Project
   17             shall install a septic system with a nitrogen element removal element
   18             which has been approved by the California Water Board.” (sic)
   19             (Emphasis Added).
   20         - On Page 82 of 131, in the Section entitled “Sewer,” such Section
   21             specifically states, in pertinent part that, “Based upon the information
   22             presented above, the handling of the Project’s sewerage treatment and
   23             disposal can be handled as follows: To construct an ON-SITE packaged
   24             wastewater treatment plant (WWTP) to adequately treat the Project
   25             sewer flows prior to being disposed of through on-site leech lines or
   26             seepage pits….It should be noted that the temporary facilities will NEED
   27             to be owned and operated by the developer AT THE DEVELOPER’S
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    1               EXPENSE, including and future transitional facilities required.” (sic)
    2               (Emphasis Added).
    3         - On Page 103 of 131, in the Section entitled “Financing,” such Section
    4               specifically states, in pertinent part that, “The developer will construct all
    5               on-site…improvements       including     roadway      improvements,      parks,
    6               drainage improvements…” (Emphasis Added).
    7         43.      PLAINTIFF is informed and believes and thereon alleges that for the
    8   purposes of this Complaint, relevant portions of the Development Agreement
    9   include, without limitation, the following requirements and obligations imposed
   10   upon the DEFENDANTS:
   11         - On Page 1, Recital “A” specifically states that the DEFENDANTS
   12               “SHALL construct the following public improvement (“work”) for the
   13               above referenced property: streets, curbs, gutters, storm drains, sewer,
   14               water, walls, landscaping and any improvements associated with this
   15               development…” (Emphasis Added).
   16         - On Page 1, Paragraph No. 1, entitled “IMPROVEMENTS,” specifically
   17               states, in pertinent part that, “For valuable consideration, DEVELOPER
   18               agrees to do, or cause to be done, AT DEVELOPER’S EXPENSE…all
   19               of the work described herein by the date specified….Said work shall be in
   20               strict conformity with the plans and specifications of the work, the
   21               standard specifications and drawings for public improvements adopted by
   22               CITY and this agreement.” (Emphasis Added).
   23         - On Page 3, Paragraph No. 3, entitled “DEVELOPER’S LIABILITY,”
   24               specifically states, in pertinent part that, “DEVELOPER shall, at
   25               DEVELOPER’S sole cost and expense, be solely and completely
   26               responsible for all matters affecting the design, prosecution, progress and
   27               completion of the work (both on and off the job site). DEVELOPER shall
   28               be responsible for observing all laws.” (Emphasis added).

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    1         44.         PLAINTIFF is informed and believes and thereon alleges that for the
    2   purposes of this Complaint, relevant portions of the CC&R’s include, without
    3   limitation, the following requirements and obligations imposed upon the
    4   DEFENDANTS:
    5         - On Page 1, Recital E specifically states that “[T]he Project shall be held,
    6               improved and conveyed subject to those certain protective covenants,
    7               conditions and restrictions set forth herein in order to create mutually
    8               equitable      servitudes   upon      the     Site    in     favor     of    all
    9               Parcels/Buildings/Businesses located therein, creating reciprocal rights
   10               and obligations between the respective Parcel Owners and creating
   11               privity of contract and estate between Owners pursuant to the California
   12               Commercial and Industrial Common Interest Development Act
   13               commencing with California Civil Code section 6500.” (Emphasis
   14               Added).
   15         - On Page 2 Recital F specifically states that the development of the Project
   16               “[S]hall be subject to this Amended and Restated Declaration of
   17               Covenants, Conditions and Restrictions.”
   18         - On Page 2 Recital G specifically states that “The Specific Plan (“SP”)
   19               #01-17, and any amendments thereto, along with this Declaration shall
   20               continue to govern the use and development of the Project…”
   21         - Section 2, entitled “PURPOSE OF COVENANTS, CONDITIONS AND
   22               RESTRICTIONS” specifically states, in pertinent part that, “The purpose
   23               of these covenants, conditions and restrictions includes, but is not limited
   24               to:
   25                     2.1   Encouraging and ensuring the proper development and use of
   26                     the Project;
   27   ///
   28   ///

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    1                2.2     Protecting Declarant and any Parcel Owner of each Parcel
    2                against any improper development and use of adjacent and
    3                surrounding Parcels:
    4                2.3     Preventing the construction on the Project of structures built of
    5                improper design or materials;
    6                2.4     Encouraging the construction of attractive improvements at
    7                appropriate locations;
    8                2.7     Enhancing and protecting the value, desirability, and
    9                attractiveness of the entire Project;
   10        - Within the definition of owner’s “Allocable Share” of the Common Area
   11            Expenses, it states that such share shall be based upon the acreage owned
   12            by each lot owner (as the numerator) divided by the total acreage of all
   13            parcels (as the denominator). As indicated in Exhibit D to the CC&R’s,
   14            the Allocable Share for Parcel 28 was 2.11%.
   15        - Within the definition of “Common Area Expenses,” it is specifically
   16            stated that “Common Area Expenses, as to each Parcel Owner, shall NOT
   17            include (A) the costs and expenses incurred by Declarant to construct the
   18            Initial Common Infrastructure (provided, however, that the costs of initial
   19            construction of the perimeter wall surrounding the Project, cultivation
   20            water, chilled and hot water and entrance gates to the Project may be
   21            charged and assessed to one or more Parcel Owners)…” (Emphasis
   22            Added).
   23        - Within the definition of “Initial Common Infrastructure” it is
   24            specifically stated that “the common infrastructure to serve the Project, as
   25            more particularly described on Exhibit B, the Map, Exhibit A-2, and in the
   26            SP…In the event of a conflict between the SP and the Map or this
   27            Declaration, including, without limitation, the exhibits attached hereto,
   28            then the SP shall control, but only to the extent of, and with respect to, that

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    1            conflict. As of the date of this Declaration, the Amended Specific Plan has
    2            not yet been approved by the City Council. Notwithstanding anything to
    3            the contrary contained in this Declaration, either the Declarant or the
    4            Association may, without the consent of any Parcel Owner, execute and
    5            record an amendment to this Declaration incorporating the SP into the
    6            provisions hereof.” Accordingly, pursuant to the language expressly set
    7            forth within these CC&R’s, COACHILLIN and its ownership, including
    8            without limitation, KENNETH and WILLIAM, were definitively required
    9            to pay for the cost to build the common infrastructure to serve the
   10            Project. Thus, KENNETH, WILLIAM, COACHILLIN, KATHERINE,
   11            KIRSTEN, MICHAEL, and the POA were each required, and continue to
   12            be required, to comply with the Specific Plan as it was expressly part of the
   13            CC&R’s, incorporated by reference therein, and ultimately approved by the
   14            City of Desert Hot Springs and codified into the City’s Municipal
   15            Code. The failure to comply with the Specific Plan constitutes a violation
   16            of the various controlling documents, the CC&R’s, and the governmental
   17            approvals of the same by the City of Desert Hot Springs and others.
   18        - Section 7.2 specifically states, in pertinent part that, “[I]f Declarant or any
   19            affiliate of Declarant elects to furnish one or more utility service(s) to
   20            Parcel Owners, each Parcel Owner will be given the opportunity, but will
   21            NOT be obligated, to purchase, subscribe, and/or rent the service(s) from
   22            such service provider(s).” (Emphasis Added)
   23        - Section 7.4 specifically states, in pertinent part, that “Each Parcel owner
   24            shall discharge Domestic Waste Water into the sewage collection system
   25            operated and maintained by the Mission Springs Water District, and each
   26            Parcel Owner shall be required to collect and discharge Cannabis
   27            Cultivation Waste into a private secured collection tank system. Said
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    1            Cannabis Waste Water shall then be disposed of in an “off parcel”
    2            cannabis disposal collection site.”
    3        - Section 9.4, entitled “SPECIAL ASSESSMENTS” specifically states, in
    4            pertinent part, that “[S]pecial assessments may be levied by the Association
    5            at any time pursuant to this Section 9.4…:
    6                  9.4.2 Special Assessments may be levied against all Parcel Owners in
    7                  accordance with their respective Allocable Shares for the purpose of
    8                  defraying, in whole or in part:…
    9                        9.4.2.2         The cost of bringing utilities or infrastructure
   10                  (OTHER THAN the Initial Common Infrastructure) to the Common
   11                  Areas…NO SUCH Special Assessment shall be levied in connection
   12                  with any original construction of the Initial Common Infrastructure
   13                  unless said Special Assessment is used for the reconstruction or
   14                  replacement of any capital improvement included in the Initial
   15                  Common Infrastructure…” (Emphasis Added).
   16         - Section 11.1 entitled “DUTIES OF PARCEL OWNER, ASSOCIATION”
   17               specifically states, in pertinent part, that the “Parcel Owner(s) shall not
   18               release, generate, use, store, dump, transport, handle, or dispose of any
   19               Hazardous Materials within the Project or otherwise permit the presence
   20               of any Hazardous Materials on…their respective Parcels…except in
   21               accordance with all applicable Law.”
   22         45.      PLAINTIFF is informed and believes and thereon alleges that for the
   23   purposes of this Complaint, relevant portions of the Design Plan include, without
   24   limitation, the following requirements and obligations imposed upon the
   25   DEFENDANTS:
   26        - Section 11.3 states, in pertinent part that, “The sanitary sewer system which
   27            the COACHILLIN’ INDUSTRIAL CULTIVATION & ANCILLARY
   28            CANNA-BUSINESS PARK intends to use is a temporary septic at one

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    1            location, and the proposed Anaerobic Digestion (AD) System, with future
    2            hookups to the new Mission Springs Water District’s plant.”
    3         46.      PLAINTIFF is informed and believes and thereon alleges that for the
    4   purposes of this Complaint, relevant portions of the CRWQCB Permit include,
    5   without limitation, the following requirements and obligation imposed upon the
    6   DEFENDANTS:
    7         - The cover page of the CRWQCB Permit specifically states the following:
    8               (i) the “Discharger” is Coachillin’ Holdings LLC; and (ii) the “Facility” is
    9               Coachillin’ Business Park ONSITE Wastewater Treatment and Disposal
   10               System.
   11         - On Page No. 1, Finding No. 1 specifically states, in pertinent part that,
   12               “Coachillin’ Holdings LLC (Discharger) owns and operates the
   13               Coachillin’ Business Park Onsite Wastewater Treatment and Disposal
   14               System (Facility).” (Emphasis Added).
   15         - On Page No. 1, Finding No. 2 specifically states, in pertinent part that,
   16               “The Facility is located at North Indian Canyon Drive, between 18 th and
   17               19th Avenues, in Desert Hot Springs, California…The Facility location is
   18               shown in Attachment A – Vicinity Map, incorporated herein and made a
   19               part of the Order by reference.”
   20         - On Page No. 2, Finding No. 7 specifically states, in pertinent part that, “An
   21               ONSITE wastewater treatment and disposal (OTWS) system will provide
   22               wastewater treatment for domestic wastewater generated at the Park.”
   23               (Emphasis added).
   24         47.      As is previously set forth herein, in or about the end of 2017, the
   25   PLAINTIFF first learned of the Development.
   26         48.      PLAINTIFF DHS VERDE, LLC is the owner and rights holder over
   27   the real property within the Development which is commonly known as “Parcel 28.”
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    1   On or about April 3, 2018, PLAINTIFF DHS VERDE closed on its purchase of its
    2   respective parcel of land within the Development.
    3         49.    DHS VERDE is informed and believes and thereon alleges that its
    4   members first learned of the Development from Mr. Brad Watson, whom DHS
    5   VERDE had a pre-existing relationship with. At the time of learning about the
    6   Development, said members of PLAINTIFF DHS VERDE were already actively
    7   seeking to acquire real property within the State of California to conduct legalized
    8   cannabis business operations from within. Upon learning of the Development, said
    9   members began to initially research the Development through various means,
   10   including online research of the Development via the Website, which contains
   11   various representations as to the supposedly intended robust and all-inclusive nature
   12   of the Development.
   13         50.    Upon being impressed with their initial review of the Development and
   14   the fact that the Development appeared to be an all-inclusive canna-business-based
   15   park as was being represented by DEFENDANTS, members of DHS VERDE then
   16   sought to schedule a site tour of the Development and in-person meetings with the
   17   DEFENDANTS, all to learn more about the potential acquisition and construction
   18   of property within the Development, as well as additional information related to the
   19   full scope of the Development, the anticipated delivery of the utilities (e.g.
   20   electricity, sewer, etc.) and its represented Amenities.
   21         51.    PLAINTIFF DHS VERDE is informed and believes and thereon
   22   alleges that in furtherance of their desire to learn more about the Development,
   23   members of DHS VERDE and its authorized representatives were able to conduct
   24   an in-person site visit of the Development and attend an in-person meeting with the
   25   DEFENDANTS. Specifically, in or about the end of 2017 and continuing through
   26   the commencement of 2018, Dan Zaharoni, Kintu Patel, Jayson Quinones, David
   27   Moss and Brad Watson, all of whom were authorized representatives of DHS
   28   VERDE, attended multiple in-person sales presentation meetings with

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    1   DEFENDANT          KENNETH         and    other    representatives    of   DEFENDANT
    2   COACHILLIN, who presented on behalf of themselves and other DEFENDANTS.
    3   During these in-person meetings, DEFENDANTS made several material
    4   representations concerning the overall buildout of the Development, construction of
    5   the Development’s Amenities, infrastructure, and utilities, and the timelines related
    6   thereto.    Specifically, DEFENDANT KENNETH expressly represented to the
    7   aforementioned DHS VERDE representatives that: (i) electrical service for the real
    8   property more commonly known as Parcel 28 was to have all such desired electrical
    9   service provided to it by no later than Christmas 2018; (ii) the water infrastructure
   10   for the entire Development will include a built-in reverse osmosis system to be
   11   utilized by each respective parcel for purifying water to be used for the cultivation
   12   of cannabis; (iii) the Development will include well-water access, which according
   13   to the DEFENDANTS is “bulletproof” so as to ensure that each parcel will have
   14   continuous access to an unlimited water source, even in the event of significant
   15   drought conditions; and (iv) the Development will feature a restaurant / brewhouse,
   16   research facility, dispensary that features parcel owner’s products, cannabis-based
   17   tourism facility, and a roof-top lounge for smoking.
   18         52.     Due to the condition of the vacant land prior to purchasing Parcel 28
   19   within the Development, the members of PLAINTIFF DHS VERDE were very
   20   concerned about various details associated with the Development and its overall
   21   construction.    For example, the members of PLAINTIFF DHS VERDE sought
   22   specific information and factual representations from the DEFENDANTS about the
   23   Development, including, without limitation: (i) the overall ability of the
   24   DEFENDANTS to actually develop the Development; (ii) what amount of monies
   25   would be needed to complete the Development, and were all DEFENDANTS
   26   adequately equipped to finance such development through finalization; (iii) what
   27   approvals would be needed to complete the Development; (iv) what was included
   28   in the infrastructure - including electricity, sewage, and water; (v) who would be

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    1   responsible for paying for the cost of such infrastructure; and (vi) the applicable
    2   timeline that the infrastructure would be completed, as well as other related details.
    3   All of this information was highly relevant and material to PLAINTIFF DHS
    4   VERDE in making its determination whether or not to purchase property within the
    5   Development and was also further material to the transaction as the price of a semi-
    6   improved lot within the Development was significantly higher than the price of other
    7   vacant land in the surrounding area. As such, these concerns caused the members
    8   of PLAINTIFF DHS VERDE to engage in various due diligence efforts.
    9         53.    PLAINTIFF DHS VERDE is informed and believes and thereon
   10   alleges that following these meetings between members of PLAINTIFF DHS
   11   VERDE and the aforementioned DEFENDANTS, DHS VERDE engaged in
   12   additional due diligence efforts concerning its potential purchase of real property
   13   within the Development. Specifically, PLAINTIFF DHS VERDE engaged in
   14   efforts to review and analyze all aspects of the purchase of the respective property
   15   to be acquired by it. Such due diligence efforts commenced in or about the start of
   16   2018, and continued thereafter until in or about April 2018, when DHS VERDE
   17   actually chose to close on the purchase of Parcel 28 within the Development. During
   18   said interim time-period, DHS VERDE and its authorized representatives requested
   19   from the DEFENDANTS all relevant information as to the Development, the parcels
   20   for sale within, as well as all agreements, designs, conditions, orders, and/or plans
   21   concerning the Development, and the related costs and timelines thereto.                  In
   22   furtherance of these requests, during this time-period and prior to DHS VERDE’s
   23   close of its purchase of its respective parcel of land within the Development, DHS
   24   VERDE was provided copies of various relevant documents by and/or on behalf of
   25   the DEFENDANTS concerning the Development and the DEFENDANTS’
   26   purported buildout of the related infrastructure, utilities, and the Amenities.
   27   Specifically, the following documents were provided by and/or on behalf of the
   28   DEFENDANTS to DHS VERDE, and then DHS VERDE and its representatives

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    1   were able to engage in the thorough review and analysis of such documents and
    2   information in an effort to obtain all material information concerning the
    3   Development and DHS VERDE’s then potential purchase of a parcel therein:
    4         - Title Reports related to parcels of land within the Development;
    5         - Various Development-related advertisements provided by and/or
    6             otherwise on behalf of DEFENDANTS, as well as provided by Ms.
    7             Turner/Desert Pacific Properties;
    8         - Various agreements, designs, conditions, orders, and/or plans which
    9             govern the buildout of the Development and the DEFENDANTS’
   10             requisite conduct relating thereto, all which were provided by or on behalf
   11             of the DEFENDANTS to support DHS VERDE’s due diligence efforts
   12             and requests. Such documents include, without limitation, the following:
   13             (i) the Conditions of Approval; (ii) The Specific Plan; (iii) The Final Parcel
   14             Map; (iv) the Development Agreement; (v) the prior Declaration of
   15             Covenants, Conditions and Restrictions related to the Development; and
   16             (vi) The Project Security Plan;
   17         - The Purchaser Responsibility Breakdown, created and provided by
   18             DEFENDANTS, which expressly sets forth all specific financial
   19             obligations and responsibilities that DHS VERDE would be responsible
   20             for in addition to the purchase price of the land in the Development and
   21             buildout of its parcel of land within the Development;
   22         - Seller Vacant Land Questionnaire, dated August 8, 2016, and executed by
   23             DEFENDANT KENNETH on behalf of DEFENDANTS;
   24         - ECOMASTER’S sales solicitations, as a general contractor, regarding the
   25             potential building and construction of the Development and the parcels
   26             therein; and
   27         - Design Requirements and Guidelines for the Development, Dated August
   28             2017, prepared by A& Architects.

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    1         54.    PLAINTIFF DHS VERDE is informed and believes and thereon
    2   alleges that pursuant to the above referenced documents, the DEFENDANTS were
    3   required to construct, implement, and pay for the installation of infrastructure for
    4   the Development, including without limitation, infrastructure relating to electricity,
    5   water, and sewer.
    6         55.    PLAINTIFF DHS VERDE is informed and believes and thereon
    7   alleges that on November 21, 2017, the DEFENDANTS provided all land
    8   purchasers a specific document entitled “Coachillin’ Industrial Cultivation &
    9   Ancillary Canna-Business Park Update” (the “11/21/2017 Update”).                     While
   10   PLAINTIFF DHS VERDE was not actively in escrow with the DEFENDANTS at
   11   the specific time this update was issued, through DHS VERDE’s due diligence
   12   requests, the 11/21/2017 Update was provided by the DEFENDANTS to
   13   PLAINTIFF DHS VERDE as one of the latest informational updates within the
   14   Development in an effort to induce DHS VERDE to purchase property within the
   15   Development. The 11/21/2017 Update specifically states, in pertinent part, that: (i)
   16   all of the electrical infrastructure for Parcel 28 will be completed by the end of 2018;
   17   (ii) the DEFENDANTS have secured agricultural electricity rates (“ag rates”) for
   18   parcel owners to utilize, which were represented by DEFENDANTS as far less
   19   expensive than typical domestic rates; and (iii) the water and sewer infrastructure of
   20   the development will be completed by the DEFENDANTS within sixty (60) days
   21   of the date of the 11/21/2017 Update. As such, the material information set forth
   22   within this 11/21/2017 Update appear to comport with those representations made
   23   by the DEFENDANTS to the representatives of PLAINTIFF DHS VERDE during
   24   their meetings with the DEFENDANTS.
   25         56.    PLAINTIFF DHS VERDE is informed and believes and thereon
   26   alleges that in addition to the 11/21/2017 Update, the DEFENDANTS also provided
   27   PLAINTIFF DHS VERDE with a copy of an update dated January 9, 2018 entitled
   28   “Infrastructure Update and Tentative Scheduling Status” (the “1/09/2018 Update”).

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    1   Pursuant to this 1/09/2018 Update, the DEFENDANTS again expressly represented
    2   that the electrical infrastructure for Parcel 28 would be completed by July 2018, and
    3   all sewer and water related infrastructure would be fully installed and complete no
    4   later than February 2018. As such, the material information set forth within this
    5   1/09/2018 Update not only comported with those representations made by the
    6   DEFENDANTS to the representatives of PLAINTIFF DHS VERDE during their
    7   meetings with DEFENDANT KENNETH as well as the continual representations
    8   within the above-referenced 11/21/2017 Update, but it actually appeared to advance
    9   forward the proffered date that electricity would be available to Parcel 28, which
   10   was significantly material to the PLAINTIFF.
   11         57.    PLAINTIFF DHS VERDE is informed and believes and thereon
   12   alleges that prior to the purchase of its respective parcel of land within the
   13   Development, in addition to the aforementioned due diligence efforts, DHS VERDE
   14   and its authorized representatives also engaged in a number of telephonic
   15   conversations and exchange of e-mail correspondence with the DEFENDANTS in
   16   an effort to obtain absolute clarity and further assurances as to the details of the
   17   Development, the promises being made by the DEFENDANTS, and the respective
   18   obligations of each applicable party.
   19         58.    PLAINTIFF is informed and believes and thereon alleges that it has
   20   recently learned that in or about August 2017, Southern California Edison (“SCE”)
   21   project manager Barbara Bee (now Barbara Rogan) sent an internal e-mail to her
   22   manager about the Development, conceding “there is a limited amount of reserve
   23   left – at approx. 30MW.” Ms. Bee advised her manager that SCE could not “supply
   24   a full scope due to the magnitude of the DEFENDANTS’ project.” Ms. Bee
   25   explained to her manager that SCE needed to expand a substation to energize the
   26   Development and “without licensing, this will be approximately 3 years to
   27   complete” and, if licensing was needed, SCE was “looking at about 7 years to
   28   complete.”

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    1         59.    PLAINTIFF is informed and believes and thereon alleges that it has
    2   also recently learned that in or about October 2017, SCE supervisor, Mr. Jeff Goad,
    3   sent internal e-mail correspondence to Ms. Bee, advising her that he had already
    4   specifically informed DEFENDANT KENNETH of the limited availability of SCE
    5   power for the Development. Additionally, both Mr. Goad and Ms. Bee specifically
    6   informed DEFENDANT KENNETH that SCE could not meet and/or otherwise
    7   satisfy the DEFENDANTS’ electrical power needs at the Development, and that the
    8   electrical power needs of the Development would have to be phased in over an
    9   elongated period of time.
   10         60.    PLAINTIFF is informed and believes and thereon alleges that it has
   11   also recently learned that DEFENDANTS were expressly informed by SCE that it
   12   was impossible to determine even the approximate time that each Parcel within the
   13   Development would be energized and receive electrical power until a Method of
   14   Service (“MOS”) was completed by SCE, and that, as of December 2017, SCE had
   15   expressly notified the DEFENDANTS that SCE had not even commenced
   16   performing the design work for the master conduit, which was a necessary
   17   component for the Parcels within the Development to receive electrical power.
   18         61.    PLAINTIFF is informed and believes and thereon alleges that despite
   19   the DEFENDANTS being knowledgeable that SCE would not be able to deliver
   20   electrical power to the Development for at least three years, DEFENDANT
   21   KENNETH, on behalf of himself and other DEFENDANTS, intentionally, yet
   22   disingenuously, represented to the PLAINTIFF in December 2017 that electrical
   23   power would be delivered to Parcel No. 28 by no later than the end of 2018.
   24         62.    PLAINTIFF is informed and believes and thereon alleges that it has
   25   also recently learned that at all relevant times, DEFENDANT KENNETH was
   26   knowledgeable of the falsity of his promises to the PLAINTIFF that power would
   27   be delivered by the end of 2018, as on or about March 6, 2018, DEFENDANT
   28   KENNETH sent e-mail correspondence to SCE acknowledging that “[W]e still need

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    1   the [MOS] study from SCE and the conduit plan for the project. If the study comes
    2   back with a 2-3 year timeframe for the East ½ of the Project, I want to pursue what
    3   it means to be a Direct Access Customer. I think I can build my own substation in
    4   18 months…” Thus, at the time DEFENDANT KENNETH, on behalf of himself
    5   and the other DEFENDANTS, made representations to the PLAINTIFF about the
    6   delivery of electrical power and the related timing of such, and that it would be
    7   purportedly completed by the end of 2018, he actually knew that such
    8   representations were false and misleading, as power delivery was, at the very
    9   minimum, no less than eighteen (18) months away, which such potential date is no
   10   earlier that mid-way through 2019.
   11         63.    PLAINTIFF is informed and believes and thereon alleges that it has
   12   also recently learned that SCE did not complete the MOS on the Development until
   13   March 8, 2018, approximately one month prior to Plaintiff closing on the purchase
   14   of its parcel within the Development. According to the MOS, the very earliest that
   15   PLAINTIFF’s parcel could have power was June 2020. Despite DEFENDANT
   16   KENNETH’S and the other DEFENDANTS’ knowledge of these material facts,
   17   such material information was never conveyed to the PLAINTIFF, and
   18   DEFENDANTS never corrected and/or amended their prior representations to the
   19   PLAINTIFF as to the time that electrical power would be delivered to Parcel No.
   20   28.
   21         64.    PLAINTIFF is further informed and believes and thereon alleges that
   22   even if electrical power was requested by PLAINTIFF from SCE in 2018, that the
   23   DEFENDANTS had not constructed and/or otherwise installed the appropriate
   24   conduit within the Development until late 2021, and thus, electrical power would
   25   not have even been available until at least six (6) months after such time. To date,
   26   despite DEFENDANTS’ express representations and promises to PLAINTIFF to
   27   the contrary, electrical power has still not been delivered to PLAINTIFF’S Parcel
   28   No. 28 within the Development.

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    1         65.      PLAINTIFF is informed and believes and thereon alleges that in or
    2   about February 2018, DEFENDANTS provided to PLAINTIFF DHS VERDE a
    3   Purchaser Responsibility Breakdown, which sets forth PLAINTIFF DHS VERDE’S
    4   total financial responsibilities, other than the purchase price of the parcel, should it
    5   desire to proceed in purchasing its respective parcel within the Development.
    6   Specifically, for the purposes of this action, the Purchaser Responsibility
    7   Breakdown form, created by the DEFENDANTS and delivered to PLAINTIFF
    8   DHS VERDE expressly sets forth the requisite financial obligations of DHS
    9   VERDE as relates to utilities, including without limitation, those relating to “water,
   10   sewer, irrigation, fire riser.” As to these specific utilities, the DEFENDANTS
   11   expressly represented to the PLAINTIFF that the total additional cost to be borne
   12   by PLAINTIFF DHS VERDE in conjunction with their purchase of land within the
   13   Development was to be $45,000.00.              Additionally, the only other financial
   14   obligation delineated to DHS VERDE in this regard for these specific utilities within
   15   the Purchaser Responsibility Breakdown expressly stated that DHS VERDE would
   16   be responsible for monthly usage bills based upon a usage meter.
   17         66.      PLAINTIFF is informed and believes and thereon alleges that in
   18   addition to all of the aforementioned representations made by the DEFENDANTS
   19   to DHS VERDE and/or its representatives, DEFENDANTS also made the following
   20   express representations to DHS VERDE prior to DHS VERDE’S closing of its
   21   purchase of Parcel 28 within the Development:
   22         - That DEFENDANTS had established beneficial relationships with
   23               Southern California Edison (the electricity provider) (“SCE”), Mission
   24               Springs Water District, the City of Desert Hot Springs, and the Fire
   25               Department responsible for overseeing the Development, which would
   26               thereby allow the purchasers of parcels within the Development an
   27               advantage over others outside of the Development in that they would be
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    1               able to more easily navigate, streamline, and obtain requisite permits and
    2               approvals;
    3         - Infrastructure for the Development was already well underway and would
    4               definitively be fully complete and installed well prior to the time that
    5               PLAINTIFF DHS VERDE would be able to develop land improvements
    6               upon their individual parcel;
    7         - The DEFENDANTS had already negotiated and secured lower
    8               energy/electricity rates, referred to as “agriculture rates” and/or “ag rates,”
    9               which would benefit parcel owners by significantly lessening the cost of
   10               electricity over that which it would otherwise usually be. More
   11               specifically, PLAINTIFF DHS VERDE was told by the DEFENDANTS
   12               that such savings would amount to an approximate fifty percent (50%) cost
   13               reduction when compared to typical domestic power rates; and
   14         - DEFENDANTS acknowledged that the price per square foot of land
   15               within the development being charged by the DEFENDANTS was a
   16               “premium” when compared to other nearby developments; however, the
   17               DEFENDANTS attempted to justify charging such a premium price per
   18               square foot by representing that owners of parcels of land within the
   19               Development would save substantial sums of monies on electrical rates,
   20               costs of infrastructure installation because this was being borne by the
   21               DEFENDANTS, and overall operations due to the inclusiveness of the
   22               Development and its “one of a kind Amenities,” thereby justifying the
   23               overall premium price for the property that the DEFENDANTS were
   24               seeking.
   25         67.      PLAINTIFF DHS VERDE is informed and believes and thereon
   26   alleges that at no time during any of PLAINTIFF DHS VERDE’S efforts to engage
   27   in its due diligence review was it ever represented, in any manner whatsoever, to
   28   PLAINTIFF DHS VERDE by or on behalf of any of the DEFENDANTS that

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    1   PLAINTIFF DHS VERDE would have any responsibility for paying any of the
    2   capital expenditures related to the construction, development, and installation of the
    3   sewer and/or water infrastructure not located within the boundaries of its own parcel
    4   of property within the Development. Rather, to the contrary, pursuant to various
    5   written communications, verbal representations, development related documents,
    6   agreements between the DEFENDANTS and various governmental agencies, and
    7   the like, as set forth within this Complaint, that DEFENDANT COACHILLIN was
    8   expressly and solely responsible for the construction, development, installation, and
    9   payment for all sewer and water related infrastructure costs of the Development.
   10   Thus, based on these numerous material representations by the DEFENDANTS, it
   11   was expressly understood and relied upon by PLAINTIFF DHS VERDE that should
   12   it choose to purchase Parcel 28 within the Development, that DHS VERDE would
   13   not be required to pay or have any responsibly for payment of any undisclosed
   14   monetary amounts related to or for the construction, development, and/or
   15   installation of any common infrastructure within the Development, but rather,
   16   PLAINTIFF DHS VERDE would be financially responsible solely for the costs of
   17   the infrastructure specifically located within their own unique property boundaries,
   18   as is also exemplified, in part, by the Purchaser Responsibility Breakdown
   19   document created by the DEFENDANTS, as applies to Parcel No. 28.
   20         68.    PLAINTIFF DHS VERDE is informed and believes and thereon
   21   alleges that based upon all of the foregoing and in reliance thereto, on or about
   22   January 23, 2018, a written Vacant Land Purchase Agreement and Joint Escrow
   23   Instructions was entered into for the benefit of PLAINTIFF DHS VERDE and
   24   agreed upon by KENNETH on behalf of DEFENDANT COACHILLIN (the “Parcel
   25   28 PSA”).
   26         69.    PLAINTIFF DHS VERDE is informed and believes and thereon
   27   alleges that pursuant to the express terms of the Parcel 28 PSA, PLAINTIFF DHS
   28   VERDE agreed to purchase Parcel 28 of the Development for a total purchase price

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    1   of One Million Three Hundred Fifty-Two Thousand Five Hundred Thirty-Eight
    2   United States Dollars and 00/100 ($1,352,538.00). Pursuant to the express language
    3   of the written Parcel 28 PSA, PLAINTIFF DHS VERDE and DEFENDANTS
    4   agreed, in pertinent part:
    5         - “The lot to be purchased by Buyer…shall have electricity, domestic water,
    6             sewer, cable, and gas stubbed in to but not on the site, and a paved road
    7             from the main entry and mass graded pad.”
    8         - Seller is to provide the Buyer with a copy of all requisite Bylaws, CC&R’s,
    9             & Design Guidelines.
   10         - The purchase of the property was “subject to commercial covenants,
   11             conditions and restrictions, a property owners association, [and] shall
   12             contain common areas and shall be further subject to a Specific Plan
   13             approved by Desert Hot Springs and all applicable laws, rules,
   14             regulations of Desert Hot Springs and other governmental entities having
   15             jurisdiction thereof.”
   16         - The Seller “strongly encouraged [the Buyer] to examine a Preliminary
   17             Title Report and to review Development Agreement, Bylaws, CC&R’s, any
   18             easements and public right-of-ways that may affect subject property.”
   19         - Pursuant to Section 9.C. of the Parcel 28 PSA, that no “other costs” not
   20             expressly delineated therein would be the responsibility of PLAINTIFF
   21             DHS VERDE. Notably, within said Section, the Seller did not delineate
   22             any additional costs that PLAINTIFF DHS VERDE would be responsible
   23             for, including without limitation, the payment for any of the
   24             Development’s common infrastructure and/or other capital expenditures.
   25         - “In the event Seller, prior to Close Of Escrow, becomes aware of adverse
   26             conditions materially affecting the Property, or any material inaccuracy
   27             in disclosures, information or representations previously provided to
   28             Buyer of which Buyer is otherwise unaware, Seller shall promptly provide

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    1               a subsequent or amended disclosure or notice, in writing, covering those
    2               items.” Notably, in light of the foregoing, no such additional written
    3               disclosures or notices were ever provided to PLAINTIFF DHS VERDE
    4               by or on behalf of any of the DEFENDANTS.
    5         - “Seller shall…DISCLOSE KNOWN MATERIAL FACTS…affecting the
    6               Property…and make any and all disclosures required by law.” Notably,
    7               in light of the foregoing, no such additional disclosures were ever provided
    8               to PLAINTIFF DHS VERDE by or on behalf of any of the
    9               DEFENDANTS.
   10         70.      PLAINTIFF DHS VERDE is informed and believes and thereon
   11   alleges that the aforementioned representations were consistent with the other
   12   representations made to members of PLAINTIFF DHS VERDE by DEFENDANTS
   13   prior to PLAINTIFF DHS VERDE entering into the Lot 28 PSA and closing on the
   14   purchase thereto, all as set forth herein.
   15         71.      PLAINTIFF DHS VERDE is informed and believes and thereon
   16   alleges that in late 2017, PLAINTIFF DHS VERDE and its representatives,
   17   including without limitation, Mr. Dan Zaharoni, Mr. Kintu Patel, Mr. Jayson
   18   Quinones, Mr. David Moss and Mr. Brad Watson, conducted an in-person meeting
   19   and site tour of the Development with Ms. Turner. It was during this time with Ms.
   20   Turner that she expressly represented to PLAINTIFF DHS VERDE, on behalf of
   21   the DEFENDANTS, that the Development was being developed as a full-service
   22   cannabis business park that had various lots for sale, and that it had a complete list
   23   of infrastructure that it was able to offer purchasers of the property, including
   24   without limitation, electrical power, sewer, security, and on-site disposal of cannabis
   25   waste. At no time during this meeting did Ms. Turner ever convey that there were
   26   potential issues with the possibility of being able to receive any of the utilities as
   27   she was otherwise representing would be available, nor did Ms. Turner mention that
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    1   she was actively engaged in discussions with DEFENDANT KENNETH about
    2   these very same issues related to the potential inability of receiving such utilities.
    3         72.    Accordingly, given all of the foregoing, PLAINTIFF is informed and
    4   believes and thereon alleges that DEFENDANTS, as the developers of the
    5   Development, are and were completely and exclusively responsible for all costs
    6   associated with the initial common infrastructure and any and all common areas at
    7   the Development. PLAINTIFF DHS VERDE’S sole responsibility was for the
    8   costs associated with the infrastructure within its individual lot boundary lines of
    9   the property that it purchased, respectively, which has already been paid for by the
   10   PLAINTIFF.        Despite the foregoing, DEFENDANTS now seek to hold
   11   PLAINTIFF responsible and liable for substantial additional costs and expenses,
   12   including those costs and expenses relating to the construction of the initial
   13   common      infrastructure,    costs    incurred    by    COACHILLIN,          ENERGY,
   14   ECOMASTER, KENNETH, and WILLIAM unrelated to the PLAINTIFF’S lot,
   15   and DEFENDANTS are seeking to shift their overall responsibility and obligations,
   16   whether financial or otherwise to the PLAINTIFF, all in violation of written
   17   agreements, verbal representations, and documents filed with various governmental
   18   agencies, amongst others.
   19         73.    PLAINTIFF is informed and believes and thereon alleges that
   20   DEFENDANTS           COACHILLIN,         ENERGY,         ECOMASTER,          KENNETH,
   21   WILLIAM, and KATHERINE have engaged in a pattern and practice of despicable
   22   conduct whereby they have demanded and continue to demand additional monies
   23   to be paid by the PLAINTIFF, which was never agreed upon by the PLAINTIFF,
   24   all because DEFENDANT COACHILLIN’S “lender,” DEFENDANT WILLIAM,
   25   who is also a Managing Member of DEFENDANTS COACHILLIN and
   26   ENERGY, was becoming increasingly reluctant to continue funding the
   27   Development by approximately mid-2018.
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    1         74.    PLAINTIFF is informed and believes and thereon alleges that
    2   DEFENDANTS           COACHILLIN,         ENERGY,         ECOMASTER,          KENNETH,
    3   KIRSTEN, KATHERINE, WILLIAM, and/or MICHAEL have no rightful
    4   authority or legal or factual basis to charge, demand collection of, threaten in an
    5   effort to collect, or collect any of these additional monies from the PLAINTIFF that
    6   they have been and are continuing to attempt to collect. Despite the foregoing,
    7   DEFENDANTS           COACHILLIN,         ENERGY,         ECOMASTER,          KENNETH,
    8   KATHERINE, and additional individuals on behalf of such DEFENDANTS have
    9   sent impermissible invoices, demand letters, and other correspondence to
   10   PLAINTIFF seeking collection of monies that they are not actually entitled to.
   11   PLAINTIFF DHS VERDE has notified such DEFENDANTS with respect to these
   12   spurious charges and invoices, indicating that PLAINTIFF never had and still has
   13   no obligation, whatsoever, to pay them. However, DEFENDANTS in their typical
   14   defiant manner, continue to pursue these baseless charges.
   15         75.    PLAINTIFF is informed and believes and thereon alleges that, as is
   16   set forth herein, the foregoing actions by the DEFENDANTS have been made
   17   possible as DEFENDANTS COACHILLIN, ENERGY, and ECOMASTER are
   18   fully operated, dominated, and controlled by DEFENDANTS KENNETH and
   19   WILLIAM. In addition to KENNETH, he has other family members involved,
   20   including his wife DEFENDANT KIRSTEN, his daughter DEFENDANT
   21   KATHERINE, and his son DEFENDANT MICHAEL, who all follow
   22   DEFENDANT KENNETH’S and DEFENDANT WILLAM’S directives, and
   23   consistently use DEFENDANTS COACHILLIN, ENERGY, and ECOMASTER
   24   as sham entities to do their bidding and pay for his and each other’s obligations,
   25   whether financial or otherwise. This scheme is further complicated by the fact that
   26   DEFENDANTS COACHILLIN, KENNETH, KIRSTEN, KATHERINE, and
   27   additional individuals on each of their behalves, demand that PLAINTIFF generally
   28   pay unlawful markups of fees and costs to DEFENDANT ECOMASTER, as such

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    1   causes significant issues as relates to conflicts of interest, self-dealing,
    2   commingling, and alter-ego as relates to DEFENDANTS COACHILLIN,
    3   ENERGY, ECOMASTER, KENNETH, WILLIAM, KIRSTEN, KATHERINE,
    4   and MICHAEL.
    5         76.    Coincidentally, the address for DEFENDANT COACHILLIN is 71-
    6   713 Highway 111, Rancho Mirage, CA 92270. This is the exact same address
    7   utilized for DEFENDANTS ENERGY and ECOMASTER.                                Accordingly,
    8   DEFENDANTS COACHILLIN, KENNETH, and WILLIAM have utilized each
    9   other and each of the entities as a mechanism to unlawfully collect additional funds
   10   from the PLAINTIFF, as despite representations to the contrary by the
   11   DEFENDANTS, the Development was woefully underfunded compared to what
   12   was actually needed by the DEFENDANTS to fulfill all of the promises and
   13   representations that they made in order to sell property at the Development. The
   14   DEFENDANTS have used and continue to use PLAINTIFF’S monies improperly
   15   and for their own personal and financial gain, all while shirking their
   16   responsibilities to the PLAINTIFF, to company governance to the Defendant
   17   Companies, as each and every one of the DEFENDANTS are part and parcel of the
   18   partnership, agency, conspiracy, and criminal enterprise with each other to
   19   unlawfully squeeze PLAINTIFF and other lot owners out of money to the benefit
   20   of the DEFENDANTS, and each of them.
   21         77.    Following the closing of the purchase of the PLAINTIFF’S respective
   22   parcel within the Development, PLAINTIFF DHS VERDE engaged in significant
   23   efforts and expended significant monies to build out and construct various land
   24   improvements upon and within its respective parcel. For the purposes of this action,
   25   such various improvements include without limitation, the sewage-related
   26   infrastructure components that needed to be constructed within the PLAINTIFF’S
   27   respective parcel boundary lines, which upon construction have each been
   28   connected    to    the   Development’s       common/main         infrastructure    by    the

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    1   DEFENDANTS via each parcels’ respective utility stub-ins. Specifically, when
    2   installing,    constructing,    and/or     connecting       such     infrastructure-related
    3   improvements, PLAINTIFF retained the contracting services of their own
    4   independent contractor, who thereafter provided and/or facilitated all such
    5   applicable services.     Notably, because PLAINTIFF chose not to use and/or
    6   otherwise retain the services of ECOMASTER to facilitate such construction
    7   efforts, DEFENDANTS KENNETH and ECOMASTER forced PLAINTIFF into
    8   paying the DEDENDANTS no less than Twenty-Five Thousand Dollars
    9   ($25,000.00) to re-review the plans that had already been vetted by the
   10   PLAINTIFF’S own licensed contractor, despite such endeavor being completely
   11   unnecessary.
   12          78.    As is already set forth herein, PLAINTIFF is informed and believes
   13   and thereon alleges that in furtherance of the PLAINTIFF’S purchase of its parcel
   14   of land within the Development, it was specifically represented and promised by the
   15   DEFENDANTS that DEFENDANT COACHILLIN would be fully responsible for
   16   providing and paying for the development, construction, and installation of an
   17   onsite, interim septic sewage system to be utilized by each of the parcel owners
   18   within the Development for the disposal of their respective domestic waste until
   19   such time that Mission Springs Water District (“MSWD”) – the local public water
   20   and sewage utility provider, was able to come online with a permanent sewage
   21   solution for the Development.
   22          79.    PLAINTIFF is informed and believes and thereon alleges that despite
   23   all of the above-referenced specific representations and promises being made by the
   24   DEFENDANTS to the PLAINTIFF prior to the purchase of their respective parcel
   25   of land within the Development, all of which were material representations which
   26   induced the PLAINTIFF to purchase its respective parcel of land, to date, the
   27   DEFENDANTS have not only failed to construct and/or otherwise provide access
   28   to any such onsite, interim septic sewage system, but rather, PLAINTIFF is

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    1   informed and believes and thereon alleges that the DEFENDANTS have even
    2   confirmed both verbally and in writing that the DEFENDANTS did not and
    3   hereinafter do not even intend on constructing such onsite, interim septic sewage
    4   system to service the Development. Specifically, PLAINTIFF is informed and
    5   believes and thereon alleges that DEFENDANT KENNETH, on behalf of himself
    6   and other DEFENDANTS, as expressly represented to other lot owners, in writing,
    7   that “Coachillin WILL NOT be providing an onsite interim solution…”
    8         80.    PLAINTIFF is informed and believes and thereon alleges that in or
    9   about October 27, 2021, DAVID LEE, on behalf of DEFENDANTS, sent to
   10   PLAINTIFF a proposed Offsite Wastewater Treatment & Disposal Connection
   11   Agreement, which was in the name of one of its alter-egos, DEFENDANT
   12   ENERGY (the “Offsite Sewage Agreement”). Pursuant to the express terms and
   13   representations    set   forth   within    said    Offsite   Sewage      Agreement,      the
   14   DEFENDANTS attempted to represent to the PLAINTIFF that DEFENDANT
   15   ENERGY “currently operates and maintains an Offsite Wastewater Treatment and
   16   Disposal System (OWTDS) adjacent to the Coachillin’ Business Park (the “Park”).
   17   The OWTDS is authorized and permitted by the California Regional Water Quality
   18   Control Board, Colorado River Basin Region (Regional Board) by Order R7-2020-
   19   0029, WDID 7A331366001…”               Moreover, pursuant to such Offsite Sewage
   20   Agreement, the DEFENDANTS are attempting to cause the PLAINTIFF to agree
   21   to pay to DEFENDANT ENGERGY an additional amount of $104,180.00, which
   22   comprises of an unsubstantiated “connection fee” in the amount of $84,180.00 as
   23   well as an additional unreasonable and baseless $20,000.00 “security deposit.”
   24   Coincidentally enough, as is delineated in Paragraph Nos. 132-136 of this
   25   Complaint, DEFENDANTS have received the 4/25/2022 Notice of Violation which,
   26   in part, delineates that DEFENDANTS have violated Order R7-2020-0029 by,
   27   amongst other things, attempting to build the OWTDS in a location that was never
   28   authorized under such Order.

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    1         81.    PLAINTIFF is informed and believes and thereon alleges that within
    2   the Offsite Sewage Agreement, not only does DEFENDANT ENERGY attempt to
    3   charge the PLAINTIFF the aforementioned monetary amounts for additional
    4   connection fees for sewage lines that the DEFENDANTS have already been paid
    5   for and have already been connected, but this Offsite Sewage Agreement attempts
    6   to strongarm PLAINTIFF into granting the DEFENDANTS a variety of easements
    7   and other property rights over the PLAINTIFF’S parcel of land, which were never
    8   disclosed and/or otherwise previously contemplated or agreed to by the
    9   PLAINTIFF. Moreover, such Offsite Sewage Agreement does not even attempt to
   10   disclose what the actual usage fees are to be charged to the PLAINTIFF or any other
   11   property owner within the Development, should they ever be willing to enter into
   12   such egregious Offsite Sewage Agreement. In furtherance of such, PLAINTIFF and
   13   other similarly situated property owners have even requested, on a number of
   14   occasions, specific information related to the actual ongoing usage fees that
   15   DEFENDANT ENERGY intends to charge the PLAINTIFF, should the
   16   PLAINTIFF ever agree to such Offsite Sewage Agreement. Despite such efforts by
   17   the PLAINTIFF, the DEFENDANTS have absolutely refused to provide the
   18   PLAINTIFF or any other similarly situated property owners within the
   19   Development with any such requested information. Instead, DEFENDANTS have
   20   recently informed parcel owners within the Development that the DEFENDANTS
   21   intend to charge, on a monthly basis, approximately $65,094.00, which consists of
   22   charges for the DEFENDANTS’ “Labor,” “Fuel,” “Maintenance,” “Permits,” and
   23   “Compliance and Reporting,” all of which were never previously disclosed to and/or
   24   agreed upon by the PLAINTIFF and the respective DEFENDANTS. Moreover,
   25   the purported monthly charge of $65,094.00 was identified only as an “estimate,”
   26   so PLAINTIFF remains completely unaware of what any actual usage rates for use
   27   of the sewage system would be. Furthermore, not only does such purported monthly
   28   fees significantly exceed the total applicable fees set forth within PLAINTIFF’S

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    1   Purchaser Responsibility Breakdown, but such purported monthly fees are not even
    2   related to “metered use” of an onsite interim septic system, which is what the
    3   PLAINTIFF was ready and willing to use. As such, the DEFENDANTS have and
    4   continue to demand that the PLAINTIFF foregoes significant land rights, and enter
    5   into the Offsite Sewage Agreement, despite DEFENDANTS failing to provide it
    6   with any actual usage rates, thereby effectively causing PLAINTIFF to sign a “blank
    7   check” over to the DEFENDANTS.
    8         82.    PLAINTIFF is informed and believes and thereon alleges that such
    9   Offsite Wastewater Treatment and Disposal System, which according to the
   10   DEFENDANTS, is owned and operated by DEFENDANT ENERGY, is the sole
   11   and only sewage treatment and disposal system which has been constructed by any
   12   of the DEFENDANTS to service the Development.                       Thus, not only has
   13   DEFENDANT COACHILLIN failed to install and/or otherwise provide even a
   14   single sewage treatment system for the Development as it was contractually required
   15   to do, but the DEFENDANTS now are attempting to force and coerce the
   16   PLAINTIFF into utilizing DEFENDANT ENERGY’S sole “offsite” sewage
   17   treatment system, which directly contradicts those material representations made by
   18   the DEFENDANTS to the PLAINTIFF when inducing the PLAINTIFF to purchase
   19   its parcel of land within the Development, as is set forth herein, as well as those
   20   construction and development requirements imposed upon the DEFENDANTS, as
   21   are set forth within the Development-related documents, which are also set forth
   22   herein.
   23         83.    PLAINTIFF is informed and believes and thereon alleges that due to
   24   DEFENDANT COACHILLIN’S complete failure to ever provide any type of
   25   sewage treatment system for the Development, whatsoever, the DEFENDANTS
   26   have now intentionally created a scenario whereby the PLAINTIFF is either forced
   27   to agree to DEFENDANT ENERGY’S “take it or leave it” egregious Offsite
   28   Sewage Agreement and related costs, or are left without any viable sewage option,

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    1   as was otherwise contracted for by the PLAINTIFF when purchasing its Parcel
    2   within the Development.
    3         84.    PLAINTIFF is informed and believes and thereon alleges that the
    4   DEFENDANTS are attempting to force the PLAINTIFF to use the DEFENDANTS
    5   offsite sewage system and pay all such extraordinary fees and costs required
    6   therewith in an effort to cause the PLAINTIFF to reimburse the DEFENDANTS for
    7   costs previously expended by them in the development, construction, and
    8   installation of the common infrastructure within the Development, despite the above
    9   referenced documents and other representations mandating that the DEFENDANTS
   10   be solely liable for all such common infrastructure costs.
   11         85.    PLAINTIFF is informed and believes and thereon alleges that during a
   12   recent telephonic meeting of the POA on February 8, 2022, that DEFENDANT
   13   KENNETH expressly asserted that if the parcel owners will not agree to use the
   14   offsite sewage system and pay the egregious fees that are being demanded by
   15   DEFENDANTS, that the DEFENDANTS will still obtain monies from other parcel
   16   owners, including the PLAINTIFF, through other means including, without
   17   limitation, special assessments.
   18         86.    PLAINTIFF is informed and believes and thereon alleges that the
   19   DEFENDANTS are acting exactly like a public utility through their actions, despite
   20   attempting to disingenuously represent and assert within the Offsite Sewage
   21   Agreement that they are “not a public or private utility,” all in a rather apparent
   22   effort to avoid the requirements imposed upon utility companies through applicable
   23   California law.
   24         87.    PLAINTIFF is informed and believes and thereon alleges that the
   25   Offsite Wastewater Treatment and Disposal System, which is being operated by
   26   DEFENDANT ENERGY, and being forced upon the PLAINTIFF despite
   27   DEFENDANT COACHILLIN never providing the requisite interim onsite septic
   28   sewage system, is not even properly and fully permitted by all necessary

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    1   governmental agencies, and thus, cannot even be legally operated by any of the
    2   DEFENDANTS as they are otherwise doing.
    3         88.    PLAINTIFF is informed and believes and thereon alleges that pursuant
    4   to the terms of the Offsite Sewage Agreement, said Offsite Wastewater Treatment
    5   and Disposal System was supposedly developed, constructed, and installed by
    6   DEFENDANT ENERGY pursuant to CRWQCB Order No. R7-2020-0029. For the
    7   purposes of this action, as is set forth above, despite DEFENDANT COACHILLIN
    8   being the actual Permit Holder with the CRWQCB for an “onsite wastewater
    9   treatment and disposal system” under CRWQCB Order No. R7-2020-0029 (even
   10   though DEFENDANT COACHILLIN never built any onsite system in accordance
   11   with said Permit), DEFENDANT ENERGY has since intentionally, disingenuously,
   12   and continuously misrepresented to the PLAINTIFF, in writing, that DEFENDANT
   13   ENERGY (and not DEFENDANT COACHILLIN) is actually the current holder of
   14   the Permit with the CRWQCB and that such Permit is now somehow for an “offsite
   15   wastewater treatment and disposal system” under the very same CRWQCB Order
   16   No. R7-2020-0029. Despite the foregoing misrepresentations being made by the
   17   DEFENDANTS, PLAINTIFF is informed and believes, and on that basis, alleges
   18   that to date, no such Permit under CRWQCB Order No. R7-2020-0029 has ever
   19   been issued to any of the DEFENDANTS for an “offsite” system, nor has ENERGY
   20   ever been issued any permit or order by the CRWQCB, nor have any of the
   21   DEFENDANTS been issued any permit which would allow any of them the right to
   22   construct and/or operate their “offsite sewage system” in its present location, which
   23   is apparently upon land that is not even owned by any of the DEFENDANTS.
   24   PLAINTIFF is informed and believes and thereon alleges that DEFENDANTS have
   25   engaged in the aforementioned actions and tactics all so that the DEFENDANTS
   26   could reap significant additional monetary benefits that they were not otherwise
   27   entitled to, all to the PLAINTIFF’S significant detriment.
   28   ///

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    1         89.    PLAINTIFF is informed and believes and thereon alleges that in
    2   furtherance of the above-referenced material misrepresentations being made by the
    3   DEFENDANTS as relating to the construction of an onsite interim sewage septic
    4   system that was to be provided for the parcel owners’ use, including that of the
    5   PLAINTIFF,        DEFENDANTS            COACHILLIN,           KENNETH,          KIRSTEN,
    6   KATHERINE, and MICHAEL made various additional representations, as is set
    7   forth within this Complaint, not only to the PLAINTIFF, but also to the City,
    8   MSWD, and the California Regional Water Quality Control Board (“CRWQCB”),
    9   as to the construction of the Development and the related onsite interim septic
   10   system, costs to be borne by the DEFENDANTS, infrastructure work within and
   11   related to the Development, and other costs related thereto. Such representations
   12   were not only discussed time and time again between the respective parties, but they
   13   were also codified within various documents pertaining to the approved construction
   14   efforts of the Development which were filed and recorded with the City of Desert
   15   Hot Springs, County of Riverside, and the CRWQCB, all which have previously
   16   been set forth within this Complaint.
   17         90.    PLAINTIFF is informed and believes and thereon alleges that as is
   18   aptly demonstrated by and through the excerpts from the above-referenced
   19   documents, the Development was and continues to be required to have an ONSITE
   20   “interim septic system” provided by, operated by, and paid for by DEFENDANT
   21   COACHILLIN for use by the PLAINTIFF and all of the parcel owners within the
   22   Development, until such time that MSWD’s permanent sewage treatment plant was
   23   able to come online and service the Development.
   24         91.    PLAINTIFF is informed and believes and thereon alleges that despite
   25   all of the above-referenced requirements being imposed, to date, NO ONSITE
   26   INTERIM SEPTIC SYSTEM HAS EVER BEEN BUILT, nor has construction
   27   ever even began on any such onsite sewage system, despite significant
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    1   representations by DEFENDANTS COACHILLIN, KENNETH, KATHERINE,
    2   KIRSTEN, and MICHAEL to the contrary.
    3         92.    PLAINTIFF is informed and believes and thereon alleges that
    4   DEFENDANTS COACHILLIN, KENNETH, KIRSTEN, KATHERINE, and
    5   MICHAEL have previously expressly misrepresented to both Officials of the City
    6   as well as to MSWD that the parcel owners within the Development, including the
    7   PLAINTIFF, actually desired a “privatized sewage treatment facility” to service the
    8   Development, and thus, no longer desired MSWD to engage in any further actions
    9   to provide its public utility services, all of which is patently untrue and a grave
   10   misrepresentation of the parcel owners’ actual desires. A material inducement to
   11   the PLAINTIFF purchasing its parcel of land within the Development was that all
   12   domestic water and sewage provisions ultimately be provided to the PLAINTIFF by
   13   MSWD, which was and still remains the case to this day, despite DEFENDANTS’
   14   intentional attempts to deceive the City and MSWD to believe otherwise.
   15         93.    PLAINTIFF is informed and believes and thereon alleges that
   16   throughout the pendency of the aforementioned actions, DEFENDANTS
   17   KENNETH and WILLIAM, on behalf of themselves and all other DEFENDANTS,
   18   consistently worked with each other to conspire, scheme, and devise a plan to
   19   unlawfully cause the PLAINTIFF to ultimately be financially responsible for the
   20   capital expenditures related to the common infrastructure of the Development that
   21   the DEFENDANTS were otherwise legally and contractually responsible for, as is
   22   set forth herein.
   23         94.    PLAINTIFF is informed and believes and thereon alleges that in
   24   summation as to the sewage infrastructure that was to be developed, constructed,
   25   installed, and paid for by the DEFENDANTS, instead of building an onsite interim
   26   septic system as was continually promised to the PLAINTIFF and all of the property
   27   owners within the Development, all of which was a material inducement for the
   28   PLAINTIFF to purchase its respective parcel of land within the Development, as

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    1   well as to the City, MSWD, and the CRWQCB each approving the DEFENDANTS’
    2   respective permits, plans, orders, agreements, and/or the like, DEFENDANTS
    3   COACHILLIN, ENERGY, KENNETH, WILLIAM, KIRSTEN, KATHERINE,
    4   and MICHAEL each believed they could unilaterally violate their permits, breach
    5   their contracts, and create a privatized, for-profit offsite sewage system, all while
    6   completely shirking their contractual, legal, and financial obligation to provide an
    7   onsite interim septic system.         As a result, DEFENDANTS COACHILLIN,
    8   ENERGY, KENNETH, WILLIAM, KIRSTEN, KATHERINE, and MICHAEL
    9   have now attempted to build a permanent but non-permitted off-site septic system,
   10   on land which is not even owned by DEFENDANT COACHILLIN, but is
   11   apparently upon land currently owned by one of DEFENDANT WILLIAM’S other
   12   business    entities,     whereby    DEFENDANTS            COACHILLIN,          ENERGY,
   13   KENNETH, WILLIAM, KATHERINE, KIRSTEN, MICHAEL, and their
   14   respective representatives are now demanding and threatening all of the current
   15   parcel owners, including the PLAINTIFF, to utilize such off-site system, all while
   16   trying to force each parcel owner, including the PLAINTIFF into entering into an
   17   egregious adhesion Offsite Sewage Agreement for the use of such off-site septic
   18   system while also refusing to provide any of the current parcel owners with the
   19   requisite information relating to the potential pricing and/or costs to be charged for
   20   their applicable metered use. Moreover, due to the fact that the DEFENDANTS
   21   never actually constructed an onsite septic / sewage system which could be utilized
   22   by the PLAINTIFF, DEFENDANTS have now engaged in various “strong-arm”
   23   tactics in an effort to threaten and force the PLAINTIFF into using the only sewage
   24   system currently available, which is DEFENDANTS for-profit, offsite, unpermitted
   25   sewage system.          Thus, despite all of the written obligations, promises, and
   26   representations of the DEFENDANTS, as are set forth herein and all of which
   27   induced the PLAINTIFF to purchase its parcel of land in the Development and was
   28   a material basis for the City’s approval of the Development as well as the

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    1   CRWQCB’s issuance of the Permit, the DEFENDANTS’ present position, as
    2   conveyed in writing by DEFENDANT KENNETH to another parcel owner within
    3   the Development makes it readily apparent, neither he nor any of the
    4   DEFENDANTS intended to, nor ever will, adhere to those obligations and promises
    5   and actually facilitate any interim onsite septic sewage system within the
    6   Development.
    7         95.    PLAINTIFF is informed and believes and thereon alleges that from
    8   July 28, 2016 to January 9, 2018, DEFENDANTS created and distributed numerous
    9   “project updates” in which the progress of the construction infrastructure and other
   10   issues of the Development were addressed.               While these updates included
   11   representations as to when specific aspects of the Development’s infrastructure and
   12   Amenities would be completed, for the purpose of this action, it is notable that these
   13   updates failed to disclose that the Development’s infrastructure, including without
   14   limitation that which pertains to electricity, sewage, and water, would not and could
   15   not be completed anywhere close to the timelines that were previously expressly
   16   represented to the PLAINTIFF, both verbally and in writing. Moreover, at no point
   17   in any of these updates did the DEFENDANTS ever inform the PLAINTIFF of the
   18   DEFENDANTS’ intention to require the PLAINTIFF to pay for any of the
   19   Development’s infrastructure projects. At no point in any of these updates did
   20   DEFENDANTS ever inform the PLAINTIFF that there were unforeseen additional
   21   costs and expenses that the DEFENDANTS were going to attempt to burden-shift
   22   to the PLAINTIFF and thereafter require to be paid by the PLAINTIFF.
   23         96.    Despite the PLANTIFF’S understanding that its parcel of land would
   24   be improved with utilities stubbed-in, including without limitation, the sewage lines
   25   and electricity, DEFENDANTS have completely failed to adhere to such
   26   obligations, and DEFENDANTS COACHILLIN, ENERGY, KENNETH,
   27   WILLIAM, ECOMASTER, KIRSTEN, KATHERINE, and MICHAEL have
   28   schemed to create a system where they can unilaterally threaten and force the

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    1   PLAINTIFF in an attempt to recover the monies the DEFENDANTS themselves
    2   were legally obligated to dedicate to and spend on the development of a sewage
    3   system, other utilities, and/or Amenities that were and continue to need to be part of
    4   the Development. Unfortunately for the PLAINTIFF and other parcel owners
    5   within the Development, the DEFENDANTS have not only failed to fulfill these
    6   obligations, but rather, have disingenuously, unlawfully, and deceptively attempted
    7   to now shift these burdens to the PLAINTIFF and other lot owners within the
    8   Development.
    9         97.    PLAINTIFF is informed and believes and thereon alleges that upon the
   10   DEFENDANTS completion of the development, construction, and installation of
   11   the common areas of the Development, DEFENDANTS are required to transfer and
   12   assign all rights, title, and interest thereto to the POA, at which time the POA would
   13   then assume the obligation for the maintenance and upkeep thereof.
   14         98.    PLAINTIFF is informed and believes and thereon alleges that in or
   15   about November 2021, DEFENDANTS KENNETH, KATHERINE, KIRSTEN,
   16   MICHAEL, and WILLIAM commenced its attempts to unilaterally cause
   17   DEFENDANT POA to amend its present CC&R’s, which otherwise govern the
   18   rights and interests of the property owners within the Development, to the primary
   19   benefit of the DEFENDANTS and to the extreme detriment of the property owners
   20   within the Development, including the PLAINTIFF.                        Specifically, the
   21   DEFENDANTS have unilaterally attempted to amend the present CC&R’s in an
   22   effort to: (i) cause and/or otherwise allow DEFENDANT COACHILLIN to
   23   unlawfully gain additional control over the Development and the POA by
   24   attempting to implement a “water mutual,” whereby the parcel owners would be
   25   allocated one vote per parcel owned, which would otherwise usurp the presently
   26   held rights of the other parcel owners; (ii) cause and/or otherwise allow
   27   DEFENDANT COACHILLIN to negate its prior contractual obligations owed to
   28   each parcel owner, the City, and MSWD with respect to the utilities and related

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    1   infrastructure, as such contractual obligations are already delineated within this
    2   Complaint, as well as those obligations imposed upon COACHILLIN pursuant to
    3   the various above-refenced Development-related permits, orders, agreements, and
    4   documents; and (iii) now attempt to recapture and/or otherwise be reimbursed by all
    5   such property owners the entirety of all such monies that the DEFENDANTS
    6   previously expended in an effort to develop, construct, and install such common
    7   infrastructure within the Development (including “the cost of acquisition,
    8   construction and maintenance of the assets through the collection of connection fees
    9   and assessments. The “cost of construction and maintenance” of the assets by the
   10   Declarant shall include the actual cost of design, permitting and construction of the
   11   assets, including Declarant’s financing and carrying costs for the assets”), which
   12   was and continues to be the DEFENDANTS’ sole and absolute responsibility,
   13   whether financial or otherwise, as well as an additional substantial ten percent (10%)
   14   “markup” to cover the DEFENDANTS “administrative costs and the costs of
   15   construction management.”         All such aforementioned costs and markups were
   16   never agreed to be paid and/or reimbursed by the PLAINTIFF, and in fact, such
   17   efforts by the DEFENDANTS are in direct contradiction to those promises,
   18   representations, and contractual obligations that exist between the parties.
   19         99.    PLAINTIFF is informed and believes and thereon alleges that in
   20   addition to the aforementioned despicable actions of the DEFENDANTS, through
   21   the DEFENDANTS’ unilaterally attempted amendments to the CC&R’s, the
   22   DEFENDANTS are also seeking to negate the DEFENDANTS’ obligation to assign
   23   and transfer all rights and interests of the water and sewage infrastructure within the
   24   Development to MSWD, all in a rather apparent concerted effort to cause each of
   25   the property owners, including the PLAINTIFF, to be forced into using the
   26   DEFENDANTS’ privatized, yet inferior, offsite sewage treatment system, all so the
   27   DEFENDANTS can reap significant additional financial benefits, to the extreme
   28   detriment of the PLAINTIFF.

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    1         100. PLAINTIFF is informed and believes and thereon alleges that due, in
    2   part, to the undeniable conflicts of interest, which were brought to the attention of
    3   the DEFENDANTS and all other parcel owners with respect to the proposed
    4   amendment to the CC&R’s, on or about December 22, 2021, the PLAINTIFF, as
    5   well as various other property owners, had each vehemently objected to the
    6   DEFENDANTS’ unilateral efforts to amend the CC&R’s and create a water mutual.
    7   In furtherance of these objections, nearly every other parcel owner within the
    8   Development, with the exception of the DEFENDANTS, fully concurred with such
    9   objections and opposed DEFENDANTS’ unilateral efforts to: (i) form a water
   10   mutual; (ii) amend the CC&R’s; and (iii) vote on such topic due to the
   11   DEFENDANTS’ inherent conflicts of interest due to self-dealing and their financial
   12   benefit as a result of such amendment. Additionally, a number of those responding
   13   to the DEFENDANTS’ efforts to amend the CC&R’s also inquired whether such
   14   unilateral amendments to the CC&R’s had been drafted and approved by legal
   15   counsel for the POA, and if so, if such legal counsel had ever been made aware that
   16   such amendment would effectively negate a significant number of the
   17   DEFENDANTS’ contractual obligations to the property owners, the City, and
   18   MSWD, all to the significant benefit of the DEFENDANTS and the extreme
   19   detriment of the property owners, including without limitation, the PLAINTIFF.
   20         101. PLAINTIFF is informed and believes and thereon alleges that in
   21   response to such objections being made by the property owners, not only did the
   22   DEFENDANTS first attempt to defame the property owners making such
   23   objections, but they also had the audacity to unilaterally assert that their extremely
   24   beneficial and undeniable financial interest in unilaterally seeking such amendment
   25   to the CC&R’s, despite all other property owners strenuously objecting to such
   26   amendment and formation of an unwanted water mutual, somehow did not
   27   constitute either self-dealing or a conflict of interest, and that the DEFENDANTS
   28   would continue pushing the amendment forward, as they so desired.

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    1         102. PLAINTIFF is informed and believes and thereon alleges that
    2   DEFENDANTS          KENNETH,         WILLIAM,        KIRSTEN,        KATHERINE,         and
    3   MICHAEL have and continue to use the POA as their own private enforcement arm
    4   of the Development, continually disregarding not only the rights of the property
    5   owners within the Development, but any formal procedure as otherwise required by
    6   the operative CC&R’s, all to the benefit of themselves and DEFENDANTS
    7   COACHILLIN, ECOMASTER, and ENERGY.                        For example, PLAINTIFF is
    8   informed and believes and thereon alleges that the DEFENDANTS, by and through
    9   the POA:
   10         -      Unilaterally attempted to assess Special Assessments upon “active”
   11                and/or “developed” parcels within the Development in an amount
   12                which is significantly greater than and disproportionate to those
   13                charges and/or assessments that may be levied upon the “non-active”
   14                and/or “non-developed” parcels within the Development, all to the
   15                extreme detriment of the PLAINTIFF and to the significant advantage
   16                of the DEFENDANTS, as most “non-developed” and “non-active”
   17                parcels of land within the Development are primarily owned by the
   18                DEFENDANTS;
   19         -      Impermissibly and unilaterally barred and prevented PLAINTIFF DHS
   20                VERDE’S contractor, Mr. Brad Watson, from having any access to the
   21                Development and/or PLAINTIFF DHS VERDE’S parcel of land
   22                within the Development, leaving PLAINTIFF DHS VERDE without a
   23                contractor to further develop its parcel of land while then under
   24                construction, simply because Mr. Watson did not personally agree with
   25                DEFENDANT KENNETH concerning his construction-related
   26                requirements.
   27         -      Unilaterally attempted to assess Special Assessments to each of the
   28                parcel owners, that were never approved by the Board of the POA,

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    1                including without limitation, those assessments relating to costs
    2                incurred by the DEFENDANTS for dust mitigation measures within
    3                the Development;
    4         -      Unilaterally attempted to assess Special Assessments to each of the
    5                parcel owners that were never approved by the Board of the POA for
    6                costs relating to guard post cameras, which third-party Coachillin
    7                Technology, LLC, also charges the parcel owners for the use thereof;
    8         -      Unilaterally attempted to assess Special Assessments to parcel owners
    9                in a retaliatory manner against those who denied the DEFENDANTS
   10                additional easement and property rights over their respective parcels
   11                that were never approved by the Board of the POA;
   12         -      Unilaterally attempted, without any approval of the Board of the POA,
   13                to charge the POA to pay for Common Area Maintenance fees, despite
   14                the DEFENDANTS refusing to dedicate all such common areas to the
   15                POA;
   16         -      Unilaterally entered into service and/or management agreements,
   17                without first sending out for bid and without any approval of the Board
   18                of the POA, with third-party vendors, whereby such transactions had a
   19                direct financial benefit to the DEFENDANTS;
   20         -      Unilaterally attempting to form and force upon each of the property
   21                owners a water mutual, which usurps and negates the previously agreed
   22                to transfer of the water and sewage system to MSWD, which thereby
   23                creates a privatized infrastructure         system which will be solely
   24                controlled and operated by the DEFENDANTS;
   25         -      Unilaterally retains DEFENDANT ECOMASTER to provide
   26                contracting and management services within the Development, all
   27                without soliciting other third-party bids for the work, and continually
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    1                allowing either ECOMASTER and/or DEFENDANT COACHILLIN
    2                to charge their ubiquitous “mark-up” on all such fees;
    3         -      Unilaterally attempting to control the funds of the POA, and in part,
    4                unlawfully using such funds to pay for the personal legal services of
    5                DEFENDANTS KENNETH and WILLIAM;
    6         -      Unilaterally agreeing to resolve and settle debts of DEFENDANTS
    7                WILLIAM, KENNETH, and the POA without any approval of the
    8                Board of the POA, all while improperly using the POA’S funds to do
    9                so, thereby depleting the POA of adequate funds, and thus unilaterally
   10                causing the POA to have to take unfavorable and “non-negotiable”
   11                loans from the DEFENDANTS, in a further attempt to financially
   12                benefit the DEFENDANTS, while at the concurrent detriment of the
   13                other property owners within the Development, including the
   14                PLAINTIFF;
   15         -      Unilaterally entered into agreements with legal counsel to purportedly
   16                represent the POA’s interest, all without any approval of the Board of
   17                the POA;
   18         -      DEFENDANT KENNETH has engaged in acts to threaten physical
   19                violence upon parcel owners and their designated representatives,
   20                including other members of the Board of the POA. Coincidentally,
   21                when such acts have been reported in writing to the counsel retained
   22                by the DEFENDANTS purportedly to the benefit of the POA, all such
   23                issues have been repeatedly ignored and/or “swept under the rug” in an
   24                effort to protect the DEFENDANTS and to the detriment of the
   25                integrity of the POA;
   26         -      Unilaterally retaining employees of the other DEFENDANTS to
   27                purportedly maintain the records of the POA, including without
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    1                limitation, financial records, all without any independent oversight
    2                and/or auditing capabilities;
    3         -      In blatant disregard of procedure or proper formality of the Bylaws of
    4                the POA, DEFENDANT KENNETH often refers to his purported
    5                authority as he “is the Board” and that he has no necessity or
    6                requirement to seek the approval of others (i.e., The Board) when
    7                attempting to make decisions on behalf of the POA, all while
    8                simultaneously benefitting himself and the other DEFENDANTS;
    9         -      Consistently comingling the interests of the POA with DEFENDANTS
   10                own self interests.
   11         103. As is set forth and is established herein, PLAINTIFF is informed and
   12   believes and thereon alleges that prior to entering into its PSA with the
   13   DEFENDANTS, and closing upon the purchase and sale of its respective parcel of
   14   land within the Development, the DEFENDANTS made various written and oral
   15   express representations to the Plaintiff concerning the development, construction,
   16   and implementation of the electrical infrastructure, including timelines and the
   17   parties’ requisite responsibilities and obligations relating thereto. For example,
   18   prior to the PLAINTIFF entering into its respective PSA as well as closing upon its
   19   purchase of its parcel of land within the Development, it was expressly represented
   20   by the DEFENDANTS to the PLAINTIFF that its parcel of land would have access
   21   to and would be able to use as much electricity as the PLAINTIFF desired by no
   22   later than a certain point in time.          Specifically, as is set forth above, the
   23   representatives of PLAINTIFF DHS VERDE were expressly informed, time and
   24   time again, that electrical power would be available at their specific parcel by no
   25   later than the end of 2018. At all times, the DEFENDANTS expressly represented
   26   to the PLAINTIFF that SCE supposedly had a “duty to deliver” the power to the
   27   Development upon the DEFENDANTS’ demand. Despite all such representations
   28   to the PLAINTIFF, which were significantly material and inducing to the

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    1   PLAINTIFF in making its decision to purchase its parcel of land within the
    2   Development, electrical power has STILL NOT been delivered to PLAINTIFF’S
    3   Parcel, Parcel No. 28.
    4         104. PLAINTIFF has recently been informed and believes and thereon
    5   alleges that on or about June 13, 2017, DEFENDANT MICHAEL, on behalf of
    6   himself and other DEFENDANTS sent an e-mail to the California Department of
    7   Food and Agriculture regarding proposed cannabis-related regulations. Copied on
    8   this e-mail was DEFENDANTS KENNETH and KATHERINE. Within such e-
    9   mail, DEFENDANT MICHAEL expressly states: “In summary, if your proposals
   10   are passed then our project will be severely reduced and delayed as the utility has
   11   ALREADY forecast that they can’t address our demand for power for at least 5
   12   years.” (Emphasis added). As such, DEFENDANTS all had intricate knowledge of
   13   and were well aware that SCE would not be able to meet the power demands of the
   14   Development for at least five (5) years, as was expressly asserted by MICHAEL to
   15   the Department of Food and Agriculture; however, all such information has always
   16   been intentionally concealed, withheld, and/or otherwise kept secret by the
   17   DEFENDANTS from the PLAINTIFF, including the time PLAINTIFF DHS
   18   VERDE purchased its property within the Development.
   19         105. PLAINTIFF is recently informed and believes and thereon alleges that
   20   on or about October 13, 2017, SCE held a meeting to address various electrical
   21   power demands being made within the Coachella Valley, where the Development
   22   was located. PLAINTIFF is informed and believes and thereon alleges that this
   23   meeting was attended by DEFENDANTS and their exclusive listing agent, Ms.
   24   Paula Turner, wherein SCE specifically informed the DEFENDANTS and Ms.
   25   Turner of SCE’s inability to provide the power the Development was requesting for
   26   approximately five years from that point in time.
   27         106. PLAINTIFF is recently informed and believes and thereon alleges that
   28   knowing of such electrical power issues affecting the Development, on or about

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    1   October 31, 2017, Ms. Turner sent e-mail correspondence to DEFENDANT
    2   KENNETH addressing the power issue at the Development. Specifically, Ms.
    3   Turner asserted to DEFENDANT KENNETH, “Fyi. I have several that are deciding
    4   to wait on Coachillin. When I ask why they are concerned about when the utilities
    5   are coming. I have a feeling rumors are spreading again…” In furtherance of this
    6   correspondence and DEFENDANT COACHILLIN’S, ENERGY’S, WILLIAM’S
    7   and KENNETH’S conspiracy, DEFENDANT KENNETH then sent an e-mail on
    8   that same date to DEFENDANT WILLIAM, acknowledging the electrical power
    9   deficiency issue and related rumors, and scrambling to find a temporary generator /
   10   power solution, which, in desperation, he asserted he located out of South Korea.
   11         107. PLAINTIFF is informed and believes and thereon alleges that in light
   12   of the DEFENDANTS’ knowledge that potential purchasers were declining
   13   overtures to purchase land within the Development and despite being expressly
   14   knowledgeable that SCE was unable to actually deliver any electrical power to the
   15   Development for at least several years, out of desperation to actually sell parcels of
   16   land within the Development, DEFENDANTS intentionally and knowingly
   17   engaged in efforts to covet and conceal the true and actual information, and instead,
   18   were continuously making material misrepresentations to the PLAINTIFF that
   19   electrical power would be delivered to the Development within the aforementioned
   20   timelines.     PLAINTIFF is informed and believes and thereon alleges that
   21   DEFENDANTS knew at all times they were making all such representations that
   22   not only were such representations false, misleading, and fraudulent, but that such
   23   applicable timeframes expressly represented and promised by the DEFENDANTS
   24   for electrical power to be delivered to the Development were actually impossible.
   25         108. PLAINTIFF is informed and believes and thereon alleges that in
   26   addition to the DEFENDANTS material misrepresentations about the timelines of
   27   when electrical power would be delivered to the Development, DEFENDANTS also
   28   made a number of material misrepresentations to the PLAINTIFF about

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    1   DEFENDANTS having previously negotiated and secured “agricultural rates” to be
    2   charged by SCE to each of the parcel owners within the Development, all of which
    3   the DEFENDANTS represented would serve as a substantial cost savings to each of
    4   the parcel owners, including the PLAINTIFF. Just as with the numerous other
    5   misrepresentations that were made by the DEFENDANTS, to this very date, no such
    6   substantial cost savings through “agricultural power rates,” as expressly promised
    7   by the DEFENDANTS, has ever been realized by the PLAINTIFF, as electrical
    8   power to PLAINTIFF’S Parcel No. 28 still has never been provided. Notably, said
    9   representations by the DEFENDANTS concerning agricultural power rates and the
   10   purported cost savings related thereto was a significant material inducement for the
   11   PLANTIFF to enter into its PSA with the DEFENDANTS, and thereafter close upon
   12   the purchase of its parcel of land within the Development.
   13         109. PLAINTIFF is informed and believes and thereon alleges that as is set
   14   forth above, prior to the PLAINTIFF’S purchase of its parcel of land within the
   15   Development, it was expressly represented by the DEFENDANTS, both orally and
   16   in writing, that the Development would include various Amenities to be utilized by
   17   the parcel owners within the Development, including the PLAINTIFF, which would
   18   be fully completed within the Development well before the time that the
   19   PLAINTIFF would be able to complete the development and construction of all
   20   improvements upon and within its parcel.           Moreover, DEFENDANTS’ written
   21   advertisements that were in existence prior to the PLAINTIFF purchasing its parcel
   22   of land within the Development also asserted certain Amenities, such as the private
   23   club and the laboratory facility had already been “leased” and such development
   24   was imminent. Despite all such material misrepresentations by the DEFENDANTS,
   25   to date, none of these Amenities have ever even been constructed by or on behalf of
   26   any of the DEFENDANTS. Said representations by the DEFENDANTS concerning
   27   all of the Development’s Amenities, including the purported timelines for which
   28   each such Amenity would be completed within the Development was a material

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    1   inducement for the PLANTIFF to enter into its PSA with the DEFENDANTS, and
    2   thereafter close upon the purchase of its parcel of land within the Development.
    3         110. PLAINTIFF is informed and believes and thereon alleges that due to
    4   the aforementioned acts of prior and continuing despicable conduct and actions of
    5   the DEFENDANTS, including additional permit violations, outright violations of
    6   laws and regulations, as well as other dilatory and despicable conduct,
    7   PLAINTIFF’S parcel within the Development has been harmed and continues to
    8   remain in grave jeopardy, especially if the DEFEDANTS’ unlawful conduct is
    9   allowed to persist. Specifically, PLAINTIFF has significant concerns that its
   10   attempts to further engage in legal business operations will continue to be harmed
   11   and will ultimately be significantly impacted due to the DEFENDANTS, and each
   12   of their, continuing bad acts and violations of law, all in an effort by the
   13   DEFEDANTS, and each of them, to operate the Development as they choose, with
   14   little to no regard for laws, rules, regulations, or others.
   15         111. Similar to the DEFENDANTS’ intentional unlawful dumping and
   16   disposal of cannabis wastewater upon open lands within the Development,
   17   PLAINTIFF is informed and believes and thereon alleges that a third-party parcel
   18   owner within the Development has also been unlawfully granted the right and
   19   ability by the DEFENDANTS to illegally dump used / fertilized cannabis soil onto
   20   a neighboring lot, located outside of and adjacent to the Development, which is also
   21   believed to be owned, maintained, and/or otherwise controlled by another business
   22   entity owned by DEFENDANT WILLIAM. PLAINTIFF is informed and believes
   23   and thereon alleges that the lot where the DEFENDANTS are allowing the
   24   unlawful dumping and disposal of used / fertilized cannabis soil is the same area of
   25   land where COACHILLIN, ENERGY, KENNETH, WILLIAM, and/or other
   26   DEFENDANTS are unlawfully operating their unpermitted OFFSITE sewage
   27   treatment plant. Specifically, PLAINTIFF is informed and believes, and thereon
   28   alleges that Holland Hydroponics USA, LLC, the operator of a separate and distinct

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    1   parcel within the Development, has been unlawfully granted the ability to illegally
    2   dump and dispose of their used / fertilized cannabis soil upon DEFENDANT
    3   WILLIAM’S neighboring land. Moreover, PLAINTIFF is informed and believes
    4   and thereon alleges that Holland Hydroponics USA, LLC, has shared a uniquely
    5   close relationship with the DEFENDANTS, as Holland Hydroponics has also
    6   shared the same office space with the DEFENDANTS (at the same address) and
    7   Holland Hydroponics USA, LLC has even been recommended and retained as a
    8   subcontractor by the DEFENDANTS for various construction-related projects
    9   within the Development. Such intentional act by the DEFENDANTS is not only
   10   believed by the PLAINTIFF to be illegal and in violation of the Development’s
   11   development-related documents, as have been identified above, but such acts are
   12   also believed to be extremely detrimental to local environmental conditions and can
   13   have grave consequences for the PLAINTIFF and their related property within the
   14   Development.
   15         112. Due to DEFENDANTS’ unlawful, egregious, conspiring, and
   16   fraudulent conduct, the PLAINTIFF has been irreparably harmed, and the value of
   17   the PLAINTIFF’S property has been significantly diminished, and has now become
   18   unmarketable.       As such, PLAINTIFF has been irreparably harmed by
   19   DEFENDANTS’ conduct as alleged herein.
   20         113. PLAINTIFF is informed and believes and thereon alleges that
   21   following the closing of the transaction for the purchase of PLAINTIFF’S
   22   respective parcel of land within the Development, PLAINTIFF expended
   23   significant monies and/or other assets in an effort to construct, develop, and
   24   implement various improvements and structures upon its parcel of land.
   25         114. PLAINTIFF is informed and believes and thereon alleges that in or
   26   about September 2021, PLAINTIFF and third-party California New Co, LLC
   27   entered into a written Real Estate and Business Asset Purchase and Sale Agreement
   28   (the “California New Co Agreement”) for the purchase and sale of the

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    1   PLAINTIFF’S particular parcel of land within the Development, as well as the
    2   PLAINTIFF’S business assets located therein.
    3         115. PLAINTIFF is informed and believes and thereon alleges that
    4   pursuant to said California New Co Agreement, PLAINTIFF and third party
    5   California New Co, LLC expressly agreed that PLAINTIFF would sell and convey
    6   to California New Co its particular land within the Development, improvements
    7   thereon, and other business assets then belonging to the PLAINTIFF for the total
    8   purchase price of Three Million Six Hundred Thousand Dollars and 0/100 cents
    9   ($3,600,000.00).
   10         116. PLAINTIFF is informed and believes and thereon alleges that prior to
   11   the closing of the transactions set forth within the California New Co Agreement,
   12   California New Co sought to engage in various due diligence efforts concerning
   13   the PLAINTIFF’S parcel of land, as well as the Development in its entirety. In
   14   doing so, PLAINTIFF is informed and believes and thereon alleges that California
   15   New Co communicated with DEFENDANTS COACHILLIN and KENNETH in
   16   an effort to pursue such due diligence efforts. During such communications and
   17   other due diligence efforts by California New Co, California New Co expressly
   18   informed DEFENDANTS COACHILLIN and KENNETH of the existence of the
   19   California New Co Agreement, the transactions intended therein, as well as its
   20   intent to close upon and consummate all such transactions in the immediate future.
   21         117. PLAINTIFF is informed and believes and thereon alleges that during
   22   such communications and deals between California New Co and DEFENDANTS
   23   COACHILLIN and KENNETH, DEFENDANTS COACHILLIN and KENNETH
   24   engaged in intentional actions which were designed to interfere with and/or
   25   otherwise usurp the California New Co Agreement and the specific transactions
   26   contemplated therein.        For example, DEFENDANTS COACHILLIN and
   27   KENNETH intentionally and knowingly solicited California New Co to breach its
   28   present agreement with PLAINTIFF and thereby not close upon and/or

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    1   consummate the transactions therein, but instead sought to induce and solicit
    2   California New Co to purchase parcel(s) of land within the Development solely and
    3   directly from DEFENDANTS COACHILLIN and KENNETH, instead of from the
    4   PLANITFF as California New Co originally intended. As such, PLAINTIFF is
    5   informed and believe and thereon alleges that DEFENDANTS COACHILLIN and
    6   KENNETH willfully and consciously disregarded the rights and interests of the
    7   PLAINTIFF and engaged in intentional actions in an effort to sabotage the written
    8   California New Co Agreement between PLAINTIFF and California New Co, all so
    9   that DEFENDANTS COACHILLIN and KENNETH could reap the potential
   10   benefits from California New Co, all to PLAINTIFF’S detriment.
   11         118. PLAINTIFF is informed and believes and thereon alleges that as a
   12   direct and proximate result of DEFENDANTS COACHILLIN’S and KENNETH’S
   13   efforts to undermine, disrupt, usurp, and interfere with the existing agreement
   14   between PLAINTIFF and California New Co, an actual disruption to the agreement
   15   between such parties occurred in that California New Co thereafter chose to breach
   16   the California New Co Agreement with the PLAINTIFF, and thereafter failed to
   17   consummate any of the transactions previously agreed upon within the California
   18   New Co Agreement between itself and the PLAINTIFF.
   19         119. PLAINTIFF is informed and believes and thereon alleges that on or
   20   about February 8, 2022, DEFENDANTS KATHERINE, KENNETH, and the POA
   21   hosted a telephonic meeting between said DEFENDANTS and all such parcel
   22   owners within the Development, including without limitation, the PLAINTIFF.
   23   Said telephonic meeting was recorded by DEFENDANTS KATHERINE,
   24   KENNETH, and the POA, and thereafter willingly distributed by said
   25   DEFENDANTS to others.
   26         120. PLAINTIFF is informed and believes and thereon alleges that during
   27   said above-referenced telephonic meeting, DEFENDANTS KATHERINE and
   28   KENNETH, on behalf of themselves as well as on behalf of DEFENDANTS

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    1   COACHILLIN and ENERGY each discussed a variety of issues concerning the
    2   Development as well as the PLAINTIFF’S parcel of land located therein, including
    3   without limitation, those significant “connection fees” which the DEFENDANTS
    4   unlawfully attempted to charge and force the PLAINTIFF into paying to the
    5   DEFENDANTS, as is set forth herein. For example, during said telephonic
    6   meeting, it was expressly represented and confirmed by DEFENDANTS
    7   KENNETH and KATHERINE as well as by third-party attorney Glen W. Price,
    8   Esq., who the PLAINTIFF believes is an attorney for DEFENDANT
    9   COACHILLIN, that DEFENDANT ENERGY’S continued attempts to unilaterally
   10   charge all parcel owners within the Development, including the PLAINTIFF, all
   11   such significant additional demanded “connection fees” by and through the Offsite
   12   Sewage Agreement is solely to “reimburse [DEFENDANT] COACHILLIN for
   13   [costs associated with the construction of utility] ‘stub-in’ connections.”
   14   PLAINTIFF is informed and believes and thereon alleges that during said
   15   telephonic meeting, DEFENDANTS KENNETH and KATHERINE, on behalf of
   16   themselves, as well as the other DEFENDANTS, expressly represented to each of
   17   the parcel owners within the Development, including to the PLAINTIFF, that the
   18   utility “stub-ins” which DEFENDANT ENERGY attempted to unliterally charge
   19   significant “connection fees” for are only those “stub-ins” which connect the
   20   infrastructure from within each respective parcel within the Development to the
   21   Development’s main utility infrastructure. As is already set forth and established
   22   herein, PLAINTIFF is informed and believes and thereon alleges that pursuant to
   23   its respective parcel Purchase and Sale Agreement, it was expressly represented
   24   and agreed to by the DEFENDANTS that “The lot to be purchased by [the
   25   PLAINTIFF]…shall have electricity, domestic water, sewer, cable, and gas
   26   STUBBED IN TO…” PLAINTIFF’S lot. As such, PLAINTIFF is informed and
   27   believes and thereon alleges that pursuant to the DEFENDANTS’ own express
   28   representations, as are set forth herein, not only was DEFENDANT COACHILLIN

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    1   contractually obligated for all such costs associated with the development,
    2   construction, and installation of all such utility “stub-ins,” but DEFENDANTS are
    3   now unlawfully attempting to disregard those obligations which they already
    4   expressly agreed to and are also attempting to unilaterally alter their respective
    5   contractual obligations owed to the PLAINTIFF and thereby force the PLAINTIFF
    6   into paying DEFENDANT ENERGY significant “connection fees” in order to
    7   “reimburse [DEFENDANT] COACHILLIN for [its costs associated with the
    8   construction of the very utility] ‘stub-in’ connections” despite DEFENDANT
    9   COACHILLIN already being contractually obligated to incur and fully pay for all
   10   such costs and fees.
   11         121. PLAINTIFF is informed and believes and thereon alleges that despite
   12   DEFENDANTS KENNETH and KATHERINE, as well as third-party attorney
   13   Glen W. Price, Esq. expressly representing on multiple occasions during the above-
   14   referenced telephonic meeting to each of the parcel owners within the
   15   Development, including to the PLAINTIFF, that such significant “connection fees”
   16   which are and continue to be forced upon the PLAINTIFF by the DEFENDANTS
   17   are solely to reimburse DEFENDANT COACHILLIN for all of its costs actually
   18   incurred in connection with the construction and installation of such utility “stub-
   19   in” connections for the PLAINTIFF’S parcel of land, during such telephonic
   20   meeting, DEFENDANT KENNETH actually expressly admitted and confirmed to
   21   the PLAINTIFF that as of the date of the parties’ respective telephonic meeting,
   22   none of the DEFENDANTS have even “broken out” and/or otherwise calculated
   23   any of the costs actually incurred by any of the DEFENDANTS in connection with
   24   any such construction and installation of any utility “stub-in” connections for any
   25   parcels of land within the Development, including that parcel which is owned by
   26   the PLAINTIFF. PLAINTIFF is informed and believes and thereon alleges during
   27   such telephonic meeting, DEFENDANT KENNETH, on behalf of the other
   28   DEFENDANTS, expressly represented to each of the parcel owners, including to

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    1   the PLAINTIFF, that the total costs incurred by any of the DEFENDANTS in
    2   connection with the development, construction, and installation of all such “main
    3   backbone infrastructure” for the entire Development was approximately
    4   $781,000.00. As such, PLAINTIFF is informed and believes and thereon alleges
    5   that by the DEFENDANTS now attempting to unilaterally and unlawfully force
    6   each of the parcel owners within the Development, including the PLAINTIFF, to
    7   pay substantial additional “connection fees” in a monetary amount which
    8   DEFENDANT KENNETH has already admitted is not even based upon any sort
    9   of actual tabulation of costs actually incurred by any of the DEFENDANTS in
   10   connection with the construction and installation of such utility “stub-ins,”
   11   DEFENDANTS are actually attempting to somehow represent that the costs
   12   supposedly borne by the DEFENDANTS in connection with the construction and
   13   installation of such utility “stub-ins,” is supposedly more than four (4) times the
   14   monetary amount of those costs represented to be actually borne by any of the
   15   DEFENDANTS in connection with the development, construction, and installation
   16   of the entirety of all such “main backbone infrastructure” for the Development.
   17   Again, pursuant to the PLAINTIFF’S Purchase and Sale Agreement,
   18   DEFENDANT COACHILLIN was and continues to be contractually obligated to
   19   pay for all of those very fees and/or other costs which the DEFENDANTS are now
   20   unlawfully attempting to force and cause the PLAINTIFF, as well as other property
   21   owners, to pay.
   22         122. As is previously set forth and established herein, it was a material
   23   inducement to the PLAINTIFF in determining to purchase its parcel of land within
   24   the Development that all domestic water and sewage provisions of the
   25   Development would ultimately be provided to the PLAINTIFF by MSWD. As is
   26   also previously set forth and established herein, PLAINTIFF is informed and
   27   believes and thereon alleges that the DEFENDANTS have unilaterally engaged in
   28   substantial efforts to form an independent and stand-alone water mutual and amend

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    1   the CC&R’s, in part, due to the DEFENDANTS unilaterally seeking to negate their
    2   obligations to assign and transfer all rights and interests of the water and sewage
    3   infrastructure within the Development to MSWD, as the DEFENDANTS are
    4   presently required to do. PLAINTIFF is informed and believes and thereon alleges
    5   that DEFENDANTS’ conduct is a rather apparent concerted effort to cause each of
    6   the property owners within the Development, including the PLAINTIFF, to be
    7   forced into using the DEFENDANTS’ privatized, yet inferior, offsite sewage
    8   treatment system, all so that the DEFENDANTS can reap significant additional
    9   financial benefits that they are otherwise not entitled to, all to the extreme detriment
   10   of the PLAINTIFF.
   11         123. PLAINTIFF is informed and believes and thereon alleges that prior to
   12   the initiation of this present action, MSWD has already commenced its
   13   development and construction efforts in building its regional utility plant that will
   14   be used to serve the Development upon the completion of such regional utility plant
   15   which is presently scheduled to be completed in 2023. Moreover, PLAINTIFF is
   16   informed and believes and thereon alleges that on February 8, 2022, DEFENDANT
   17   KENNETH on behalf of himself and the other DEFENDANTS intentionally and
   18   fraudulently made various disingenuous representations to each of the property
   19   owners within the Development, including to the PLAINTIFF, concerning the
   20   present status of MSWD’s overall development and construction efforts of its
   21   regional utility plant, all in a further effort to falsely induce the property owners
   22   into agreeing to move forward with the DEFENDANTS’ proffered water mutual.
   23   Specifically, DEFENDANT KENNETH disingenuously represented that as of the
   24   date of the parties telephonic meeting, not only had MSWD failed to raise the
   25   necessary monies to even develop and build its intended regional utility plant, but
   26   that he also supposedly travels to the very location where MSWD is supposed to
   27   be developing and constructing its regional utility plant “every single day of the
   28   week,” and that he can supposedly confirm that MSWD had not even commenced

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    1   its development and construction efforts of its regional utility plant. Moreover,
    2   DEFENDANT KENNETH further disingenuously represented to each of the
    3   property owners, including to the PLAINTIFF, that it would actually be “a physical
    4   impossibility” for MSWD to complete its development and construction efforts
    5   upon its regional utility plant by 2023.
    6         124. PLAINTIFF is informed and believes and thereon alleges that despite
    7   the DEFENDANTS’ prior material representations to the PLAINTIFF that all such
    8   rights and interests of the water and sewage infrastructure within the Development
    9   would be assigned and transferred to MSWD, as is set forth herein, during the
   10   parties above-referenced telephonic meeting on February 8, 2022, DEFENDANT
   11   KENNETH, on behalf of himself as well as the other DEFENDANTS, further
   12   represented to each of the property owners, including the PLAINTIFF, that such
   13   water and sewage infrastructure within the Development will not even be assigned
   14   and transferred to MSWD unless and until such time that MSWD will also now
   15   agree to take on the additional obligation to accept each of the parcel owners’
   16   respective cannabis wastewater from the same infrastructure piping as such parcel
   17   owners’ domestic wastewater, which according to DEFENDANT KENNETH, will
   18   likely never happen.
   19         125. PLAINTIFF is informed and believes and thereon alleges that in
   20   addition to the DEFENDANTS intentionally and yet unlawfully dumping and/or
   21   disposing of cannabis wastewater directly within the Development, as is previously
   22   set forth herein, during the parties above-referenced telephonic meeting on
   23   February 8, 2022, DEFENDANT KENNETH on behalf of himself and the other
   24   DEFENDANTS, further expressly represented and admitted to each of the parcel
   25   owners, including the PLAINTIFF, that he and the other DEFENDANTS have and
   26   continue to intentionally capture the used and contaminated cannabis wastewater
   27   from the businesses operating from within Parcel 33 of the Development, which
   28   the PLAINTIFF believes to be owned and managed by DEFENDANTS

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    1   KENNETH, WILLIAM, and COACHILLIN, and then the DEFENDANTS
    2   intentionally, and yet unlawfully, dispose of such captured cannabis wastewater by
    3   spraying and/or otherwise dumping such contaminated cannabis wastewater onto
    4   the landscaping within the Development, onto the roads within the Development,
    5   as well as on the undeveloped areas within the Development and the adjacent lot of
    6   land where the OWTDS is located which is also owned by DEFENDANT
    7   WILLIAM. PLAINTIFF is informed and believes and thereon alleges that such
    8   intentional acts by the DEFENDANTS are not only believed by the PLAINTIFF to
    9   be illegal and in further violation of the Development’s development-related
   10   documents, as have been identified above, but such acts are also believed to be
   11   extremely detrimental to local environmental conditions and can have grave
   12   consequences for the PLAINTIFF and its related property within the Development,
   13   as well as the local community as a whole should such contaminated and unlawfully
   14   disposed of cannabis waste ever infiltrate the local ground water wells.
   15         126. PLAINTIFF is informed and believes and thereon alleges that on or
   16   about February 24, 2022, an inspection of the Development took place by the
   17   California State Water Resources Board and the Lahontan Regional Water Quality
   18   Control Board. PLAINTIFF is informed and believes and thereon alleges that as
   19   a result of this inspection, that the Coachillin Industrial Cultivation & Ancillary
   20   Canna-Business Park Inspection Report (the “Inspection Report”) was created.
   21   Pursuant to the Inspection Report, attendees of this February 24, 2022 inspection
   22   included, without limitation, DEFENDANT KENNETH and DEFENDANT
   23   KATHERINE.
   24         127. PLAINTIFF is informed and believes and thereon alleges that
   25   pursuant to the Inspection Report, when asked if DEFENDANT COACHILLIN’
   26   owned the land that the treatment system was located on, DEFENDANT
   27   KENNETH expressly admitted and confirmed that “the land is owned…under a
   28   different title, which is Moreland.”

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    1         128. PLAINTIFF is informed and believes and thereon alleges that the
    2   Inspection Report delineates eight (8) separate and distinct findings. Specifically:
    3         1. The treatment system location does not match Coachillin’s WDR;
    4         2. The discharge location for the treatment system does not match
    5         Coachillin’s WDR;
    6         3.The owner of the land where the treatment system is located is not listed in
    7         Coachillin’s WDR;
    8         4. Uncertified operators are turning on the treatment system;
    9         5. The WDR was not on site at the time of the inspection;
   10         6. The operator certificates were not on site at the time of inspection;
   11         7. Total nitrogen in the treatment system’s effluent exceed permit limitations;
   12         and
   13         8. Coachillin’ is using cannabis wastewater for dust control.
   14         129. PLAINTIFF is informed and believes and thereon alleges that due to
   15   DEFENDANTS egregious violations and unlawful actions that were discovered, in
   16   part, during the aforementioned February 24, 2022 inspection by the California
   17   State Water Resources Board, on April 22, 2022, the Colorado River Basin
   18   Regional Water Quality Control Board issued a Notice of Violation for
   19   DEFENDANT COACHILLIN (the “4/22/2022 Notice of Violation”).                            The
   20   California Regional Water Quality Control Board, Colorado River Basin “is the
   21   public agency with primary responsibility for the protection of ground and surface
   22   water quality for all beneficial uses within Riverside County, including the
   23   Property,” and the 4/22/2022 Notice of Violation discusses various violations
   24   concerning activities related to cannabis cultivation occurring at Riverside County
   25   Assessor’s Parcel Number (“APN”) 666-340-052, and directs DEFENDANT
   26   COACHILLIN to immediately take corrective action.
   27         130. PLAINTIFF is informed and believes and thereon alleges that such
   28   4/22/2022 Notice of Violation specifically states, “On February 24, 2022,

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    1   staff…conducted an inspection of the Coachillin Business Park (Business park)
    2   (Attachment A, Inspection Report). Kenneth Dickerson and Katherine Beneteau
    3   guided Water Board staff around the Property. During the inspection, staff
    4   observed a 5,000-gallon tank partially buried on the northern edge of a stormwater
    5   basis. Kenneth Dickerson confirmed that this tank was used for storage of cannabis
    6   cultivation wastewater and that the wastewater was mixed with irrigation water
    7   from the onsite well…The wastewater was then emptied by a truck and discharged
    8   throughout the Business Park for use as landscaping and dust control. Reports
    9   were provided [by DEFENDANTS] for all months in 2021 that listed the quantity
   10   of wastewater pumped out of the tank and measured TDS levels. Based on the
   11   reports provided, a total of 398,200 gallons of cannabis wastewater were
   12   discharged to land [by the DEFENDANTS] between January 4, 2021 – December
   13   21, 2021.”
   14         131. PLAINTIFF is informed and believes and thereon alleges that such
   15   4/22/2022 Notice of Violation specifically notifies DEFENDANTS that they have
   16   failed to comply with California Water Code, Section 13260, et seq.
   17   DEFENDANTS’ actions and/or inactions in this regard “may result in additional
   18   enforcement action, including, but not limited to, administrative civil liability. For
   19   violations of Water Code section 13260 and/or 13264, the Regional Water Board
   20   may impose administrative civil liability of up to $1,000 per day of violation…”
   21         132. PLAINTIFF is informed and believes and thereon alleges that in
   22   addition to the 4/22/2022 Notice of Violation, on April 25, 2022, the Colorado
   23   River Basin Regional Water Quality Control Board issued a Notice of Violation to
   24   DEFENDANT ENERGY (the “4/25/2022 Notice of Violation”). Within this
   25   particular 4/25/2022 Notice of Violation, the Regional Water Board acknowledges
   26   that it has reviewed the DEFENDANTS’ Self-Monitoring Reports for the
   27   Development that the DEFENDANTS themselves submitted to the Regional Water
   28   Board.

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    1         133. PLAINTIFF is informed and believes and thereon alleges that the
    2   4/25/2022 Notice of Violation expressly notifies the DEFENDANTS that
    3   “Coachillin’ Business Park OWTS (onsite wastewater treatment system) is in non-
    4   compliance with…Order R7-2020-029; and has violated California Water Code
    5   (CWC) section 13350…”
    6         134. PLAINTIFF is informed and believes and thereon alleges that the
    7   4/25/2022 Notice of Violation delineates that “Order R7-2020-0029, Effluent
    8   Limitations Section A.2 states that effluent limits shall not exceed a Total Nitrogen
    9   (TN) monthly average of 10 mg/L and a Total Dissolved Solids (TDS) monthly
   10   average of 580 mg/L.” The 4/25/2020 Notice of Violation then presents a table
   11   which evidences that on a monthly basis, DEFENDANTS violated Order R7-2020-
   12   0029 by grossly exceeding the allowable limits, typically ranging in an exceedance
   13   of no less than three to four times the allowable limits.
   14         135. PLAINTIFF is informed and believes and thereon alleges that the
   15   4/25/2022 Notice of Violation delineates that Section B.5 of Order R7-2020-0029
   16   states that “discharge of wastewater to a location or in a manner different from that
   17   described in the order is prohibited. The Order states that the OWTS is to be
   18   constructed in the south-east corner of the Coachillin’ Business Park. Based on
   19   the February 24, 2022 inspection and satellite imagery, it has been determined that
   20   the OWTS was built on land not specified in the Order, approximately a quarter
   21   mile to the east of the proposed location. Furthermore, the owner of the land,
   22   Moreland Properties LLC, is not named in the Order.”
   23         136. PLAINTIFF is informed and believes and thereon alleges that the
   24   4/25/2022 Notice of Violation expressly sets forth that DEFENDANTS’ acts
   25   constituting a violation of “Order R7-2020-0029 is a violation of state law…”
   26         137. Of late, DEFENDANTS have been circulating information to the
   27   parcel owners within the Development, including to the PLAINTIFF, that it is their
   28   express intent to abandon their plans which they used to induce the PLAINTIFF,

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    1   as well as various other parcel owners, into purchasing their respective parcels of
    2   land within the Development; namely that while the DEFENDANTS were
    3   originally going to build an all-inclusive business park and utopia, with all of the
    4   utilities and Amenities necessary to provide each of the property owners with a
    5   comprehensive and all-encompassing campus to help them succeed with their
    6   respective businesses and which was not only one of the reasons for the inflated
    7   purchase prices of the land within the Development but which were material
    8   inducements for the PLAINTIFF’S purchase of its respective parcel of land within
    9   the Development, it is the DEFENDANT’S express intent to now divert from such
   10   plans, rescind and amend their previously approved Specific Plan with the City of
   11   Desert Hot Springs, bankrupt the POA, not fulfill a myriad of promises made to the
   12   PLAINTIFF and other parcel owners, and turn the Development into a general
   13   business park, thereby abandoning the PLAINTIFF and the other similarly situated
   14   property owners, and attempt to leave them without recourse, all to the
   15   PLAINTIFF’S significant detriment.
   16         138. PLAINTIFF is informed and believes and thereon alleges that on or
   17   about March 22, 2022, through its prior Counsel of Record, Ms. Lisamarie
   18   McDermott, Esq., PLAINTIFF attempted to inquire from the DEFENDANTS if
   19   they would be willing to engage in the mediation process in an effort to mediate all
   20   such issues and disputes set forth within this Complaint. PLAINTIFF is informed
   21   and believes and thereon alleges that on or about March 23, 2022, DEFENDANT
   22   KENNETH, on behalf of himself and other DEFENDANTS, delivered written
   23   correspondence to PLAINTIFF’S prior Counsel of Record, wherein DEFENDANT
   24   KENNETH represented that DEFENDANTS were not interested in participating
   25   in traditional forms of mediation and that “Coachillin WILL NOT settle these
   26   nefarious claims. Therefore, you should go ahead and file any claims as you see fit,
   27   where you see fit.” As such, it is PLAINTIFF’S understanding that despite the
   28   PLAINTIFF’S efforts to the contrary, the DEFENDANTS refused to properly

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    1   engage in any such mediation procedures concerning the dispute and issues set
    2   forth within this Complaint, despite being contractually obligated to do so.
    3

    4                               FIRST CAUSE OF ACTION
    5                                     Breach of Contract
    6           PLAINTIFF DHS VERDE against DEFENDANT COACHILLIN
    7                             and DOES 1 through 50, Inclusive
    8         139. PLAINTIFF realleges and incorporates by reference each and every
    9   allegation contained within paragraphs 1 through 138, inclusive, as if the same were
   10   fully set forth herein.
   11         140. PLAINTIFF DHS VERDE is informed and believes and thereon
   12   alleges that on or about January 23, 2018, and in reliance of all of the
   13   DEFENDANTS’ above-referenced material representations, the written Parcel 28
   14   Vacant Land Purchase Agreement and Joint Escrow Instructions (referred to herein
   15   as the “Vacant Land Purchase Agreement” and/or the “PSA”) was initially entered
   16   into by PLAINTIFF DHS VERDE as well as by DEFENDANT KENNETH on
   17   behalf of DEFENDANT COACHILLIN for the purchase of land commonly known
   18   as “Parcel 28” within the Development.
   19         141. PLAINTIFF is informed and believes and thereon alleges that
   20   pursuant to its written Vacant Land Purchase Agreement, PLAINTIFF DHS
   21   VERDE and DEFENDANT COACHILLIN expressly agreed that various
   22   obligations would be imposed upon them in conjunction with the purchase and sale
   23   of the PLAINTIFF’S parcel of land within the Development. For example, as is
   24   previously set forth herein, pursuant to the above-referenced Vacant Land Purchase
   25   Agreement, the PLAINTIFF agreed that it would be obligated to render to
   26   DEFENDANT COACHILLIN, upon the closing of the transaction, the applicable
   27   agreed-upon purchase price for the purchase of Parcel No. 28 within the
   28   Development, which all such obligations have been fully satisfied. Additionally,

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    1   pursuant    to   the   above-referenced       Vacant    Land     Purchase     Agreement,
    2   DEFENDANT COACHILLIN also expressly agreed to be obligated, whether
    3   financially or otherwise, to the PLAINTIFF, in connection with engaging in various
    4   actions, obligations, and/or other commitments concerning such parcel of land, as
    5   is already expressly set forth within the above-referenced Vacant Land Purchase
    6   Agreement and which is already set forth and established herein.
    7         142. PLAINTIFF is informed and believes and thereon alleges that it has
    8   already performed and/or otherwise complied with the terms, conditions, and
    9   obligations of its Vacant Land Purchase Agreement with DEFENDANT
   10   COACHILLIN which were imposed upon it.
   11         143. PLAINTIFF is informed and believes and thereon alleges that by and
   12   through the conduct, actions, and/or inactions of the DEFENDANTS, as are set
   13   forth within this Complaint, DEFENDANT COACHILLIN has failed to perform
   14   its above-referenced and agreed-upon contractual obligations, and thus, has
   15   breached and is continuing to breach the parties’ respective Vacant Land Purchase
   16   Agreement, all to the significant damage and detriment of the PLAINTIFF.
   17         144. PLAINTIFF is informed and believes and thereon alleges that
   18   DEFENDANT COACHILLIN, with the knowledge of, assistance of, and at the
   19   direction of DEFENDANTS KENNETH, KATHERINE, WILLIAM, and
   20   MICHAEL, as is set forth herein, has breached and is continuing to breach the
   21   PLAINTIFF’S Vacant Land Purchase Agreement by failing and/or otherwise
   22   intentionally refusing to adhere to and/or otherwise fulfill its obligations pursuant
   23   to the PLAINTIFF’S Vacant Land Purchase Agreement, failing to abide by the
   24   agreed-upon terms and conditions of said respective Vacant Land Purchase
   25   Agreement, intentionally attempting to unilaterally usurp and change the terms,
   26   conditions, and obligations of the parties’ pursuant to such Vacant Land Purchase
   27   Agreement, intentionally attempting to unilaterally change and increase the overall
   28   monies and other costs to be borne by the PLAINTIFF pursuant to the parties’

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    1   respective Vacant Land Purchase Agreement, unilaterally acting outside of the
    2   scope of the terms and conditions of the parties’ respective Vacant Land Purchase
    3   Agreement, all without any express approval and/or authority by the PLAINTIFF,
    4   and unilaterally attempting to charge the PLAINTIFF substantial additional fees
    5   and/or other costs which were never agreed-upon by the PLAINTIFF. PLAINTIFF
    6   is informed and believes and thereon alleges that at no time did DEFENDANT
    7   COACHILLIN have a legal excuse and/or justification for failing to fulfill its
    8   above-referenced contractual obligations and/or otherwise engaging in those
    9   actions and/or inactions as are set forth within this Complaint.
   10         145. PLAINTIFF is informed and believes and thereon alleges that by and
   11   through the conduct, actions, and/or inactions of DEFENDANT COACHILLIN, as
   12   alleged herein, DEFENDANT COACHILLIN has breached and is continuing to
   13   breach the parties’ respective Vacant Land Purchase Agreement, all to the
   14   significant damage and detriment of the PLAINTIFF.
   15         146. PLAINTIFF is informed and believes and hereon alleges that as a
   16   direct and proximate result of DEFENDANT COACHILLIN’S conduct, actions,
   17   and/or inactions in breaching and continuing to breach the parties’ Vacant Land
   18   Purchase Agreement, as is set forth and established within this Complaint, the
   19   PLAINTIFF was caused and continues to be caused to be harmed and have suffered
   20   significant damages in a sum according to proof at the time of trial, but which are
   21   in excess of this Court’s minimum jurisdictional amount.
   22         147. PLAINTIFF is informed and believes and thereon alleges that the
   23   willful, intentional, deliberate, reckless, and other unlawful conduct of
   24   DEFENDANT COACHILLIN, as delineated herein, was and continues to be a
   25   breach of its contractual obligations which are owed to the PLAINTIFF, and at all
   26   times, the PLAINTIFF was and continues to be harmed.                       Consequently,
   27   PLAINTIFF is entitled to general and compensatory damages against
   28


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    1   DEFENDANT COACHILLIN in an amount to be determined at trial, but which
    2   are in excess of this Court’s minimum jurisdictional amount.
    3         148. PLAINTIFF is informed and believes and thereon alleges that
    4   pursuant to California Civil Code, Section 1717(a), the PLAINTIFF is further
    5   entitled to a recovery of all of its respective attorneys’ fees and related costs due to
    6   DEFENDANT COACHILLIN’S various breaches and continued breaches of the
    7   parties’ respective Vacant Land Purchase Agreement on account of the fact that the
    8   Vacant Land Purchase Agreement specifically entitles PLAINTIFF to a recovery
    9   of such fees and related costs in the event that a legal action is commenced which
   10   arises out of the parties’ respective Vacant Land Purchase Agreement.
   11

   12                             SECOND CAUSE OF ACTION
   13                                     Breach of CC&RS
   14       PLAINTIFF DHS VERDE against DEFENDANTS POA, COACHILLIN,
   15                   KENNETH, WILLIAM, KATHERINE, KIRSTEN
   16                             and DOES 1 through 50, Inclusive
   17         149. PLAINTIFF realleges and incorporates by reference each and every
   18   allegation contained within paragraphs 1 through 148, inclusive, as if the same were
   19   fully set forth herein.
   20         150. As is set forth herein, at the time that the PLAINTIFF entered into its
   21   Vacant Land Purchase Agreement and closed upon the respective transactions
   22   relating thereto, PLAINTIFF understood that the Development, including its parcel
   23   of land therein, would be governed pursuant to the initial CC&R’s, which have
   24   since been amended and superseded by the present CC&R’s.
   25         151. PLAINTIFF has performed all of the conditions, covenants,
   26   obligations, and/or other promises required of it under the CC&R’s, except for
   27   those which have been waived, excused, and/or rendered impossible by the
   28


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    1   conduct, acts, or inactions of DEFENDANTS POA, COACHILLIN, KENNETH,
    2   WILLIAM, KATHERINE, and KIRSTEN.
    3          152. PLAINTIFF is informed and believes and thereon alleges that
    4   DEFENDANTS POA, COACHILLIN, KENNETH, WILLIAM, KATHERINE,
    5   and KIRSTEN have breached and continue to breach and violate the terms and
    6   conditions of the CC&R’s which govern the Development, including without
    7   limitation, by levying assessments and fees on all parcel owners located therein,
    8   including upon the PLAINTIFF, all in an effort to fund DEFENDANTS
    9   COACHILLIN’S, KENNETH’S, and WILLIAM’S construction of Initial
   10   Common Infrastructure, as well as Common Area Expenses, as is set forth within
   11   this Complaint. Further, PLAINTIFF is informed and believes and thereon alleges
   12   that   DEFENDANTS            POA,      COACHILLIN,           KENNETH,         WILLIAM,
   13   KATHERINE, and KIRSTEN have and continue to breach and violate the CC&R’s
   14   by attempting to levy impermissible and improper assessments and fees upon all
   15   lot owners, including the PLAINTIFF for the DEFENDANTS’ own personal
   16   expenses and benefits, including without limitation, those expenses relating to such
   17   DEFENDANTS’ dust mitigation measures within the Development, legal fees
   18   related to such DEFENDANTS’ own personal matters, as well as the
   19   DEFENDANTS’ self-dealing and interested transactions, all as is set forth herein.
   20   Moreover, DEFENDANT POA, as well as DEFENDANTS KIRSTEN and
   21   KATHERINE, as managing agents of the POA, have further breached and violated
   22   the CC&R’s by permitting, agreeing, and acquiescing in DEFENDANTS
   23   COACHILLIN’S, KENNETH’S, and WILLIAM’S efforts to so dominate and
   24   control the CC&R’s such that the POA was derelict in its duties to manage and
   25   enforce the CC&R’s, and thereby allowed DEFENDANTS COACHILLIN,
   26   KENNETH, and WILLIAM to treat the Development as their own, engage in self-
   27   dealing and self-interested transactions, and act in disregard for the other members
   28   of the POA, including the PLAINTIFF.                 In this regard, DEFENDANTS

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    1   KENNETH, WILLIAM, KIRSTEN, and KATHERINE have engaged in various
    2   actions to cause the POA to act to the personal benefit of such DEFENDANTS and
    3   the detriment of various parcel owners, including the PLAINTIFF, by attempting
    4   to charge and levy disparate fees and assessments to “active” and “developed”
    5   parcels, which benefited such DEFENDANTS as they maintain and/or otherwise
    6   own a majority of the “inactive” and/or “non-developed” parcels within the
    7   Development.
    8         153. As a direct and proximate result of DEFENDANTS POA’S,
    9   COACHILLIN’S,             KENNETH’S,        WILLIAM’S,          KATHERINE’S,           and
   10   KIRSTEN’S conduct, actions, and/or inactions in breaching and violating the
   11   CC&R’s, as is set forth and established within this Complaint, the PLAINTIFF was
   12   caused and continues to be caused to be harmed and have suffered damages in an
   13   amount according to proof at the time of trial, but which is in excess of this Court’s
   14   minimal jurisdictional amount. Additionally, PLAINTIFF is informed and believes
   15   and thereon alleges that due to the respective DEFENDANTS breach of the
   16   CC&Rs, as is set forth within this Complaint, said CC&Rs specifically entitle the
   17   PLAINTIFF to a recovery of all of its respective attorneys’ fees and related costs.
   18

   19                               THIRD CAUSE OF ACTION
   20                                 Breach of Fiduciary Duty
   21       PLAINTIFF DHS VERDE against DEFENDANTS POA, KATHERINE,
   22                                          KIRSTEN,
   23                              and DOES 1 through 50, Inclusive
   24         154. PLAINTIFF realleges and incorporates by reference each and every
   25   allegation contained within paragraphs 1 through 153, inclusive, as if the same were
   26   fully set forth herein.
   27         155. PLAINTIFF is informed and believes and thereon alleges that
   28   DEFENDANT POA, as well as DEFENDANTS KIRSTEN and KATHERINE, as

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    1   the Executive Director and Secretary for DEFENDANT POA, owed fiduciary
    2   duties to each of the members of the association, including to the PLAINTIFF.
    3   Such fiduciary duties owed by said DEFENDANTS to the PLAINTIFF include but
    4   are not limited to: (i) act in the association’s members’ best interest; (ii) use
    5   reasonable care in managing the property and financial affairs of the Development,
    6   POA, and all parcel owners; (iii) treat all members of the association fairly and
    7   equally; (iv) act reasonably in the exercise of the association’s discretionary
    8   powers, including rule-making and enforcement; (v) not favor one member over
    9   other members of the association; (vi) not engage in self-dealing and conflicted
   10   transactions; (vii) keep and maintain accurate corporate records and books of all of
   11   the association’s transactions; (viii) ensure that proper associational meetings were
   12   noticed, held, and appropriately documented; and (ix) provide equal access to all
   13   such documents, data, and information concerning the association to all of its
   14   members, and thus, not just to DEFENDANTS COACHILLIN, KENNETH, and
   15   WILLIAM.
   16         156.    PLAINTIFF is informed and believes and thereon alleges that
   17   DEFENDANTS POA, KIRSTEN, and KATHERINE violated their fiduciary
   18   duties owed to the PLAINTIFF when they permitted, agreed, acquiesced, and
   19   conspired with DEFENDANTS COACHILLIN, KENNETH, and WILLIAM to so
   20   dominate and control the POA’s affairs such that the POA levied excessive,
   21   unreasonable, unapproved, disproportionate, and improper assessments and fees on
   22   all parcel owners, including upon the PLAINTIFF, in order to fund the
   23   Development’s Initial Common Infrastructure and Common Area Expenses which
   24   were and continue to be the sole and exclusive obligation of DEFENDANTS
   25   COACHILLIN, KENNETH, and WILLIAM. Moreover, DEFENDANTS POA,
   26   KIRSTEN, and KATHERINE have further violated their fiduciary duties owed to
   27   the PLAINTIFF when they permitted, agreed, acquiesced, and conspired with
   28   DEFENDANTS COACHILLIN, KENNETH, and WILLIAM to so dominate and

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    1   control the POA’s affairs such that the POA levied excessive, unreasonable,
    2   unapproved, disproportionate, and improper assessments and fees on all parcel
    3   owners, including upon the PLAINTIFF for the DEFENDANTS’ own personal
    4   expenses and benefits, including without limitation, those expenses relating to such
    5   DEFENDANTS’ dust mitigation measures within the Development, legal fees
    6   related to such DEFENDANTS’ own personal matters, as well as the
    7   DEFENDANTS self-dealing and interested transactions, all as is set forth herein.
    8         157. PLAINTIFF has been and continues to be damaged as a result of
    9   DEFENDANTS POA’S, KIRSTEN’S, and KATHERINE’S breach and violation
   10   of their fiduciary duties, and that such breach of their fiduciary duties by said
   11   DEFENDANTS have now and continue to interfere with the PLAINTIFF’S
   12   property interests and have reduced and will continue to reduce the value and
   13   marketability of its respective property at the Development. Moreover, due to such
   14   DEFENDANTS dereliction of their duties, as is set forth herein, it has allowed and
   15   is continuing to allow DEFENDANTS COACHILLIN, KENNETH, and
   16   WILLIAM to have ultimate control and management of the POA to the detriment
   17   of its other members, including the PLAINTIFF. As a result and in addition to all
   18   damages sought by the PLAINTIFF, the PLAINTIFF further seeks a full and
   19   complete accounting from the POA as to all fees and costs which have been
   20   incurred, all monies which have been paid and spent, all original and unmodified
   21   invoices which have been issued, payments received, all communications between
   22   the POA, KIRSTEN, KATHERINE, KENNETH, and WILLIAM, inspection of all
   23   of the association’s records and books, and an explanation of the fees and costs
   24   which the DEFENDANTS are attempting to assert and levy against the
   25   PLAINTIFF.
   26         158. As a direct and proximate result of DEFENDANTS POA’S,
   27   KIRSTEN’S, and KATHERINE’S breach and violation of their fiduciary duties, as
   28   is set forth herein, PLAINTIFF has been damaged and continues to be damaged in

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    1   a sum according to proof at the time of trial, but which is in excess of this Court’s
    2   minimum jurisdictional amount.
    3

    4                             FOURTH CAUSE OF ACTION
    5                                 Breach of Fiduciary Duty
    6            PLAINTIFF DHS VERDE against DEFENDANTS KENNETH
    7                             and DOES 1 through 50, Inclusive
    8         159. PLAINTIFF realleges and incorporates by reference each and every
    9   allegation contained within paragraphs 1 through 158, inclusive, as if the same were
   10   fully set forth herein.
   11         160. PLAINTIFF is informed and believes and thereon alleges that
   12   DEFENDANT KENNETH, as a Board Member of the POA and as the Declarant
   13   in the CC&R’s, as well as one of the managing members of DEFENDANT
   14   COACHILLIN owed fiduciary duties to the members of the association, including
   15   to the PLAINTIFF, which includes but is not limited to always: (i) act in good faith,
   16   in compliance with all such applicable laws and documents governing the
   17   Development; (ii) deal fairly with the association and each of its members and not
   18   seek his own financial and personal interests and benefit, to the detriment of the
   19   PLAINTIFF; (iii) not engage in self-dealing and conflict of interest transactions;
   20   and (iv) use ordinary care and prudence in performing his functions.
   21         161. PLAINTIFF is informed and believes and thereon alleges that
   22   DEFENDANT KENNETH has violated his fiduciary duties owed to the
   23   PLAINTIFF when he interfered with and controlled the POA by demanding that
   24   the POA as well as DEFENDANTS KIRSTEN and KATHERINE, levy and assess
   25   excessive, unreasonable, unapproved, disproportionate, and improper assessments
   26   on all parcel owners, including upon the PLAINTIFF, in order to fund the
   27   Development’s Initial Common Infrastructure as well as Common Area Expenses,
   28   which were owed solely and exclusively by DEFENDANTS COACHILLIN,

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    1   KENNETH, and WILLIAM, as well as also seeking to impose significant
    2   additional charges and fees upon the PLAINTIFF, which was never agreed upon,
    3   all as is set forth herein. Moreover, as is also set forth within this Complaint,
    4   DEFENDANT KENNETH has engaged in and will continue to engage in egregious
    5   self-dealing and conflict of interest transactions while acting in his capacity as the
    6   Declarant of the Development while at the same time unilaterally entering into
    7   various agreements with unfavorable terms for the POA and the Development with
    8   companies that he himself owns and controls, and as such, personally benefits from.
    9   Furthermore, as is also set forth within this Complaint, DEFENDANT KENNETH
   10   has directed, dominated, and used the POA for his own benefit and the benefit of
   11   his family members by hiring his family members to operate and manage the POA
   12   while concurrently working for his other conflicted business entities and also
   13   failing to properly apply association-related fees and dues to those parcels of land
   14   which are owned and controlled by DEFENDANTS COACHILLIN, KENNETH,
   15   and WILLIAM.
   16         162. PLAINTIFF has been and will continue to be damaged as a result of
   17   DEFENDANT KENNETH’S breach and violation of his fiduciary duties which are
   18   and continue to be owned to the PLAINTIFF.
   19         163. As a direct and proximate result of DEFENDANT KENNETH’S
   20   breach and violation of his fiduciary duties, as is set forth herein, PLAINTIFF was
   21   and continues to be damaged in an amount to be determined at trial, but which is in
   22   excess of this Court’s minimum jurisdictional amount.
   23   ///
   24   ///
   25   ///
   26   ///
   27   ///
   28   ///

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    1                               FIFTH CAUSE OF ACTION
    2                         Fraud – Intentional Misrepresentation
    3          PLAINTIFF DHS VERDE against DEFENDANTS COACHILLIN,
    4               KENNETH, WILLIAM, and DOES 1 through 50, Inclusive
    5         164. PLAINTIFF realleges and incorporates by reference each and every
    6   allegation contained within paragraphs 1 through 163 inclusive, as if the same were
    7   fully set forth herein.
    8         165. As is previously set forth herein, PLAINTIFF is informed and believes
    9   and thereon alleges that prior to and throughout each stage of the respective
   10   transaction being set forth herein for the purchase of the PLAINTIFF’S parcel of
   11   land within the Development, DEFENDANTS COACHILLIN, KENNETH, and
   12   WILLIAM each intentionally set forth and/or otherwise directed the other
   13   DEFENDANTS and/or their respective agents to intentionally set forth a series of
   14   various oral and written material misrepresentations to the PLAINTIFF and/or its
   15   respective authorized agents, all in a concerted and intentional effort and scheme
   16   to fraudulently induce the PLAINTIFF to enter into its Vacant Land Purchase
   17   Agreement for the purchase of the PLAINTIFF’S parcel of land within the
   18   Development.
   19         166. PLAINTIFF is informed and believes and thereon alleges that said
   20   numerous material misrepresentations that were rendered by and/or on behalf of
   21   DEFENDANTS COACHILLIN, KENNETH, and WILLIAM to the PLAINTIFF
   22   and/or its respective authorized agents, include but are not limited to those material
   23   misrepresentations that COACHILLIN would be developing, constructing, and/or
   24   otherwise installing the entire infrastructure for the Development at their own
   25   expense, including all roads, electricity, gas, water, and sewer, as well as all such
   26   represented Amenities within the Development by such specifically represented
   27   dates and timelines, all as are delineated herein. Additionally, DEFENDANTS
   28   COACHILLIN, KENNETH, and WILLIAM made and/or directed such other

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    1   DEFENDANTS to make additional material misrepresentations to the PLAINTIFF
    2   and/or its respective authorized agents that each such respective parcel of land
    3   would be partially improved by DEFENDANT COACHILLIN with all such
    4   electricity, gas, water, and sewer-related utilities stubbed-into each such respective
    5   parcel, including that which is now owned by the PLAINTIFF, and that each of the
    6   parcels, including that which is owned by the Plaintiff, would be ready for
    7   construction, all at DEFENDANT COACHILLIN’s cost and expense, and thus, not
    8   at the cost and expense of the PLAINTIFF, as is set forth herein.
    9         167. PLAINTIFF is informed and believes and thereon alleges that
   10   DEFENDANTS COACHILLIN, KENNETH, and WILLIAM intentionally
   11   represented and/or directed and continued to intentionally represent and/or direct
   12   the DEFENDANTS to set forth each of the above-referenced material
   13   representations to the PLAINTIFF and/or its authorized agents throughout the
   14   course of their dealings, even though said DEFENDANTS knew that such above-
   15   referenced material representations being rendered by them were, in fact, false and
   16   misleading. PLAINTIFF is informed and believes and thereon alleges that during
   17   all relevant times herein, DEFENDANTS COACHILLIN, KENNETH, and
   18   WILLIAM harbored a secret intent to intentionally and knowingly induce the
   19   PLAINTIFF to enter into its Vacant Land Purchase Agreement with DEFENDANT
   20   COACHILLIN and to pay DEFENDANT COACHILLIN all such substantial
   21   monies set forth therein in furtherance of each of those above-referenced material
   22   representations being made by or on behalf of each such DEFENDANT, all to the
   23   benefit of such DEFENDANTS and at the PLAINTIFF’S expense and detriment.
   24         168. PLAINTIFF is informed and believes and thereon alleges that said
   25   DEFENDANTS intentionally, deceptively, and dishonestly assured the
   26   PLAINTIFF and/or its respective agents that said DEFENDANTS would abide by
   27   the terms and conditions of the parties’ Vacant Land Purchase Agreement as well
   28   as those various representations being made by and/or on behalf of each such

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    1   DEFENDANT, despite such DEFENDANTS never actually having any intention
    2   and/or ability to even do so.
    3         169. PLAINTIFF is informed and believes and thereon alleges that at all
    4   times relevant herein, the PLAINTIFF and/or its respective representatives relied
    5   upon those material representations being proffered by and/or on behalf of
    6   DEFENDANTS COACHILLIN, KENNETH, and WILLIAM, as are set forth
    7   herein, and that the PLAINTIFF and/or its respective representatives believed such
    8   material representations being set forth by and/or on behalf of said DEFENDANTS
    9   to be true. Moreover, albeit fraudulent and deceitful, such oral and written
   10   representations were made by and/or on behalf of each such applicable
   11   DEFENDANT with the intent of inducing the PLAINTIFF and/or its respective
   12   representatives to rely upon them, and such representations were material and vital
   13   to the respective transaction between the parties, as is set forth within this
   14   Complaint.    PLAINTIFF and/or its respective representatives reasonably and
   15   justifiably relied upon each of those written and oral representations being rendered
   16   by and/or on behalf of DEFENDANTS COACHILLIN, KENNETH, and
   17   WILLIAM, and in furtherance of such reasonable and justified reliance,
   18   PLAINTIFF and/or its respective representatives entered into such Vacant Land
   19   Purchase Agreement and thereafter provided DEFENDANT COACHILLIN with
   20   substantial sums of monies in furtherance thereof, all as is set forth and established
   21   herein.
   22         170. PLAINTIFF is informed and believes and thereon alleges that at all
   23   times relevant herein, that PLAINTIFF and/or its respective representatives were
   24   unaware of the falsity of DEFENDANTS COACHILLIN’S, KENNETH’S, and
   25   WILLIAM’S representations and that the PLAINTIFF and/or its respective
   26   representatives did not know such DEFENDANTS’ true intentions at the time that
   27   such parties entered into the Vacant Land Purchase Agreement and/or when
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    1   PLAINTIFF and/or its respective assignors thereafter provided DEFENDANT
    2   COACHILLIN with substantial sums of monies in furtherance thereof.
    3         171. PLAINTIFF is informed and believes and thereon alleges that
    4   DEFENDANTS COACHILLIN, KENNETH, WILLIAM, , and each of their
    5   respective representatives knew, at all relevant times herein, that their
    6   representations to the PLAINTIFF and/or its respective authorized representatives
    7   were material and deceptive when they made such dishonest representations and
    8   concealed their continuing course of illegal conduct, as such fraudulent
    9   representations and concealment of illegal conduct was necessary to induce and
   10   thereby cause the PLAINTIFF to enter into its Vacant Land Purchase Agreement
   11   with DEFENDANT COACHILLIN and thereafter provide DEFENDANT
   12   COACHILLIN with substantial sums of monies in furtherance thereof.
   13         172. PLAINTIFF is informed and believes and thereon alleges that as a
   14   direct and proximate result of DEFENDANTS COACHILLIN’S, KENNETH’S,
   15   and WILLIAM’S intentional and malicious fraud and deceit, as is set forth within
   16   this Complaint, the PLAINTIFF has been harmed and continues to be damaged in
   17   an amount to be determined at trial, but which is in excess of this Court’s minimum
   18   jurisdictional amount.
   19         173. PLAINTIFF is informed and believes and thereon alleges that the
   20   conduct of DEFENDANTS COACHILLIN, KENNETH, and WILLIAM, as
   21   described within this Complaint, was at all times relevant herein, intentional,
   22   willful, fraudulent, and induced the reliance of the PLAINTIFF and/or its respective
   23   representatives, and at all times, the PLAINTIFF is and has remained harmed due
   24   to such intentional fraudulent, deceitful, and reckless conduct of such
   25   DEFENDANTS. Consequently, PLAINTIFF is entitled to general, punitive, and
   26   exemplary damages against DEFENDANTS COACHILLIN, KENNETH, and
   27   WILLIAM in an amount to be determined at the time of trial.
   28   ///

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    1                              SIXTH CAUSE OF ACTION
    2                               Negligent Misrepresentation
    3          PLAINTIFF DHS VERDE against DEFENDANTS COACHILLIN,
    4               KENNETH, WILLIAM, and DOES 1 through 50, Inclusive
    5         174. PLAINTIFF realleges and incorporates by reference each and every
    6   allegation contained within paragraphs 1 through 173, inclusive, as if the same were
    7   fully set forth herein.
    8         175. As delineated herein, the PLAINTIFF is informed and believes and
    9   thereon alleges that prior to and at the time of the parties engaging in their
   10   transaction for the purchase and sale of the PLAINTIFF’S parcel of land within the
   11   Development, DEFENDANTS COACHILLIN, KENNETH, and WILLIAM each
   12   set forth and/or otherwise directed said DEFENDANTS to set forth a series of
   13   various oral and written material misrepresentations to the PLAINTIFF and/or its
   14   respective authorized representatives concerning the Development. Although each
   15   of the aforementioned representations were expressly represented by and/or
   16   otherwise on behalf of and/or otherwise under the direction of each such
   17   DEFENDANT to the PLAINTIFF and/or its authorized representatives as a true
   18   fact in an effort to induce and thereby cause the PLAINTIFF and/or its respective
   19   representatives to enter into its Vacant Land Purchase Agreement with
   20   DEFENDANT          COACHILLIN           and     thereafter    provide     DEFENDANT
   21   COACHILLIN with substantial sums of monies in furtherance thereof, such written
   22   and oral representations being rendered by and/or otherwise under the direction of
   23   DEFENDANTS COACHILLIN, KENNETH, and WILLIAM were actually false.
   24         176. In the alternative to the allegations set forth within this Complaint,
   25   PLAINTIFF is otherwise informed and believes and thereon alleges that while
   26   DEFENDANTS COACHILLIN, KENNETH, and WILLIAM may have honestly
   27   believed that such oral and written representations were true, that said
   28   DEFENDANTS, as the parties who would have actual knowledge of the truth of

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    1   all such factual representations, had no actual reasonable grounds to believe that
    2   such representations were true.
    3         177. PLAINTIFF is informed and believes and thereon alleges that
    4   DEFENDANTS COACHILLIN, KENNETH, and WILLIAM intended to induce
    5   the PLAINTIFF and/or its authorized representatives in entering into the
    6   transactions set forth within this Complaint and thereby provide DEFENDANT
    7   COACHILLIN with substantial sums of monies in furtherance thereof, in reliance
    8   upon their material misrepresentations. PLAINTIFF is informed and believes and
    9   thereon alleges that each such DEFENDANT knew or should have known that
   10   because of their representations, PLAINTIFF and/or its respective representatives
   11   would rely upon said representations being made to it by and/or on behalf of said
   12   DEFENDANTS and thereby agreed to enter into the transactions set forth within
   13   this Complaint in reliance upon said misrepresentations.
   14         178. PLAINTIFF is informed and believes and thereon alleges that at all
   15   times relevant herein, the PLAINTIFF was unaware of the falsity of
   16   DEFENDANTS            COACHILLIN’S,            KENNETH’S,           and     WILLIAM’S
   17   representations at the time they were made, and thus, the PLAINTIFF and/or its
   18   authorized representatives reasonably relied upon said DEFENDANTS’
   19   representations.
   20         179. PLAINTIFF is informed and believes and thereon alleges that as a
   21   direct and proximate result of DEFENDANTS COACHILLIN’S, KENNETH’S,
   22   and WILLIAM’S misrepresentations, as are set forth within this Complaint, the
   23   PLAINTIFF has been harmed and continues to be damaged in an amount to be
   24   determined at trial, but which is in excess of this Court’s minimum jurisdictional
   25   amount.
   26         180. PLAINTIFF is informed and believes and thereon alleges that the
   27   misrepresentations of said DEFENDANTS, as described within this Complaint,
   28   induced the reliance of the PLAINTIFF and/or its authorized representatives, and

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    1   at all times set forth herein, the PLAINTIFF is and continues to remain harmed.
    2   Consequently, the PLAINTIFF is entitled to general and compensatory damages
    3   against DEFENDANTS COACHILLIN, KENNETH, and WILLIAM in an amount
    4   to be determined at the time of trial.
    5

    6                             SEVENTH CAUSE OF ACTION
    7                                   Fraud - Concealment
    8   PLAINTIFF DHS VERDE against DEFENDANTS COACHILLIN, KENNETH,
    9      KATHERINE, WILLIAM, MICHAEL, and DOES 1 through 50, Inclusive
   10         181. PLAINTIFF realleges and incorporates by reference each and every
   11   allegation contained within paragraphs 1 through 180, inclusive, as if the same were
   12   fully set forth herein.
   13         182. As is previously set forth herein, PLAINTIFF is the owner of a parcel
   14   of land within the Development commonly known as “Parcel 28.”
   15         183. Prior to such date that the PLAINTIFF entered into its Vacant Land
   16   Purchase Agreement for the purchase and sale of its parcel of land within the
   17   Development, DEFENDANTS COACHILLIN, KENNETH, KATHERINE,
   18   WILLIAM, and MICHAEL intentionally concealed and/or otherwise caused such
   19   other DEFENDANTS and/or their respective agents to conceal from the
   20   PLAINTIFF and/or its authorized representatives a series of material facts
   21   concerning their potential purchase of land as well as that which was to occur within
   22   the Development. For example, as is set forth throughout this Complaint, at all
   23   relevant times set forth herein, such DEFENDANTS concealed, suppressed, and/or
   24   otherwise withheld the material fact that such DEFENDANTS would not actually
   25   be developing, constructing, and/or otherwise installing all such previously
   26   represented utilities and/or Amenities, in the manner and within the timelines
   27   previously represented, nor were such DEFENDANTS actually going to be
   28   developing, constructing, and/or otherwise installing all such requisite and

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    1   previously represented and agreed-upon infrastructure for the Development and
    2   that it was said DEFENDANTS’ actual intent to thereafter attempt to require and
    3   demand that the PLAINTIFF pay significant additional monies and fees, all of
    4   which were further concealed, suppressed, and/or otherwise intentionally not
    5   disclosed to the PLAINTIFF throughout the process of its purchase of land within
    6   the Development.
    7         184. Additionally, as is further set forth herein, throughout the process of
    8   the PLAINTIFF’S purchase of land within the Development, DEFENDANTS
    9   COACHILLIN, KENNETH, KATHERINE, WILLIAM, and MICHAEL further
   10   intentionally concealed and/or otherwise caused such other DEFENDANTS and/or
   11   their respective agents to conceal from the PLAINTIFF and/or its authorized
   12   representatives the actual status of and the inability for such DEFENDANTS to
   13   actually obtain and/or otherwise have access to the requisite utilities and other
   14   infrastructure which was necessary for the PLAINTIFF to use so as to be able to
   15   sufficiently develop and construct the requisite improvements upon its parcel of
   16   land, and thereafter operate within, in order to be able to further its business
   17   operations. For example, PLAINTIFF is informed and believes and thereon alleges
   18   that, despite representing to the PLAINTIFF and/or its authorized representatives
   19   that PLAINTIFF would have access to electrical utilities by no later than the end
   20   of 2018, such DEFENDANTS knew that it was actually an impossibility for the
   21   PLAINTIFF to obtain such electrical access within the time-periods previously
   22   represented by said DEFENDANTS to the PLAINTIFF and/or its authorized
   23   representatives, and thus, such DEFENDANTS concealed and/or otherwise caused
   24   such other DEFENDANTS and/or their respective agents to conceal such material
   25   facts from the PLAINTIFF and/or its authorized representatives.
   26         185. PLAINTIFF is informed and believes and thereon alleges that due to
   27   the nature of the relationship and actions and/or inactions of the parties, as are set
   28   forth herein, all such factual occurrences which were and/or were otherwise caused

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    1   to be concealed and suppressed by DEFENDANTS COACHILLIN, KENNETH,
    2   KATHERINE, WILLIAM, and MICHAEL were solely known by said
    3   DEFENDANTS, and thus, could not reasonably be discovered by the PLAINTIFF.
    4         186. PLAINTIFF is informed and believes and thereon alleges that
    5   DEFENDANTS COACHILLIN, KENNETH, KATHERINE, WILLIAM, and
    6   MICHAEL knowingly, intentionally, and willfully concealed and/or otherwise
    7   caused such DEFENDANTS and/or their respective agents to conceal and suppress
    8   such material facts and circumstances from the PLAINTIFF and/or its authorized
    9   representatives as such DEFENDANTS knew that if they had not concealed and
   10   suppressed such material information from the PLAINTIFF and/or its
   11   representatives, that PLAINTIFF and/or its authorized representatives would not
   12   have acted in the manner that they had, including without limitation, purchasing its
   13   parcel of land for such agreed-upon purchase price. As such, said DEFENDANTS
   14   all acted in a concerted and intentional effort to substantially benefit themselves
   15   and their respective interests to the significant detriment of the PLAINTIFF.
   16         187. PLAINTIFF is informed and believes and thereon alleges that, as is
   17   set forth herein, PLAINTIFF and/or its authorized representatives were unaware of
   18   the concealed and suppressed facts and circumstances relating to the
   19   DEFENDANTS’ actual intentions, the overall Development, the ability for all such
   20   utilities to be delivered to the PLAINTIFF’S parcel, as promised, and its parcel of
   21   land located therein.      Moreover, had the PLAINTIFF and/or its authorized
   22   representatives known and/or otherwise been apprised of all such facts which were
   23   and/or were otherwise caused to be intentionally and deliberately concealed,
   24   suppressed, and withheld by DEFENDANTS COACHILLIN, KENNETH,
   25   KATHERINE, WILLIAM, and MICHAEL, the PLAINTIFF and/or its authorized
   26   representatives would not have acted in the manner that they did. Specifically, had
   27   such DEFENDANTS disclosed each of those material facts and circumstances to
   28   the PLAINTIFF and/or its authorized representatives, the PLAINTIFF would not

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      1   have chosen to close upon its purchase of land within the Development upon the
      2   terms and conditions set forth within its Vacant Land Purchase Agreement.
      3         188. As a direct and proximate result of DEFENDANTS COACHILLIN’S,
      4   KENNETH’S, KATHERINE’S, WILLIAM’S, and MICHAEL’S intentional and
      5   deliberate concealment and suppression of all such material facts and
      6   circumstances, as is set forth herein, PLAINTIFF has and continues to be harmed.
      7   Consequently, PLAINTIFF is entitled to general, punitive, and exemplary damages
      8   against DEFENDANTS COACHILLIN, KENNETH, KATHERINE, WILLIAM,
      9   and MICHAEL, in an amount to be determined at trial.
     10

     11                              EIGHTH CAUSE OF ACTION
     12      Violation of Racketeering Influenced and Corruption Organization Act
     13                                          (“RICO”)
     14                                  [18 U.S.C. §1961 et seq.]
     15          PLAINTIFF DHS VERDE against DEFENDANTS COACHILLIN,
     16               ENERGY, ECOMASTER, POA, KENNETH, WILLIAM,
     17                             KIRSTEN, KATHERINE, MICHAEL,
     18                              and DOES 1 through 50, Inclusive
     19         189. PLAINTIFF realleges and incorporates by reference each and every
     20   allegation contained within paragraphs 1 through 188, inclusive, as if the same were
     21   fully set forth herein.
     22         190. PLAINTIFF          and    DEFENDANTS            COACHILLIN,         ENERGY,
     23   ECOMASTER, POA, KENNETH, WILLIAM, KIRSTEN, KATHERINE, and
     24   MICHAEL are each “persons,” as that term is defined in 18 U.S.C. § 1961(3).
     25         191. PLAINTIFF is informed and believes and thereon alleges that at all
     26   relevant times, in violation of 18 U.S.C. § 1962(c), DEFENDANTS
     27   COACHILLIN, ENERGY, ECOMASTER, POA, KENNETH, WILLIAM,
     28   KIRSTEN, KATHERINE, and MICHAEL engaged and/or participated, directly

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      1   and/or indirectly, in the affairs of an association-in-fact enterprise identified herein,
      2   the affairs of which affected interstate commerce through a pattern of racketeering
      3   activity.
      4          192. PLAINTIFF is informed and believes and thereon alleges that
      5   DEFENDANTS COACHILLIN, ENERGY, ECOMASTER, POA, KENNETH,
      6   WILLIAM, KIRSTEN, KATHERINE, and MICHAEL, by and through their own
      7   conduct and participation and/or through their associations in fact, engaged and/or
      8   participated in, directly or indirectly, a pattern of racketeering activity as defined
      9   in 18 U.S.C. § 1961(1). Such racketeering activity includes, but is not limited to,
     10   violation on at least two occasions of 18 U.S.C. §§ 1951 (extortion), 1341 (mail
     11   fraud), 1343 (wire fraud), 1513 (retaliating against a victim), all during the relevant
     12   time periods as set forth within this Complaint, by and through, among other things,
     13   using the mails, telephone, internet communications, e-mail, and/or other devices
     14   and methods to threaten PLAINTIFF.
     15          193. DEFENDANTS COACHILLIN’S, ENERGY’S, ECOMASTER’S,
     16   POA’S, KENNETH’S, WILLIAM’S, KIRSTEN’S, KATHERINE’S, and
     17   MICHAEL’S association in fact with one another in the continued conduct of their
     18   business, as is more fully set forth within this Complaint, constitutes an
     19   “Enterprise” within the meaning of RICO.
     20          194. PLAINTIFF is informed and believes and thereon alleges that
     21   DEFENDANTS COACHILLIN’S, ENERGY’S, ECOMASTER’S, POA’S,
     22   KENNETH’S, WILLIAM’S, KIRSTEN’S, KATHERINE’S, and MICHAEL’S
     23   conduct, actions, and/or inactions, as more fully described herein, establishes that
     24   all such DEFENDANTS devised and/or intended to devise a scheme or artifice to
     25   defraud and/or injure, as alleged herein, through the use of the United States mails
     26   and wires in interstate and foreign commerce and otherwise used fraudulent and
     27   deceptive means as herein alleged to unlawfully obtain the property and/or monies
     28   of the PLAINTIFF.

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      1         195. PLAINTIFF is informed and believes and thereon alleges that, at all
      2   relevant times herein, each of the DEFENDANT members of the Enterprise were
      3   involved in the continuing coordination of activities between the Individual
      4   DEFENDANTS and the Enterprise. As to each DEFENDANT, there was a
      5   common communication network by which information concerning the Enterprise
      6   was exchanged on a regular basis. PLAINTIFF is informed and believes and
      7   thereon alleges that typically such communications occurred by the use of
      8   electronic mail, text message, and/or the telephone in which each such
      9   DEFENDANT planned and coordinated the operation of the Enterprise as alleged
     10   herein and ran its continuing operation.
     11         196. PLAINTIFF is informed and believes and thereon alleges that
     12   DEFENDANTS’ illegal conduct and wrongful practices were carried out by an
     13   array of employees, as well as by consultants, agents, and co-conspirators of said
     14   DEFENDANTS, who also necessarily relied upon frequent transfers of documents
     15   and information and funds by the use of U.S. mails and interstate wire facilities,
     16   which included without limitation, the use of electronic mail, text message, and/or
     17   the telephone.
     18         197. PLAINTIFF is informed and believes and thereon alleges that each of
     19   the DEFENDANTS’ intentional, malicious, deceptive, and concerted attempts to
     20   gain substantial monies from the PLAINTIFF that the DEFENDANTS were
     21   otherwise never entitled to, all through their unlawful conduct as is alleged within
     22   this Complaint, is an act of wire and mail fraud. Alleging each of the precise dates
     23   each of the intentional, malicious, deceptive, and concerted efforts by the
     24   DEFENDANTS would be unreasonably burdensome and to some extent not
     25   possible without conducting discovery.           Many of the precise dates of said
     26   DEFENDANTS’ uses of the U.S. mails and interstate wire facilities (and
     27   corresponding RICO predicate acts of violations of 18 U.S.C. Section 1951
     28   (extortion), and violations of 18 U.S.C. Section 1341 (mail fraud), and violations

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      1   of 18 U.S.C. Section 1343 (wire fraud) and violations of 18 U.S.C. Section 1513
      2   (retaliating against a victim) have been hidden and cannot be alleged without access
      3   to the each of the DEFENDANTS’ books and records. Indeed, an essential part of
      4   the successful operation of the Enterprise alleged herein depended upon secrecy
      5   and said DEFENDANTS took deliberate steps to conceal their wrongdoing and to
      6   pressure and influence those operating outside of the Enterprise to not reveal
      7   information learned or revealed to them by unlawful means. PLAINTIFF has,
      8   however, described herein more than two occasions on which the RICO predicate
      9   acts of mail fraud, wire fraud, extortion, and retaliation against the PLAINTIFF
     10   occurred as well as how those acts by said DEFENDANTS were in furtherance of
     11   the Enterprise.
     12         198. Under the provisions of 18 U.S.C. § 1964(c), DEFENDANTS
     13   COACHILLIN, ENERGY, ECOMASTER, POA, KENNETH, WILLIAM,
     14   KIRSTEN, KATHERINE, and MICHAEL are jointly and severally liable to the
     15   PLAINTIFF for three times the damages that PLAINTIFF has sustained, plus all
     16   such additional costs and fees incurred by the PLAINTIFF in bringing this suit,
     17   including all reasonable attorneys' fees.
     18         199. As a direct and proximate result of DEFENDANTS COACHILLIN’S,
     19   ENERGY’S,         ECOMASTER’S,            POA’S,       KENNETH’S,           WILLIAM’S,
     20   KIRSTEN’S, KATHERINE’S, and MICHAEL’S racketeering activities as
     21   described herein, PLAINTIFF has suffered injury to its businesses and property in
     22   an amount to be proven at trial, but which exceeds this Court’s minimum
     23   jurisdictional amount.
     24   ///
     25   ///
     26   ///
     27   ///
     28   ///

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      1                               NINTH CAUSE OF ACTION
      2                               Conspiracy To Violate RICO
      3          PLAINTIFF DHS VERDE against DEFENDANTS COACHILLIN,
      4                ENERGY, ECOMASTER, POA, KENNETH, WILLIAM,
      5                             KIRSTEN, KATHERINE, MICHAEL,
      6                              and DOES 1 through 50, Inclusive
      7         200. PLAINTIFF realleges and incorporates by reference each and every
      8   allegation contained within paragraphs 1 through 199, inclusive, as if the same were
      9   fully set forth herein.
     10         201. PLAINTIFF is informed and believes and thereon alleges that
     11   DEFENDANTS COACHILLIN, ENERGY, ECOMASTER, POA, KENNETH,
     12   WILLIAM, KIRSTEN, KATHERINE, and MICHAEL conspired and agreed
     13   among themselves to violate 18 U.S.C. §1962 as set forth in the Eighth Cause of
     14   Action above.
     15         202. PLAINTIFF is informed and believes and thereon alleges that
     16   DEFENDANTS COACHILLIN, ENERGY, ECOMASTER, POA, KENNETH,
     17   WILLIAM, KIRSTEN, KATHERINE, and MICHAEL further agreed to violate
     18   said statute for the purpose of destroying and/or diminishing PLAINTIFF’S
     19   business and financial interests and to otherwise injure the PLAINTIFF, all to the
     20   benefit of said DEFENDANTS so as to enrich themselves.
     21         203. PLAINTIFF is informed and believes and thereon alleges that at all
     22   times relevant herein, DEFENDANTS COACHILLIN, ENERGY, ECOMASTER,
     23   POA, KENNETH, WILLIAM, KIRSTEN, KATHERINE, and MICHAEL, did and
     24   engaged in all such conduct, actions and/or inactions as alleged herein pursuant to,
     25   and in furtherance of, their conspiracy, scheme, enterprise, and their above-alleged
     26   agreement.
     27         204. PLAINTIFF is informed and believes, and thereon alleges that each of
     28   the aforementioned DEFENDANTS furthered the conspiracy, scheme, and/or

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      1   enterprise by cooperation with, and/or lent aid and encouragement to, and/or
      2   ratified and adopted the conduct, actions and/or inactions, as alleged herein, of each
      3   of the other DEFENDANTS.                DEFENDANTS COACHILLIN, ENERGY,
      4   ECOMASTER, POA, KENNETH, WILLIAM, KIRSTEN, KATHERINE, and
      5   MICHAEL are therefore liable for all of the acts, omissions, and/or breaches of the
      6   others, all of which were done in furtherance of the conspiracy and for the benefit
      7   of any or all of the co-conspirators.
      8         205. PLAINTIFF is informed and believes and thereon alleges that
      9   DEFENDANTS COACHILLIN, ENERGY, ECOMASTER, POA, KENNETH,
     10   WILLIAM, KIRSTEN, KATHERINE, and MICHAEL continue through the
     11   present to commit overt acts in furtherance of the above-described conspiracy. As
     12   a direct and proximate result of this conspiracy and agreement, PLAINTIFF has
     13   been damaged, and continues to be damaged, all in an amount to be proven at the
     14   time of trial, but which is in excess of this Court’s minimum jurisdictional amount.
     15

     16                              TENTH CAUSE OF ACTION
     17                  Real Estate Seller’s Nondisclosure of Material Facts
     18           PLAINTIFF DHS VERDE against DEFENDANTS COACHILLIN,
     19                   KENNETH, KATHERINE, WILLIAM, MICHAEL,
     20                             and DOES 1 through 50, Inclusive
     21         206. PLAINTIFF realleges and incorporates by reference each and every
     22   allegation contained within paragraphs 1 through 205, inclusive, as if the same were
     23   fully set forth herein.
     24         207. As is delineated herein, PLAINTIFF is the owner of a parcel of land
     25   within the Development commonly known as “Parcel 28.” PLAINTIFF purchased
     26   said parcel of land from DEFENDANT COACHILLIN.
     27         208. Prior to the PLAINTIFF entering into its Vacant Land Purchase
     28   Agreement for the purchase and sale of its parcel of land within the Development,

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      1   DEFENDANTS COACHILLIN, KENNETH, KATHERINE, WILLIAM, and
      2   MICHAEL failed to disclose and/or otherwise caused such other DEFENDANTS
      3   to fail to disclose to the PLAINTIFF a series of material facts concerning its
      4   purchase of land as well as that which was to occur within the Development. For
      5   example, each such DEFENDANT failed to disclose to the PLAINTIFF and/or its
      6   authorized representatives that said DEFENDANTS would not actually be
      7   developing, constructing, and/or otherwise installing all such represented
      8   Amenities and utilities in the manner and within the timelines previously
      9   represented, nor were such DEFENDANTS actually going to be developing,
     10   constructing, and/or otherwise installing all such requisite, represented, and agreed-
     11   upon infrastructure for the Development, and that said DEFENDANTS actually
     12   intended to thereafter attempt to require and demand that the PLAINTIFF pay
     13   significant additional monies and fees, which were also never disclosed, in an effort
     14   to pay for portions of the Development’s requisite infrastructure.
     15         209. PLAINTIFF is informed and believes and thereon alleges that the
     16   material information being intentionally undisclosed by such DEFENDANTS from
     17   the PLAINTIFF has and continues to significantly affect the value of the
     18   PLAINTIFF’S respective parcels of land as well as the PLAINTIFF’S desire to
     19   purchase said parcels of land. PLAINTIFF is informed and believes and thereon
     20   alleges that DEFENDANTS COACHILLIN, KENNETH, KATHERINE,
     21   WILLIAM, and MICHAEL each knew that the material facts being intentionally
     22   undisclosed by them to the PLAINTIFF would significantly reduce the value,
     23   desirability, and/or marketability of the PLAINTIFF’S parcel of land, as well as
     24   PLAINTIFF’S ability to sufficiently and timely construct and use improvements
     25   upon its parcel, and thus, said DEFENDANTS intentionally failed to disclose
     26   and/or otherwise caused such other DEFENDANTS to fail to disclose such material
     27   facts to the PLAINTIFF, all in a concerted and intentional effort to substantially
     28   benefit themselves and their respective interests.

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      1           210. PLAINTIFF is informed and believes and thereon alleges that prior to
      2   the closing of each of the transactions which are set forth within this Complaint,
      3   DEFENDANTS COACHILLIN, KENNETH, KATHERINE, WILLIAM, and
      4   MICHAEL knowingly and intentionally deceived the PLAINTIFF and/or
      5   otherwise knowingly and intentionally did not disclose material facts and/or
      6   otherwise caused for the nondisclosure of such material facts from the PLAINTIFF,
      7   all to the significant detriment and damage of the PLAINTIFF.
      8           211. PLAINTIFF is informed and believes and thereon alleges that at no
      9   time prior to the closing of the transaction set forth within this Complaint did the
     10   PLAINTIFF and/or its authorized representatives know of nor could they
     11   reasonably have discovered the existence of such material facts which were being
     12   knowingly and intentionally undisclosed by and/or on behalf of such
     13   DEFENDANTS.
     14           212. PLAINTIFF is informed and believes and thereon alleges that at all
     15   times     relevant    herein,    DEFENDANTS             COACHILLIN,          KENNETH,
     16   KATHERINE, WILLIAM, and MICHAEL each knew that the PLAINTIFF did not
     17   know nor could they have reasonably discovered all such material facts being
     18   undisclosed by said DEFENDANTS.
     19           213. PLAINTIFF is informed and believes and thereon alleges that had
     20   DEFENDANTS COACHILLIN, KENNETH, KATHERINE, WILLIAM, and
     21   MICHAEL disclosed and/or cause to be disclosed all such previously undisclosed
     22   material facts to the PLAINTIFF prior to such time that the PLAINTIFF entered
     23   into its Vacant Land Purchase Agreement that the PLAINTIFF would not have
     24   entered into such Vacant Land Purchase Agreement based upon the terms and
     25   conditions set forth therein.
     26           214. As a direct and proximate result of such DEFENDANTS’ intentional
     27   nondisclosure of material facts to the PLAINTIFF, as is set forth herein, the
     28   PLAINTIFF has been harmed and continues to be damaged in an amount to be

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      1   determined at trial, but which is in excess of this Court’s minimum jurisdictional
      2   amount. Further, as is set forth herein, the PLAINTIFF has been and continues to
      3   be harmed and damaged by such DEFENDANTS’ unlawful and improper attempts
      4   to   charge    significant   additional,     unfounded,    and     unilaterally   imposed
      5   infrastructure-related charges upon the PLAINTIFF, despite the fact that such
      6   DEFENDANTS have never even provided electricity, nor have they provided or
      7   intended to ever provide, the requisite onsite interim sewage septic system which
      8   was to service the PLAINTIFF’S parcel of land.
      9         215. PLAINTIFF is informed and believes and thereon alleges that
     10   DEFENDANTS COACHILLIN’S, KENNETH’S, KATHERINE’S, WILLIAM’S,
     11   and MICHAEL’S conduct in failing to disclose and/or otherwise causing for such
     12   failure to disclose all such material facts to the PLAINTIFF, as is set forth herein,
     13   was and continues to be a substantial factor in causing the PLAINTIFF’S harms
     14   and damages.
     15         216. The       conduct,    actions,    and/or    inactions    of    DEFENDANTS
     16   COACHILLIN, KENNETH, KATHERINE, WILLIAM, and MICHAEL, as are set
     17   forth within this Complaint, were, have been, and continue to be despicable and
     18   were intentionally carried on by each of them with willful and conscious disregard
     19   for the PLAINTIFF’S rights and/or interests. DEFENDANTS COACHILLIN,
     20   KENNETH, KATHERINE, WILLIAM, and MICHAEL were aware of the
     21   probable consequences of their conduct and willfully and deliberately failed to
     22   engage in actions to avoid these consequences. The conduct, actions, and/or
     23   inactions of DEFENDANTS COACHILLIN, KENNETH, KATHERINE,
     24   WILLIAM, and MICHAEL constitutes malice, oppression, and/or fraud such that
     25   PLAINTIFF is entitled to recover punitive damages against DEFENDANTS
     26   COACHILLIN, KENNETH, KATHERINE, WILLIAM, and MICHAEL. As the
     27   owners,    principles, directors,      and    managing     agents    of    DEFENDANT
     28   COACHILLIN, the conduct, actions, and/or inactions of DEFENDANT

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      1   COACHILLIN were known, ratified, approved, directed, and supported by
      2   DEFENDANTS KENNETH and WILLIAM.                          Consequently, PLAINTIFF is
      3   entitled to general, punitive, and exemplary damages against DEFENDANTS
      4   COACHILLIN, KENNETH, KATHERINE, WILLIAM, and MICHAEL in an
      5   amount to be determined at the time of trial.
      6

      7                             ELEVENTH CAUSE OF ACTION
      8                 Intentional Interference with Contractual Relations
      9           PLAINTIFF against DEFENDANTS COACHILLIN, KENNETH,
     10                             and DOES 1 through 50, Inclusive
     11         217. PLAINTIFF realleges and incorporates by reference each and every
     12   allegation contained within paragraphs 1 through 216, inclusive, as if the same were
     13   fully set forth herein.
     14         218. As is set forth herein, in or about September 2021, PLAINTIFF and
     15   third-party California New Co, LLC entered into that certain written California
     16   New Co Agreement whereby PLAINTIFF and California New Co, LLC agreed that
     17   PLAINTIFF would sell to California New Co, LLC and that California New Co,
     18   LLC would purchase from PLAINTIFF the PLAINTIFF’S parcel of land within
     19   the Development, all improvements and structures previously constructed by the
     20   PLAINTIFF thereon, as well as all of the PLAINTIFF’S other business properties
     21   and assets located therein for the total purchase price of Three Million Six Hundred
     22   Thousand Dollars and 0/100 cents ($3,600,000.00).
     23         219. PLAINTIFF is informed and believes and thereon alleges that
     24   following the time that PLAINTIFF and third-party California New Co, LLC
     25   entered into the California New Co Agreement that DEFENDANTS
     26   COACHILLIN and KENNETH each became aware of said agreement and were
     27   even informed of said agreement by California New Co, LLC.
     28


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      1         220. As is set forth herein, PLAINTIFF is informed and believes and
      2   thereon alleges that DEFENDANTS COACHILLIN and KENNETH, with
      3   knowledge of said California New Co Agreement, engaged in a series of intention
      4   and egregious actions in a concerted and intentional effort to sabotage, disrupt,
      5   and/or otherwise interfere with the California New Co Agreement, and thereby
      6   prevented California New Co, LLC’s performance of its obligations under said
      7   agreement, all to the significant detriment and damage of the PLAINTIFF.
      8         221. PLAINTIFF is informed and believes and thereon alleges that, at all
      9   times relevant herein, DEFENDANT COACHILLIN’S and KENNETH’S
     10   egregious and intentional actions were designed to disrupt and did cause disruption
     11   and interference with the performance of the California New Co Agreement.
     12         222. PLAINTIFF is informed and believes and thereon alleges that as a
     13   direct and proximate result of the intentional and calculated actions being engaged
     14   in by DEFENDANTS COACHILLIN and KENNETH, as are set forth herein, that
     15   the California New Co Agreement which previously existed was interfered with
     16   and terminated by California New Co, LLC, all of which caused the PLAINTIFF
     17   to suffer significant damages. Consequently, PLAINTIFF is entitled to general and
     18   compensatory damages against DEFENDANTS COACHILLIN and KENNETH in
     19   an amount to be determined at the time of trial.
     20

     21                             TWELFTH CAUSE OF ACTION
     22                                     Declaratory Relief
     23          PLAINTIFF DHS VERDE against DEFENDANTS COACHILLIN,
     24                POA, KENNETH, WILLIAM, KIRSTEN, KATHERINE,
     25                             and DOES 1 through 50, Inclusive
     26         223. PLAINTIFF realleges and incorporates by reference each and every
     27   allegation contained within paragraphs 1 through 222, inclusive, as if the same were
     28   fully set forth herein.

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      1          224. As      is   set   forth   herein,    PLAINTIFF        and     DEFENDANT
      2   COACHILLIN, as well as DEFENDANT KENNETH on behalf of DEFENDANT
      3   COACHILLIN, entered into the Vacant Land Purchase Agreement for the purchase
      4   and sale of the parcel of land within the Development commonly known as “Parcel
      5   28.”
      6          225. As is set forth herein, to date, PLAINTIFF has received demands by
      7   the DEFENDANTS for the payment of substantial fees and costs that the
      8   PLAINTIFF is not even legally obligated to pay pursuant to its Vacant Land
      9   Purchase Agreement, the CC&R’s, as well as those other documents governing the
     10   Development.
     11          226. PLAINTIFF has further been levied excessive, disproportionate, and
     12   improper assessments and fees by DEFENDANTS POA, COACHILLIN,
     13   KENNETH, WILLIAM, KIRSTEN, and KATHERINE in order to fund
     14   DEFENDANTS COACHILLIN’S, KENNETH’S, and WILLIAM’S Initial
     15   Common Infrastructure and Common Area Expenses at the Development, as well
     16   as to otherwise impermissibly and improperly benefit said DEFENDANTS.
     17          227. An actual controversy has now arisen and exists between
     18   DEFENDANTS POA, COACHILLIN, KENNETH, WILLIAM, KIRSTEN,
     19   KATHERINE, and the PLAINTIFF concerning their respective rights and
     20   obligations associated with the Vacant Land Purchase Agreement and the CC&R’s,
     21   as well as the parties’ obligations to pay for assessments, costs, and/or other fees
     22   concerning the Development. PLAINTIFF contends that pursuant to its Vacant
     23   Land Purchase Agreement it is only obligated to pay the agreed upon Purchase
     24   Price and costs as are delineated therein. DEFENDANTS POA, COACHILLIN,
     25   KENNETH, WILLIAM, KIRSTEN, and KATHERINE erroneously contend that
     26   the PLAINTIFF is also required to pay substantial additional fees and costs which
     27   were never disclosed to the PLAINTIFF, including without limitation, those
     28   relating to “stub-in” connection fees.

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      1         228. There exists a substantial controversy of sufficient immediacy and
      2   reality to warrant declaratory relief in favor of the PLAINTIFF.
      3         229. A judicial declaration is necessary and appropriate pursuant to Cal.
      4   Civ. Proc. Code Section 1060.
      5

      6                         THIRTEENTH CAUSE OF ACTION
      7                   Unlawful and Unfair Business Acts and Practices
      8                             CA Bus. & Prof. Code §17200, et seq.
      9          PLAINTIFF DHS VERDE against DEFENDANTS COACHILLIN,
     10                   ECOMASTER, ENERGY, KENNETH, WILLIAM,
     11                               and DOES 1 through 50, Inclusive
     12         230. PLAINTIFF realleges and incorporates by reference each and every
     13   allegation contained within paragraphs 1 through 229, inclusive, as if the same were
     14   fully set forth herein.
     15         231. The primary purpose of California’s Unfair Competition Law
     16   (“UCL”) is to preserve fair business competition.
     17         232. By engaging in the acts, inactions, and/or practices as alleged
     18   throughout this Complaint, DEFENDANTS COACHILLIN, ECOMASTER,
     19   ENERGY, KENNETH, and WILLIAM have committed acts of unfair competition,
     20   as that term is defined and used in Cal. Bus. & Prof. Code §17200, et seq., which
     21   prohibits “any unlawful, unfair, or fraudulent business act or practice…”
     22         233. The UCL imposes strict liability. As such, PLAINTIFF need not
     23   prove that DEFENDANTS COACHILLIN, ECOMASTER, ENERGY, and/or
     24   KENNETH intentionally or negligently engaged in unlawful, unfair, or fraudulent
     25   business practices, but rather, only that such practices occurred.
     26         234. Under the UCL, a business act or practice is “unfair” if it offends an
     27   established public policy or is immoral, unethical, oppressive, unscrupulous or
     28   substantially injurious to consumers, and that unfairness is determined by weighing

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      1   the reasons, justifications, and motives of such act or practice against the impact or
      2   gravity of the harm to the alleged victims.
      3         235. Under the UCL, a business act or practice is “fraudulent” if it is likely
      4   to deceive members of the consuming public.
      5         236. Under the UCL, a business act or practice is “unlawful” if it is
      6   forbidden by law.
      7         237. PLAINTIFF is within the class intended to be protected by Cal. Bus.
      8   & Prof. Code §17200, et seq.
      9         238. As is alleged herein DEFENDANTS COACHILLIN, ECOMASTER,
     10   ENERGY, KENNETH, and WILLIAM have engaged in a series of unlawful and
     11   unfair business practices which have not only caused and continue to cause the
     12   PLAINTIFF to be substantially harmed and damaged, but which also have caused
     13   the general public to be substantially harmed and damaged. For example, as is
     14   previously set forth herein by the PLAINTIFF, the PLAINTIFF is informed and
     15   believes and thereon alleges that despite DEFENDANT COACHILLIN being
     16   expressly obligated by multiple governmental agencies to develop and construct
     17   the overall Development and all infrastructure relating thereto in accordance with
     18   those specific requirements which are set forth within the above-referenced
     19   Development-related permits, plans, orders, agreements, and/or the like,
     20   DEFENDANT COACHILLIN has failed and continues to fail to do so. Moreover,
     21   as is also set forth herein, PLAINTIFF is informed and believes and thereon alleges
     22   that DEFENDANTS COACHILLIN, ECOMASTER, KENNETH, and WILLIAM
     23   have been and continue to unlawfully dispose of and/or otherwise knowingly allow
     24   for the unlawful disposal of contaminated cannabis wastewater and used / fertilized
     25   cannabis soil by spraying and/or otherwise dumping all such contaminated
     26   cannabis waste throughout the Development as well as upon those lands which are
     27   adjacent to the Development but which are believed to be owned by DEFENDANT
     28   WILLIAM, all of which is not only unlawful, but are also extremely detrimental

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      1   and damaging to the Development as well as the health and safety of those within
      2   the Development, and which are also extremely detrimental and harmful to local
      3   environmental conditions and can have grave negative consequences for the local
      4   community as a whole should such contaminated and unlawfully disposed of
      5   cannabis waste infiltrate the local ground water wells and airways.
      6         239. Additionally, as is also set forth herein, PLAINTIFF is informed and
      7   believes, and thereon alleges that said DEFENDANTS, through the use and conduit
      8   of DEFENDANT ENERGY, have been and continue to operate that Offsite
      9   Wastewater Treatment and Disposal System upon DEFENDANT WILLIAM’S
     10   land, which is not even properly and/or fully permitted by all necessary
     11   governmental agencies, nor is DEFENDANT ENERGY or                          DEFENDANT
     12   WILLIAM even the “permitted Discharger” to operate said Offsite Wastewater
     13   Treatment and Disposal System, and thus, DEFENDANT ENERGY and
     14   DEFENDANT WILLIAM are engaging in unlawful business practices.
     15         240. By engaging in the acts and practices that are alleged throughout this
     16   Complaint,     DEFENDANTS            COACHILLIN,          ECOMASTER,           ENERGY,
     17   KENNETH, and WILLIAM have committed acts of unfair competition, as that
     18   term is defined and used in the UCL.
     19         241. Pursuant to the UCL, PLAINTIFF is entitled to preliminary and
     20   permanent injunctive relief and an order against DEFENDANTS COACHILLIN,
     21   ECOMASTER, ENERGY, KENNETH, and WILLIAM to cause each of them to
     22   cease their unlawful acts and practices, as well as any remedies that the Court may
     23   find equitable.
     24   ///
     25   ///
     26   ///
     27   ///
     28   ///

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      1                                  PRAYER FOR RELIEF
      2            WHEREFORE,           PLAINTIFF          prays      for     judgment        against
      3   DEFENDANTS and DOES 1 through 50, jointly and severally, as follows:
      4      I.     On the First Cause of Action for Breach of Contract Against
      5             DEFENDANT COACHILLIN and DOES 1 through 50, inclusive:
      6             1. For compensatory and general damages in an amount according to
      7                proof;
      8             2. For special and consequential damages in an amount according to
      9                proof;
     10             3. For pre-judgment and post-judgment interest according to any
     11                applicable provision of law, according to proof;
     12             4. For equitable remedies as provided by law;
     13             5. For Attorneys’ fees and costs incurred in this suit, to the extent
     14                provided by law;
     15             6. For cost of suit incurred; and
     16             7. For other and further relief as the Court deems just.
     17

     18      II.    On the Second Cause of Action for Breach of CC&Rs Against
     19             DEFENDANTS           POA,      COACHILLIN,          KENNETH,         WILLIAM,
     20             KATHERINE, KIRSTEN, and DOES 1 through 50, inclusive:
     21             1. For compensatory and general damages in an amount according to
     22                proof;
     23             2. For special and consequential damages in an amount according to
     24                proof;
     25             3. For pre-judgment and post-judgment interest according to any
     26                applicable provision of law, according to proof;
     27             4. For equitable remedies as provided by law;
     28


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      1             5. For Attorneys’ fees and costs incurred in this suit, to the extent
      2                provided by law;
      3             6. For cost of suit incurred; and
      4             7. For other and further relief as the Court deems just.
      5

      6      III.   On the Third Cause of Action for Breach of Fiduciary Duty Against
      7             DEFENDANTS POA, KATHERINE, KIRSTEN, and DOES 1 through
      8             50, inclusive:
      9             1. For compensatory and general damages in an amount according to
     10             proof;
     11             2. For special and consequential damages in an amount according to
     12             proof;
     13             3. For exemplary and punitive damages in an amount according to proof;
     14             4. For pre-judgment and post-judgment interest according to any
     15                applicable provision of law, according to proof;
     16             5. For equitable remedies as provided by law;
     17             6. For cost of suit incurred; and
     18             7. For other and further relief as the Court deems just.
     19
     20      IV.    On the Fourth Cause of Action for Breach of Fiduciary Duty Against
     21             DEFENDANTS KENNETH and DOES 1 through 50, inclusive:
     22             1. For compensatory and general damages in an amount according to
     23                proof;
     24             2. For special and consequential damages in an amount according to
     25                proof;
     26             3. For exemplary and punitive damages in an amount according to proof;
     27             4. For pre-judgment and post-judgment interest according to any
     28                applicable provision of law, according to proof;

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      1             5. For equitable remedies as provided by law;
      2             6. For cost of suit incurred; and
      3             7. For other and further relief as the Court deems just.
      4

      5      V.     On the Fifth Cause of Action for Fraud – Intentional Misrepresentation
      6             against DEFENDANTS COACHILLIN, KENNETH, WILLIAM, and
      7             DOES 1 through 50, inclusive:
      8             1. For compensatory and general damages in an amount according to
      9                proof;
     10             2. For special and consequential damages in an amount according to
     11                proof;
     12             3. For exemplary and punitive damages in an amount according to proof;
     13             4. For pre-judgment and post-judgment interest according to any
     14                applicable provision of law, according to proof;
     15             5. For equitable remedies as provided by law;
     16             6. For cost of suit incurred; and
     17             7. For other and further relief as the Court deems just.
     18

     19      VI.    On the Sixth Cause of Action for Negligent Misrepresentation against
     20             DEFENDANTS COACHILLIN, KENNETH, WILLIAM, and DOES 1
     21             through 50, inclusive:
     22             1. For compensatory and general damages in an amount according to
     23                proof;
     24             2. For special and consequential damages in an amount according to
     25                proof;
     26             3. For pre-judgment and post-judgment interest according to any
     27                applicable provision of law, according to proof;
     28             4. For equitable remedies as provided by law;

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      1             5. For cost of suit incurred; and
      2             6. For other and further relief as the Court deems just.
      3

      4      VII. On the Seventh Cause of Action for Fraud – Concealment against
      5             DEFENDANTS COACHILLIN, KENNETH, KATHERINE, WILLIAM,
      6             MICHAEL, and DOES 1 through 50, inclusive:
      7             1. For compensatory and general damages in an amount according to
      8                proof;
      9             2. For special and consequential damages in an amount according to
     10                proof;
     11             3. For exemplary and punitive damages in an amount according to proof;
     12             4. For pre-judgment and post-judgment interest according to any
     13                applicable provision of law, according to proof;
     14             5. For equitable remedies as provided by law;
     15             6. For cost of suit incurred; and
     16             7. For other and further relief as the Court deems just.
     17

     18      VIII. On the Eighth Cause of Action for Violation of Racketeering Influenced
     19             and Corruption Organization Act (“RICO”) against DEFENDANTS
     20             COACHILLIN,          ENERGY,         ECOMASTER,           POA,      KENNETH,
     21             WILLIAM, KIRSTEN, KATHERINE, MICHAEL, and DOES 1 through
     22             50, inclusive:
     23             1. For compensatory and general damages in an amount according to
     24                proof;
     25             2. For special and consequential damages in an amount according to
     26                proof;
     27             3. For treble damages as provided in 18 U.S.C. §1964(c);
     28


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      1               4. For pre-judgment and post-judgment interest according to any
      2                  applicable provision of law, according to proof;
      3               5. For Attorneys’ fees and costs incurred in this suit, to the extent
      4                  provided by law;
      5               6. For cost of suit incurred; and
      6               7. For other and further relief as the Court deems just.
      7

      8         IX.   On the Ninth Cause of Action for Conspiracy to Violate RICO against
      9               DEFENDANTS COACHILLIN, ENERGY, ECOMASTER, POA,
     10               KENNETH, WILLIAM, KIRSTEN, KATHERINE, MICHAEL, and
     11               DOES 1 through 50, inclusive:
     12               1. For compensatory and general damages in an amount according to
     13                  proof;
     14               2. For special and consequential damages in an amount according to
     15                  proof;
     16               3. For treble damages as provided in 18 U.S.C. §1964(c);
     17               4. For pre-judgment and post-judgment interest according to any
     18                  applicable provision of law, according to proof;
     19               5. For Attorneys’ fees and costs incurred in this suit, to the extent
     20                  provided by law;
     21               6. For cost of suit incurred; and
     22               7. For other and further relief as the Court deems just.
     23   ///
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      1         X.    On the Tenth Cause of Action for Real Estate Seller’s Nondisclosure of
      2               Material Facts against DEFENDANTS COACHILLIN, KENNETH,
      3               KATHERINE, WILLIAM, MICHAEL, and DOES 1 through 50,
      4               inclusive:
      5               1. For compensatory and general damages in an amount according to
      6               proof;
      7               2. For special and consequential damages in an amount according to
      8               proof;
      9               3. For exemplary and punitive damages in an amount according to proof;
     10               4. For pre-judgment and post-judgment interest according to any
     11               applicable provision of law, according to proof;
     12               5. For equitable remedies as provided by law;
     13               6. For cost of suit incurred; and
     14               7. For other and further relief as the Court deems just.
     15

     16         XI.   On the Eleventh Cause of Action for Intentional Interference with
     17               Contractual    Relations     against    DEFENDANTS            COACHILLIN,
     18               KENNETH, and DOES 1 through 50, inclusive:
     19               1. For compensatory and general damages in an amount according to
     20                  proof;
     21               2. For pre-judgment and post-judgment interest according to any
     22                  applicable provision of law, according to proof;
     23               3. For equitable remedies as provided by law;
     24               4. For cost of suit incurred; and
     25               5. For other and further relief as the Court deems just.
     26   ///
     27   ///
     28   ///

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      1      XII. On the Twelfth Cause of Action for Declaratory Relief Against
      2              DEFENDANTS          COACHILLIN,          POA,      KENNETH,         WILLIAM,
      3              KIRSTEN, KATHERINE, and DOES 1 through 50, inclusive:
      4              1. For injunctive relief and judicial declaration by the Court;
      5              2. For equitable remedies as provided by law;
      6              3. For costs of suit incurred; and
      7              4. For other and further relief as the Court deems just.
      8

      9      XIII. On the Thirteenth Cause of Action for Unlawful and Unfair Business Acts
     10              and Practices CA Bus. & Prof. Code §17200, et seq. against
     11              DEFENDANTS COACHILLIN, ECOMASTER, ENERGY, KENNETH,
     12              WILLIAM and DOES 1 through 50, inclusive:
     13              1. For equitable remedies as provided by law;
     14              2. For cost of suit incurred; and
     15              3. For other and further relief as the Court deems just.
     16

     17                              DEMAND FOR JURY TRIAL
     18         PLAINTIFF hereby demands trial by jury on all matters and issues triable
     19   by jury.
     20

     21   Dated: June 6, 2022                             THE HAKALA LAW GROUP, P.C.
                                                          BRAD A. HAKALA
     22

     23                                                   /S/ BRAD A. HAKALA
                                                          Brad A. Hakala
     24                                                   Ryan N. Ostrowski
                                                          Attorneys for Plaintiff
     25                                                   DHS VERDE, LLC
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